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                                 UNITED STATES BANKRUPTCY COURT
                                   SOUTHERN DISTRICT OF TEXAS
                                         HOUSTON DIVISION

                                                                          )
    In re:                                                                ) Chapter 11
                                                                          )
    KATERRA INC., et al., 1                                               ) Case No. 21-31861 (DRJ)
                                                                          )
                                Debtors.                                  ) (Jointly Administered)
                                                                          )

                    FIRST MONTHLY FEE STATEMENT OF
      KIRKLAND & ELLIS LLP AND KIRKLAND & ELLIS INTERNATIONAL LLP
         FOR COMPENSATION FOR SERVICES AND REIMBURSEMENT OF
          EXPENSES AS ATTORNEYS TO THE DEBTORS AND DEBTORS IN
     POSSESSION FOR THE PERIOD FROM JUNE 6, 2021, THROUGH JUNE 30, 2021

                                                                 Kirkland & Ellis LLP and
    Name of Applicant:
                                                                 Kirkland & Ellis International LLP
    Applicant’s Role in Case:                                    Attorneys to the Debtors-in-Possession
    Date Order of Employment Signed:                             July 20, 2021 [Docket No. 632]
                                                                            Beginning of Period                End of Period
    Time period covered by this statement:                                          June 6, 2021               June 30, 2021
                                    Summary of Total Fees and Expenses Requested:
                                                                                              $2,151,386.40
    Total fees requested in this statement:
                                                                                              (80% of $2,689,233.00)
    Total expenses requested in this statement:                                               $29,048.00
    Total fees and expenses requested in this statement
                                                                                              $2,718,281.00
    (inclusive of holdback amount):
                                          Summary of Attorney Fees Requested:
    Total attorney fees requested in this statement:                                          $2,605,119.50
    Total actual attorney hours covered by this statement:                                    2,864.10
    Average hourly rate for attorneys:                                                        $909.58




1     A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’ proposed
      claims and noticing agent at https://cases.primeclerk.com/katerra. The location of Debtor Katerra Inc.’s principal place of
      business and the Debtors’ service address in these chapter 11 cases is 9305 East Via de Ventura, Scottsdale, Arizona 85258.
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                               Summary of Paraprofessional Fees Requested:
 Total paraprofessional fees requested in this statement:                    $84,113.50
 Total actual paraprofessional hours covered by this statement:              236.30
 Average hourly rate for paraprofessionals:                                  $355.96

        Pursuant to sections 327, 330 and 331 of title 11 of the United States Code

(the “Bankruptcy Code”), rule 2016 of the Federal Rules of Bankruptcy Procedure

(the “Bankruptcy Rules”), and rule 2016-1 of the Bankruptcy Local Rules for the Southern District

of Texas (the “Bankruptcy Local Rules”), the Order Authorizing the Retention and Employment

of Kirkland & Ellis LLP and Kirkland & Ellis International LLP as Attorneys for the Debtors and

Debtors in Possession Effective as of June 6, 2021 [Docket No. 632], the Order (I) Establishing

Procedures for Interim Compensation and Reimbursement of Expenses for Professionals, and

(II) Granting Related Relief [Docket No. 558] (the “Interim Compensation Order”), the law firm

of Kirkland & Ellis LLP and Kirkland & Ellis International LLP (together, “K&E”), attorneys

for Katerra Inc., and certain of its affiliates, as debtors and debtors in possession (collectively, the

“Debtors”), hereby files this monthly fee statement (this “Monthly Fee Statement”) for

(i) compensation in the amount of $2,151,386.40 for the reasonable and necessary legal services

K&E rendered to the Debtors from payment of compensation for professional services rendered to

the Debtors from June 6, 2021, through and including June 30, 2021 (the “Fee Period”) (80% of

$2,689,233.00) and (ii) reimbursement for the actual and necessary expenses that K&E incurred,

in the amount of $29,048.00 during the Fee Period.

                     Itemization of Services Rendered and Disbursements Incurred

        1.      In support of this Monthly Fee Statement, attached are the following exhibits:




                                                      2
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               •   Exhibit A is a schedule of the number of hours expended and fees incurred (on
                   an aggregate basis) by K&E partners, associates, and paraprofessionals during
                   the Fee Period with respect to each of the subject matter categories K&E
                   established in accordance with its internal billing procedures. As reflected in
                   Exhibit A, K&E incurred $2,689,233.00 in fees during the Fee Period.
                   Pursuant to this Monthly Fee Statement, K&E seeks reimbursement for 80% of
                   such fees ($2,151,386.40 in the aggregate).

               •   Exhibit B is a schedule providing certain information regarding the K&E
                   attorneys and paraprofessionals for whose work on these chapter 11 cases
                   compensation is sought in this Monthly Fee Statement. Attorneys and
                   paraprofessionals of K&E have expended a total of 3,100.40 hours in
                   connection with these chapter 11 cases during the Fee Period.

               •   Exhibit C is a schedule for the Fee Period, setting forth the total amount of
                   reimbursement sought with respect to each category of expenses for which
                   K&E is seeking reimbursement in this Monthly Fee Statement. All of these
                   disbursements comprise the requested sum for K&E’s out-of-pocket expenses.

               •   Exhibit D consists of K&E’s records of fees and expenses incurred during the
                   Fee Period in the rendition of the professional services to the Debtors and their
                   estates.

                                        Representations

       2.      Although every effort has been made to include all fees and expenses incurred in

the Fee Period, some fees and expenses might not be included in this Monthly Fee Statement due

to delays caused by accounting and processing during the Fee Period. K&E reserves the right to

make further application to this Court for allowance of such fees and expenses not included herein.

Subsequent Monthly Fee Statements will be filed in accordance with the Bankruptcy Code, the

Bankruptcy Rules, Bankruptcy Local Rules, and the Interim Compensation Order.




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        WHEREFORE, K&E requests allowance of its fees and expenses incurred during the Fee

Period in the total amount of $2,180,434.40 consisting of (a) $2,151,386.40, which is 80% of the

fees incurred by the Debtors for reasonable and necessary professional services rendered by K&E;

and (b) $29,048.00 for actual and necessary costs and expenses, and that such fees and expense be

paid as administrative expenses of the Debtors’ estates.


Houston, Texas
August 9, 2021

/s/ Joshua A. Sussberg
KIRKLAND & ELLIS LLP
KIRKLAND & ELLIS INTERNATIONAL LLP
Joshua A. Sussberg, P.C. (admitted pro hac vice)
Christine A. Okike, P.C. (admitted pro hac vice)
601 Lexington Avenue
New York, New York 10022
Telephone: (212) 446-4800
Facsimile: (212) 446-4900
Email:         joshua.sussberg@kirkland.com
               christine.okike@kirkland.com

-and-

Joshua M. Altman (admitted pro hac vice)
300 North LaSalle Street
Chicago, Illinois 60654
Telephone: (312) 862-2000
Facsimile: (312) 862-2200
Email:       josh.altman@kirkland.com

Co-Counsel to the Debtors
and Debtors in Possession
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                                    Certificate of Service

        I certify that on August 9, 2021, I caused a copy of the foregoing document to be served
by the Electronic Case Filing System for the United States Bankruptcy Court for the Southern
District of Texas.

                                                     /s/ Matthew D. Cavenaugh
                                                     Matthew D. Cavenaugh
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                                                Exhibit A

                  Summary of Legal Fees and Expenses for the Fee Period

                                                  Total                       Total
Matter                                                      Total Fees                      Total
                  Matter Description              Billed                    Expenses
Number                                                      Requested                    Compensation
                                                  Hours                     Requested
   13      Chapter 11 Filing and Preparations     399.10     $297,784.50        $0.00       $297,784.50
           Adversary Proceedings, Contested
   14                                             310.20     $288,273.50        $0.00       $288,273.50
           Matters
   15      Automatic Stay Matters                  49.20      $43,197.00        $0.00        $43,197.00
           U.S. Trustee Issues and
   16                                              17.10      $16,529.50        $0.00        $16,529.50
           Communications
   17      Business Operations                     71.30      $62,222.00        $0.00        $62,222.00
   18      Case Administration                     86.80      $63,131.50        $0.00        $63,131.50
   19      Cash Management/DIP Financing          214.50     $203,942.50        $0.00       $203,942.50
           Claims Administration and
   20                                              39.90      $33,469.50        $0.00        $33,469.50
           Objections
   21      Corporate and Securities Matters        22.90      $19,626.50        $0.00        $19,626.50
           Creditor and Stakeholder
   22                                              5.50        $8,047.50        $0.00         $8,047.50
           Communications
   23      Creditors' Committee Matters            23.00      $25,024.50        $0.00        $25,024.50
   24      Employee and Labor Matters             122.20     $123,835.50        $0.00       $123,835.50
   25      Executory Contracts                    263.90     $210,009.00        $0.00       $210,009.00
   26      Hearings                                62.70      $58,804.50        $0.00        $58,804.50
   27      Insurance and Surety Matters           116.40     $101,558.50        $0.00       $101,558.50
   28      Real Estate Matters                      1.30       $1,917.50        $0.00         $1,917.50
           Plan/Disclosure
   29                                             209.60     $171,034.00        $0.00       $171,034.00
           Statement/Confirmation
   30      Regulatory Matters                      95.30       $99,908.50        $0.00       $99,908.50
   31      K&E Retention and Fee Matters          164.30     $106,391.00         $0.00     $106,391.00
   32      Non-K&E Retention and Fee Matters       90.30       $74,636.50        $0.00       $74,636.50
   33      Schedules and Statements                83.60       $60,468.50        $0.00       $60,468.50
   34      Tax Matters                             18.60       $18,835.50        $0.00       $18,835.50
   36      Use, Sale, and Lease of Property       579.10     $557,082.50         $0.00     $557,082.50
   37      Utilities                                9.10        $6,961.50        $0.00        $6,961.50
   38      Vendor Matters                          44.50       $36,541.50        $0.00       $36,541.50
   39      Expenses                                 N/A             $0.00   $29,048.00       $29,048.00
Totals                                           3,100.40   $2,689,233.00   $29,048.00    $2,718,281.00
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                                                Exhibit B

      Summary of Hours Billed by K&E Attorneys and Paraprofessionals for the Fee Period

                          Position                                      Hourly      Total
                                      Year                                                      Total
   Professional Person    with the                  Department          Billing     Billed
                                     Admitted                                                Compensation
                         Applicant                                       Rate       Hours
Wes Benter               Associate     2019     Labor & Employment      $865.00      12.50      $10,812.50
Lindsey Blum             Associate     2018         Restructuring       $765.00     103.00      $78,795.00
                                                     Corporate -
Katya Boyko              Associate     2017                             $1,070.00   15.10       $16,157.00
                                                M&A/Private Equity
Rachel S. Briones        Associate     2021         Restructuring       $625.00     133.00      $83,125.00
                                                     Corporate -
Jack Chadderdon          Associate     2018                             $875.00     13.00       $11,375.00
                                                M&A/Private Equity
Tiffani Chanroo          Associate   Pending        Restructuring       $625.00     132.00      $82,500.00
Evan Chavez              Associate    2020       Corporate - General    $625.00      10.30       $6,437.50
Daniel Cho               Associate    2017       Corporate - General    $995.00       4.90       $4,875.50
                                                  Technology & IP
Bernadette Coppola       Associate     2013                             $1,070.00    3.90        $4,173.00
                                                     Transactions
Neil Datar               Associate     2021      Corporate - General     $625.00     14.70       $9,187.50
Gabrielle Degelia        Associate     2019      Litigation - General    $745.00      5.00       $3,725.00
Danielle Dulitzky        Associate     2019         Restructuring        $875.00     57.10      $49,962.50
Emily C. Eggmann         Associate     2021         Restructuring        $625.00    109.40      $68,375.00
Cassandra E. Fenton      Associate     2017      Litigation - General    $945.00     47.90      $45,265.50
Emily Flynn              Associate     2018         Restructuring        $875.00    125.40     $109,725.00
Haroula Gkotsi           Associate     2020         Restructuring        $765.00     71.80      $54,927.00
Katrina Gonzales         Associate     2020         Restructuring        $625.00     47.80      $29,875.00
Alex Hevia               Associate     2019         Restructuring        $875.00    149.30     $130,637.50
Anne J. Hudson           Associate     2019      Litigation - General    $745.00      3.90       $2,905.50
Elizabeth Helen Jones    Associate     2018         Restructuring        $765.00    108.40      $82,926.00
Dan Latona               Associate     2016         Restructuring       $1,070.00   134.50     $143,915.00
Nir Levin                Associate     2020         Restructuring        $765.00    130.20      $99,603.00
Maddison Levine          Associate     2021         Restructuring        $625.00     38.70      $24,187.50
                                                  Corporate - Debt
Neal Loughery            Associate     2018                             $875.00     30.20       $26,425.00
                                                       Finance
Rebecca J. Marston       Associate     2021         Restructuring       $625.00     60.00       $37,500.00
                                                     Corporate -
Min Ju Park              Associate     2019                             $875.00      2.00        $1,750.00
                                                M&A/Private Equity
Miriam A. Peguero
                         Associate     2019         Restructuring       $875.00     69.00       $60,375.00
Medrano
Evan Ribot               Associate    2021       Litigation - General   $625.00      68.50      $42,812.50
Joshua Robinson          Associate    2018          Restructuring       $995.00      74.00      $73,630.00
Yusuf Salloum            Associate    2018          Restructuring       $995.00      80.50      $80,097.50
Tommy Scheffer           Associate    2019          Restructuring       $875.00     176.20     $154,175.00
Michael Scian            Associate   Pending        Restructuring       $625.00      69.60      $43,500.00
Natalie Soloperto        Associate   Pending        Restructuring       $625.00      13.90       $8,687.50
Zach Sommers             Associate    2019       Litigation - General   $745.00      10.80       $8,046.00
                                                     Corporate -
Rami Totari              Associate     2016                             $1,125.00   50.40       $56,700.00
                                                 M&A/Private Equity
Cecilia Turchetti        Associate     2020      Corporate - General     $625.00     1.70        $1,062.50
Christopher J. Worek     Associate     2015            Taxation         $1,015.00   11.90       $12,078.50
Mason N. Zurek           Associate     2021         Restructuring        $625.00    32.80       $20,500.00
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                            Position                                      Hourly     Total
                                       Year                                                        Total
   Professional Person      with the                 Department           Billing    Billed
                                      Admitted                                                  Compensation
                           Applicant                                       Rate      Hours
Jack N. Bernstein          Of Counsel   1995      Employee Benefits      $1,445.00    26.00        $37,570.00
Joshua M. Altman            Partner     2015         Restructuring       $1,155.00   120.80       $139,524.00
Gabor Balassa, P.C.         Partner     1997      Litigation - General   $1,615.00    16.40        $26,486.00
Zachary S. Brez, P.C.       Partner     2000      Litigation - General   $1,645.00     4.50         $7,402.50
Gavin Campbell              Partner     2012      Litigation - General   $1,125.00     1.40         $1,575.00
John G. Caruso              Partner     1992           Real Estate       $1,475.00     1.30         $1,917.50
                                                       Executive
Kate Coverdale, P.C.        Partner    2010                              $1,295.00    0.20            $259.00
                                                     Compensation
                                                      Corporate -
John D. Furlow              Partner    2013                              $1,195.00    43.30        $51,743.50
                                                 M&A/Private Equity
Asheesh Goel, P.C.          Partner    1995       Litigation - General   $1,695.00    3.20          $5,424.00
Susan D. Golden             Partner    1988          Restructuring       $1,220.00    1.00          $1,220.00
                                                      Corporate -
Rodin M. Hai-Jew, P.C.      Partner    2010                              $1,295.00    7.30          $9,453.50
                                                 M&A/Private Equity
                                                   Corporate - Debt
Sean F. Hilson              Partner    2013                              $1,155.00    21.10        $24,370.50
                                                        Finance
                                                      Corporate -
Tony Johnston               Partner    2013                              $1,185.00    39.10        $46,333.50
                                                 M&A/Private Equity
Sydney Jones                Partner    2014      Labor & Employment      $1,080.00    15.60        $16,848.00
                                                   Corporate - Debt
Michelle Kilkenney, P.C.    Partner    2002                              $1,545.00    12.20        $18,849.00
                                                        Finance
R.D. Kohut                  Partner    2004      Labor & Employment      $1,245.00     4.50         $5,602.50
Roberto S. Miceli           Partner    2000            Real Estate       $1,475.00     1.00         $1,475.00
Kim Nemirow, P.C.           Partner    2004       Litigation - General   $1,395.00    11.70        $16,321.50
                                                   Technology & IP
Jeffery S. Norman, P.C.     Partner    1992                              $1,645.00    5.40          $8,883.00
                                                      Transactions
Christine A. Okike, P.C.    Partner    2009          Restructuring       $1,495.00   119.10       $178,054.50
Anthony Vincenzo Sexton     Partner    2011             Taxation         $1,325.00     5.50         $7,287.50
Ravi Subramanian Shankar    Partner    2011       Litigation - General   $1,125.00    93.30       $104,962.50
Josh Sussberg, P.C.         Partner    2004          Restructuring       $1,695.00    29.60        $50,172.00
Anna Terteryan              Partner    2014       Litigation - General   $1,080.00    55.70        $60,156.00
                                                   Technology & IP
Seth Traxler, P.C.          Partner    1997                              $1,555.00    1.00          $1,555.00
                                                      Transactions
Brad Weiland                Partner    2008          Restructuring       $1,445.00     0.60           $867.00
Totals for Attorneys                                                                 2,864.10    $2,605,119.50




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                                                                               Hourly    Total
Paraprofessional       Position with the      Year                                                     Total
                                                              Department       Billing   Billed
    Person                Applicant          Admitted                                               Compensation
                                                                                Rate     Hours
Lisa Aasa               Junior Paralegal       N/A           Restructuring     $285.00   25.40          $7,239.00
Jacqueline Hahn         Junior Paralegal       N/A           Restructuring     $285.00    0.50           $142.50
Leo Rosenberg           Junior Paralegal       N/A           Restructuring     $285.00   27.30          $7,780.50
Lydia Yale              Junior Paralegal       N/A           Restructuring     $285.00   22.30          $6,355.50
                                                            Corporate - Debt
Elizabeth Burns            Paralegal           N/A                             $460.00    25.70        $11,822.00
                                                                Finance
                                                              Litigation -
Janet Bustamante           Paralegal           N/A                             $350.00    1.00            $350.00
                                                                General
                                                              Litigation -
Ben Fahey-Burke            Paralegal           N/A                             $460.00    3.30          $1,518.00
                                                                General
Julia R. Foster            Paralegal           N/A           Restructuring     $390.00    19.10         $7,449.00
Sara Handibode             Paralegal           N/A            Real Estate      $460.00     0.80          $368.00
                                                              Litigation -
Vanjo Lickhalter           Paralegal           N/A                             $450.00    5.70          $2,565.00
                                                                General
                                                            Technology & IP
Jeffrey Norgle             Paralegal           N/A                             $390.00    17.60         $6,864.00
                                                              Transactions
Carrie Therese
                           Paralegal           N/A           Restructuring     $460.00    5.20          $2,392.00
Oppenheim
Laura Saal                 Paralegal           N/A        Restructuring        $460.00    19.40         $8,924.00
Michael Y. Chan        Conflicts Analyst       N/A      Conflicts Analysis     $275.00    26.50         $7,287.50
                       Senior Firmwide                     Litigation -
Joel DePalma                                   N/A                             $410.00    3.00          $1,230.00
                     Presentation Designer                  General
                     Litigation & Practice                 Litigation -
Ricardo Guzman                                 N/A                             $410.00    12.70         $5,207.00
                     Tech Project Manager                   General
Library Factual
                      Research Specialist      N/A          Library Services   $390.00    3.30          $1,287.00
Research
Eric Nyberg             Conflicts Analyst      N/A      Conflicts Analysis     $275.00    13.50         $3,712.50
                     Senior Firmwide Trial                 Litigation -
David Schlaifer                                N/A                             $405.00    4.00          $1,620.00
                     Technology Specialist                  General
Totals for Paraprofessionals                                                              236.30        $84,113.50
Total Fees Requested                                                                     3,100.40    $2,689,233.00




                                                        3
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                                      Exhibit C

                       Summary of Expenses for the Fee Period

                           Expense Categories                    Amount
Third Party Telephone Charges                                       $486.17
Standard Copies or Prints                                           $476.80
Binding                                                               $2.10
Tabs/Indexes/Dividers                                                 $9.62
Color Copies or Prints                                            $1,436.60
Scanned Images                                                       $17.28
Local Transportation                                                 $73.04
Other Travel Expenses                                                $49.00
Filing Fees                                                         $453.20
Calendar/Court Services                                              $50.00
Other Court Costs and Fees                                        $8,162.54
Outside Retrieval Service                                        $16,424.60
Overtime Transportation                                             $213.98
Overtime Meals - Attorney                                           $567.42
Document Services Overtime                                          $625.65
Total                                                            $29,048.00
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                                Exhibit D

         Detailed Description of Fees, Expenses and Disbursements
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                                                        601 Lexington Avenue
                                                         New York, NY 10022

                                                           FEIN XX-XXXXXXX




August 9, 2021

Katerra Inc.
9305 East Via de Ventura
Scottsdale, AZ 85258

Attn: Christopher Wells

                                                                             Invoice Number: 1050048174
                                                                               Client Matter: 49067-13

In the Matter of Chapter 11 Filing and Preparations




For legal services rendered through June 30, 2021
(see attached Description of Legal Services for detail)                                                      $ 297,784.50
Total legal services rendered                                                                                $ 297,784.50




  Austin Bay Area Beijing Boston Brussels Chicago Dallas Hong Kong Houston London Los Angeles Munich Paris Shanghai Washington, D.C.
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Legal Services for the Period Ending June 30, 2021          Invoice Number:    1050048174
Katerra Inc.                                                 Matter Number:      49067-13
Chapter 11 Filing and Preparations




                                         Summary of Hours Billed

Name                                                     Hours         Rate      Amount
Lisa Aasa                                                 17.80      285.00      5,073.00
Joshua M. Altman                                           0.50    1,155.00        577.50
Lindsey Blum                                               7.20      765.00      5,508.00
Rachel S. Briones                                         14.80      625.00      9,250.00
Tiffani Chanroo                                           16.60      625.00     10,375.00
Joel DePalma                                               3.00      410.00      1,230.00
Danielle Dulitzky                                          8.10      875.00      7,087.50
Emily C. Eggmann                                          21.30      625.00     13,312.50
Emily Flynn                                               19.80      875.00     17,325.00
Haroula Gkotsi                                            21.70      765.00     16,600.50
Alex Hevia                                                20.20      875.00     17,675.00
Elizabeth Helen Jones                                     20.60      765.00     15,759.00
Dan Latona                                                27.00    1,070.00     28,890.00
Nir Levin                                                 13.70      765.00     10,480.50
Maddison Levine                                           11.80      625.00      7,375.00
Rebecca J. Marston                                         8.00      625.00      5,000.00
Christine A. Okike, P.C.                                  10.40    1,495.00     15,548.00
Miriam A. Peguero Medrano                                 19.50      875.00     17,062.50
Joshua Robinson                                           11.80      995.00     11,741.00
Leo Rosenberg                                             18.00      285.00      5,130.00
Laura Saal                                                17.00      460.00      7,820.00
Tommy Scheffer                                            27.80      875.00     24,325.00
David Schlaifer                                            4.00      405.00      1,620.00
Michael Scian                                              3.00      625.00      1,875.00
Ravi Subramanian Shankar                                   8.80    1,125.00      9,900.00
Josh Sussberg, P.C.                                        8.50    1,695.00     14,407.50
Lydia Yale                                                20.70      285.00      5,899.50
Mason N. Zurek                                            17.50      625.00     10,937.50

TOTALS                                                   399.10               $ 297,784.50




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Legal Services for the Period Ending June 30, 2021             Invoice Number:             1050048174
Katerra Inc.                                                    Matter Number:               49067-13
Chapter 11 Filing and Preparations


                                       Description of Legal Services

Date     Name                                  Hours Description
06/06/21 Lisa Aasa                              11.00 Prepare materials for chapter 11 filing (3.4);
                                                      revise same (3.9); conference with K&E team
                                                      re same (2.6); correspond with K&E team re
                                                      same (1.1).
06/06/21 Lindsey Blum                            7.20 Review, revise first day pleadings (4.0);
                                                      correspond with K&E team, D. Latona re
                                                      same (3.2).
06/06/21 Rachel S. Briones                      12.00 Prepare for chapter 11 filing (4.0); correspond
                                                      with K&E team, D. Latona re first day
                                                      pleadings (2.4); draft talking points re first
                                                      day hearing (4.0); finalize first day motions
                                                      for filing (1.3); file same (.3).
06/06/21 Tiffani Chanroo                         9.90 Draft talking points re first day motions (1.5);
                                                      correspond with K&E team re same (.4);
                                                      revise contract rejection motion (1.3);
                                                      correspond with K&E team re same (.2);
                                                      revise joint administration motion (1.4);
                                                      correspond with K&E team re same (.3);
                                                      revise bidding procedure motion (2.7);
                                                      correspond with K&E team re same (.4);
                                                      revise NOL motion (1.2); correspond with
                                                      K&E team re same (.5).
06/06/21 Joel DePalma                            3.00 Correspond with K&E team and E. Jones re
                                                      first day presentation (.3); revise first day
                                                      presentation (2.1); analyze same (.6).
06/06/21 Danielle Dulitzky                       5.50 Draft first day pleadings (3.9); review, revise
                                                      same (1.2); correspond with K&E, Weil
                                                      teams re same (.4).
06/06/21 Danielle Dulitzky                       1.90 Prepare materials re chapter 11 filing (1.7);
                                                      correspond with K&E team and review
                                                      materials re same (.2).
06/06/21 Emily C. Eggmann                       14.00 Draft pleadings re chapter 11 filing (4.0);
                                                      revise same (4.0); correspond with K&E
                                                      team, D. Latona re same (1.6); correspond
                                                      with E. Jones re first day presentation (.7);
                                                      draft talking points re first day motions (3.4);
                                                      facilitate chapter 11 filing (.3).




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Legal Services for the Period Ending June 30, 2021             Invoice Number:           1050048174
Katerra Inc.                                                    Matter Number:             49067-13
Chapter 11 Filing and Preparations

Date     Name                                  Hours Description
06/06/21 Emily Flynn                            15.70 Review, revise first day motions (3.9);
                                                      prepare same for filing (3.0); correspond with
                                                      K&E team re same (2.1); conference with
                                                      K&E team re same (3.8); analyze issues re
                                                      same (2.9).
06/06/21 Haroula Gkotsi                         10.80 Review and revise first day pleadings (3.9);
                                                      prepare same re filing (3.9); correspond with
                                                      C. Okike, D. Latona, J. Robinson re same
                                                      (.6); correspond with A&M re same (.2);
                                                      compile filing resolutions signature packets
                                                      (.4); correspond with Prime Clerk re retention
                                                      application (.3); correspond with N. Levin re
                                                      notice of commencement, conflicts (.3);
                                                      correspond with S. Golden re creditor matrix
                                                      (.1); correspond with E. Eggmann re Prime
                                                      Clerk retention application, utilities (.8);
                                                      correspond with M. Levine re insurance (.3).
06/06/21 Alex Hevia                             12.60 Review and revise first day motions (3.2);
                                                      conferences with D. Latona and K&E team re
                                                      same (2.1); analyze executory contracts re
                                                      first day rejection (3.9); conference with L.
                                                      Blum, K&E team and A&M re same (2.0);
                                                      draft motion to reject (1.4).
06/06/21 Elizabeth Helen Jones                  14.90 Draft first day declaration (4.0); revise same
                                                      (4.0); attend board authorization telephone
                                                      conference re filing (.5); draft minutes re
                                                      same (.3); telephonically attend M. Liebman
                                                      first day hearing preparation (.9); telephone
                                                      conference with A&M re diligence for first
                                                      day declaration (.4); telephone conference
                                                      with C. Okike re same (.5); draft first day
                                                      presentation (2.8); revise same re J. Sussberg
                                                      comments (1.1); correspond with D. Latona,
                                                      K&E team re filing (.4).
06/06/21 Dan Latona                             14.00 Telephone conferences with C. Okike, K&E
                                                      team re chapter 11 filing (3.2); telephone
                                                      conferences with A&M re same (1.5);
                                                      analyze, comment on first day pleadings
                                                      (4.0); conferences with J. Robinson, K&E
                                                      team re same (3.0); coordinate same re filing
                                                      (2.3).




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Legal Services for the Period Ending June 30, 2021              Invoice Number:            1050048174
Katerra Inc.                                                     Matter Number:              49067-13
Chapter 11 Filing and Preparations

Date     Name                                  Hours Description
06/06/21 Nir Levin                              12.00 Review, revise and prepare taxes motion
                                                      (2.0); review, revise NOL motion (1.7);
                                                      review, revise SOFA extension motion (.8);
                                                      review, revise joint administration motion
                                                      (1.5); review, revise surety motion (1.0);
                                                      coordinate same re filing (4.0); correspond
                                                      with K&E team, Weil re same (1.0).
06/06/21 Nir Levin                               1.00 Review and revise talking points re first day
                                                      hearing.
06/06/21 Maddison Levine                         8.70 Draft talking points re insurance motion (.9);
                                                      draft talking points re SOFA motion (.7);
                                                      review, revise talking points re creditor matrix
                                                      (.6); compile first day motions (.4);
                                                      correspond with D. Latona, J. Robinson re
                                                      same (.4); review, revise insurance motion
                                                      (.7); correspond with H. Gkotsi re same (.3);
                                                      review, revise SOFA motion (.2); correspond
                                                      with N. Levin re same (.1); review, revise
                                                      surety motion (.4); correspond with A&M re
                                                      same (.2); review, revise first day preparation
                                                      tracker (.7); correspond with JW re filing (.7);
                                                      telephone conference with D. Latona, K&E
                                                      team re filing procedures (.6); review, revise
                                                      board filing authorization deck (1.1);
                                                      correspond with J. Sussberg, C. Okike, D.
                                                      Latona re same (.4); review, revise filing
                                                      entity analysis (.3).
06/06/21 Rebecca J. Marston                      5.00 Correspond with D. Latona re document
                                                      request (.5); correspond with K&E team, D.
                                                      Latona re first day motions (1.0); draft critical
                                                      vendors motion talking points (3.5).
06/06/21 Miriam A. Peguero Medrano               9.50 Draft first day pleadings (4.0); prepare for
                                                      first day hearing (4.0); correspond with K&E
                                                      team, D. Latona re filing process and first day
                                                      hearing (1.5).
06/06/21 Leo Rosenberg                          18.00 Analyze voluntary petitions (2.0); implement
                                                      global changes to voluntary petitions (1.8);
                                                      compile same (1.6); correspond with K&E
                                                      team re petitions (.6); telephone conferences
                                                      re work in process (.5); prepare filing versions
                                                      of pleadings (1.8); implement global changes
                                                      to first day pleadings (2.2); compile filing
                                                      versions to pleadings (1.3); coordinate with
                                                      JW re filings (4.0); break-out orders (2.2).



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Katerra Inc.                                                    Matter Number:               49067-13
Chapter 11 Filing and Preparations

Date     Name                                  Hours Description
06/06/21 Laura Saal                             10.50 Assist with chapter 11 filing (3.8); review and
                                                      revise petitions re global updates (2.3); review
                                                      and revise first day pleadings re global edits
                                                      (3.1); compile petitions (.9); prepare pro hac
                                                      vice application for M. Peguero Medrano, J.
                                                      Robinson (.4).
06/06/21 Tommy Scheffer                         12.50 Correspond with Weil, A&M, K&E team, D.
                                                      Latona re first day preparation (1.6);
                                                      conference with K&E team re same (1.7);
                                                      correspond with same re contingency
                                                      planning (.8); correspond with same re work
                                                      in process (1.1); correspond with same re
                                                      filing authorization materials (1.9);
                                                      correspond with same re wages motion (1.3);
                                                      review wages motion (2.0); revise same (2.1).
06/06/21 Michael Scian                           3.00 Correspond with K&E team, D. Latona re
                                                      filing (1.2); prepare first day motions for
                                                      filing re same (1.8).
06/06/21 Ravi Subramanian Shankar                8.80 Prepare for first day hearing and revise direct
                                                      outlines for same (3.6); prepare for and
                                                      prepare M. Liebman for direct testimony
                                                      (2.6); review and analyze first day motions
                                                      (1.8); revise first day declaration (.8).
06/06/21 Josh Sussberg, P.C.                     3.40 Correspond re Houlihan engagement letter
                                                      (.3); telephone conference with M. Neimann
                                                      re status (.3); telephone conference with M.
                                                      Leibman re same (.3); analyze news report re
                                                      Katerra shut down (.3); prepare for first day
                                                      hearing (.8); review, revise pleadings and first
                                                      day presentation (1.1); telephone conference
                                                      with M. Neimann re engagement letter (.3).
06/06/21 Lydia Yale                              4.50 Prepare materials re chapter 11 filing (3.9);
                                                      correspond with K&E team re same (.6).
06/06/21 Lydia Yale                             11.20 Prepare materials re chapter 11 filing (3.9);
                                                      review, revise same (3.9); conference with
                                                      K&E team re same (2.3); correspond with
                                                      K&E team re same (1.1).
06/06/21 Mason N. Zurek                         11.50 Draft pleadings re chapter 11 filing (3.7);
                                                      draft talking points re first day motions (2.6);
                                                      review and revise same (1.0); correspond with
                                                      K&E team, D. Latona re same, organization
                                                      chart (2.3); review and revise filing tracker
                                                      (1.9).



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Katerra Inc.                                                    Matter Number:               49067-13
Chapter 11 Filing and Preparations

Date     Name                                  Hours Description
06/07/21 Lisa Aasa                              6.80 Assist with chapter 11 filing (4.0); correspond
                                                     with N. Levin and E. Eggmann re taxes order
                                                     (.3); correspond with E. Jones and L.
                                                     Rosenberg re first day hearing live line (.2);
                                                     prepare and participate in first day hearing
                                                     (2.3).
06/07/21 Joshua M. Altman                       0.50 Conferences with U.S. Trustee, K&E team re
                                                     first day matters.
06/07/21 Rachel S. Briones                      2.80 Assist with chapter 11 filing.
06/07/21 Tiffani Chanroo                        6.70 Revise bidding procedures motion (1.6);
                                                     correspond with K&E team re same (.3); file
                                                     same (.4); revise NOL motion (1.4);
                                                     correspond with K&E team re same (.3); file
                                                     same (.2); draft talking points (2.2);
                                                     correspond with K&E team re same (.3).
06/07/21 Danielle Dulitzky                      0.70 Correspond with K&E team re first day
                                                     hearing, bidding procedures.
06/07/21 Emily C. Eggmann                       7.30 Prepare for first day hearing (3.8); review and
                                                     revise first day orders per U.S. Trustee
                                                     comments (2.9); correspond with K&E team,
                                                     D. Latona re same (.6).
06/07/21 Emily Flynn                            4.10 Draft, revise talking points re first day
                                                     motions (3.4); correspond with K&E team re
                                                     same (.7).
06/07/21 Haroula Gkotsi                         5.30 Review and revise first day pleadings (.9);
                                                     prepare same re filing (2.4); correspond with
                                                     D. Latona, J. Robinson re same (.4);
                                                     correspond with E. Eggmann re Prime Clerk
                                                     retention application, utilities (.3); correspond
                                                     with M. Levine re insurance (.3); review and
                                                     revise Prime Clerk retention order (.2);
                                                     correspond with Prime Clerk re same (.2);
                                                     correspond with D. Latona, A. Hevia, E.
                                                     Eggmann re same (.2); correspond with
                                                     A&M, D. Latona re utilities exhibit (.4).
06/07/21 Haroula Gkotsi                         5.60 Review and revise talking points re first day
                                                     pleadings including creditor matrix, prime
                                                     clerk retention application, insurance, utilities
                                                     (3.9); review and analyze precedent re same
                                                     (1.1); correspond with E. Eggmann, M.
                                                     Levine, M. Zurek re same (.6).




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Katerra Inc.                                                    Matter Number:              49067-13
Chapter 11 Filing and Preparations

Date     Name                                  Hours Description
06/07/21 Alex Hevia                              7.10 Review and revise first day motions (2.7);
                                                      review and revise talking points re same (1.2);
                                                      correspond and conference with K&E team,
                                                      D. Latona re same (.4); review and analyze
                                                      contracts re rejection analysis (1.6);
                                                      correspond and conferences with K&E team,
                                                      A&M, L. Blum re same (1.2).
06/07/21 Alex Hevia                              0.50 Prepare for first day hearing.
06/07/21 Elizabeth Helen Jones                   5.30 Revise first day declaration (1.3); correspond
                                                      with C. Okike, K&E team re same (1.9);
                                                      correspond with A&M re same (1.2); prepare
                                                      same for filing (.9).
06/07/21 Elizabeth Helen Jones                   0.40 Prepare for first day hearing.
06/07/21 Dan Latona                             13.00 Analyze, comment on first day pleadings
                                                      (2.0); coordinate filing re same (4.0); attend
                                                      witness preparation session with M. Niemann
                                                      (1.5); prepare for first day hearing (4.0);
                                                      follow up re same (1.5).
06/07/21 Nir Levin                               0.70 Review, revise talking points for first day
                                                      hearing (.5); correspond with T. Chanroo re
                                                      same (.2).
06/07/21 Maddison Levine                         3.10 Review, revise talking points re first day
                                                      hearing (1.4); correspond with M. Peguero re
                                                      same (.2); research committee formation in
                                                      SDTX (1.5).
06/07/21 Rebecca J. Marston                      3.00 Correspond with K&E team re filing (.2);
                                                      review and revise DIP talking points (1.6);
                                                      correspond with D. Latona, E. Flynn re cash
                                                      management, critical vendors motions (.4);
                                                      review and revise DIP order per U.S. Trustee
                                                      comments (.8).
06/07/21 Christine A. Okike, P.C.                6.70 Analyze first day motions, orders and
                                                      declarations (4.0); revise same (2.7).
06/07/21 Christine A. Okike, P.C.                3.20 Prepare for first day hearing.
06/07/21 Miriam A. Peguero Medrano              10.00 Prepare for first day hearing (3.8); correspond
                                                      with K&E team, parties re same (3.2);
                                                      correspond with K&E team re sureties (3.0).




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Katerra Inc.                                                     Matter Number:               49067-13
Chapter 11 Filing and Preparations

Date     Name                                  Hours Description
06/07/21 Joshua Robinson                        11.80 Prepare for first day hearing (2.4); analyze
                                                      utilities motion (1.2); analyze talking points re
                                                      same (.5); analyze taxes motion (.9); analyze
                                                      talking points re same (.4); analyze insurance
                                                      motion (.8); analyze talking points re same
                                                      (.5); analyze NOL procedures and motion
                                                      (1.3); analyze talking points re same (.7);
                                                      participate in first day hearing (3.1).
06/07/21 Laura Saal                              5.00 Assist with first day filing (2.7); prepare as
                                                      filed versions of first day orders (2.3).
06/07/21 Tommy Scheffer                         15.30 Correspond and telephone conferences with
                                                      Company, Weil, A&M, JW, K&E team re
                                                      deal status (3.8); correspond with same re
                                                      contingency planning (2.4); correspond with
                                                      same re work in process (1.7); correspond
                                                      with same re filing authorization materials
                                                      (1.8); correspond with same re wages motion
                                                      (2.7); review, revise wages motion and order
                                                      (2.9).
06/07/21 David Schlaifer                         4.00 Provide technical and trial support re
                                                      telephonic first day hearing.
06/07/21 Josh Sussberg, P.C.                     5.10 Prepare for first day hearing and analyze first
                                                      day pleadings (2.4); review and revise first
                                                      day presentation (1.3); telephone conferences
                                                      with M. Niemann re same and Court hearing
                                                      (1.1); telephone conference with M. Liebman
                                                      re first day hearing and next steps (.3).
06/07/21 Lydia Yale                              5.00 Correspond with digital services re printing
                                                      first day motions (.3); update calendar invites
                                                      re first day hearing (.6); prepare binder of first
                                                      day motions for printing (.5); review, revise
                                                      first day pleadings for filing (1.8); open
                                                      listen-only conference line into June 7, 2021
                                                      hearing and confirm connection of same (1.6);
                                                      prepare calendar invite for July 12, 2021
                                                      hearing (.2).
06/07/21 Mason N. Zurek                          6.00 Review and revise talking points (1.8);
                                                      correspond with K&E team re same (.4);
                                                      coordinate filing and revise tracker re same
                                                      (1.6); telephonically attend hearing (2.2).
06/08/21 Christine A. Okike, P.C.                0.50 Telephone conference with board re first day
                                                      hearing and next steps.




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Legal Services for the Period Ending June 30, 2021            Invoice Number:           1050048174
Katerra Inc.                                                   Matter Number:             49067-13
Chapter 11 Filing and Preparations

Date     Name                                  Hours Description
06/08/21 Laura Saal                             1.50 Review and revise declarations of electronic
                                                     filing of Bankruptcy petitions and master mail
                                                     list.

Total                                          399.10




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                                                        601 Lexington Avenue
                                                         New York, NY 10022

                                                           FEIN XX-XXXXXXX




August 9, 2021

Katerra Inc.
9305 East Via de Ventura
Scottsdale, AZ 85258

Attn: Christopher Wells

                                                                             Invoice Number: 1050048175
                                                                               Client Matter: 49067-14

In the Matter of Adversary Proceedings, Contested Matters




For legal services rendered through June 30, 2021
(see attached Description of Legal Services for detail)                                                      $ 288,273.50
Total legal services rendered                                                                                $ 288,273.50




  Austin Bay Area Beijing Boston Brussels Chicago Dallas Hong Kong Houston London Los Angeles Munich Paris Shanghai Washington, D.C.
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Legal Services for the Period Ending June 30, 2021          Invoice Number:    1050048175
Katerra Inc.                                                 Matter Number:      49067-14
Adversary Proceedings, Contested Matters




                                         Summary of Hours Billed

Name                                                     Hours         Rate      Amount
Joshua M. Altman                                          12.70    1,155.00     14,668.50
Gabor Balassa, P.C.                                       14.20    1,615.00     22,933.00
Rachel S. Briones                                         38.20      625.00     23,875.00
Janet Bustamante                                           1.00      350.00        350.00
Ben Fahey-Burke                                            2.80      460.00      1,288.00
Cassandra E. Fenton                                       35.10      945.00     33,169.50
Julia R. Foster                                            2.10      390.00        819.00
Ricardo Guzman                                             2.00      410.00        820.00
Anne J. Hudson                                             2.80      745.00      2,086.00
Elizabeth Helen Jones                                      5.80      765.00      4,437.00
Dan Latona                                                17.00    1,070.00     18,190.00
Nir Levin                                                  1.50      765.00      1,147.50
Library Factual Research                                   0.20      390.00         78.00
Rebecca J. Marston                                         6.40      625.00      4,000.00
Christine A. Okike, P.C.                                  17.70    1,495.00     26,461.50
Carrie Therese Oppenheim                                   0.20      460.00         92.00
Evan Ribot                                                68.50      625.00     42,812.50
Joshua Robinson                                            3.60      995.00      3,582.00
Tommy Scheffer                                             0.50      875.00        437.50
Ravi Subramanian Shankar                                  73.20    1,125.00     82,350.00
Zach Sommers                                               2.90      745.00      2,160.50
Josh Sussberg, P.C.                                        1.30    1,695.00      2,203.50
Mason N. Zurek                                             0.50      625.00        312.50

TOTALS                                                   310.20               $ 288,273.50




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Katerra Inc.                                                    Matter Number:             49067-14
Adversary Proceedings, Contested Matters


                                       Description of Legal Services

Date     Name                                  Hours Description
06/06/21 Gabor Balassa, P.C.                    3.00 Analyze revised direct examination outlines
                                                     (1.0); correspond and telephone conference
                                                     with R. Shankar re same (.6); prepare for and
                                                     participate in M. Liebman witness preparation
                                                     session and follow-on conference with R.
                                                     Shankar re same (1.4).
06/06/21 Cassandra E. Fenton                    4.00 Prepare witness re first day hearing (2.2);
                                                     analyze and revise materials re first day
                                                     preparation (1.8).
06/07/21 Gabor Balassa, P.C.                    3.30 Prepare witness re first day hearing (1.5);
                                                     telephone conferences with R. Shankar re
                                                     same (.7); analyze revised direct examination
                                                     modules and correspond with R. Shankar re
                                                     same (.5); conference with R. Shankar re next
                                                     steps (.6).
06/07/21 Cassandra E. Fenton                    5.30 Participate in witness preparation re first day
                                                     hearing (1.6); prepare hearing materials (3.7).
06/07/21 Ravi Subramanian Shankar               9.00 Prepare M. Niemann re direct exam (2.1);
                                                     revise M. Niemann and M. Liebman direct
                                                     exam outlines (3.3); review and analyze first
                                                     day filings and objections in preparation for
                                                     first day hearing (3.6).
06/08/21 Gabor Balassa, P.C.                    0.20 Telephone conference with R. Shankar re
                                                     litigation next steps.
06/08/21 Anne J. Hudson                         0.30 Correspond with R. Shankar and E. Eggmann
                                                     re potential litigation issue.
06/08/21 Dan Latona                             0.50 Telephone conference with R. Shankar, C.
                                                     Fenton, J. Robinson re litigation matters.
06/08/21 Josh Sussberg, P.C.                    0.30 Telephone conference with H. Tepner, P.
                                                     Corrie and C. Okike re estate causes of action.
06/09/21 Julia R. Foster                        0.60 Review and revise stipulation (.4); correspond
                                                     with L. Aasa re same (.2).
06/09/21 Anne J. Hudson                         0.50 Correspond with E. Eggmann re potential
                                                     litigation issue.
06/10/21 Gabor Balassa, P.C.                    0.20 Telephone conference with R. Shankar re
                                                     developments and planning (.1); analyze
                                                     WARN complaint (.1).




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Katerra Inc.                                                    Matter Number:             49067-14
Adversary Proceedings, Contested Matters

Date     Name                                  Hours Description
06/10/21 Dan Latona                             0.70 Telephone conference with R. Shankar, K&E
                                                     team, A&M re data preservation matters (.5);
                                                     telephone conference with C. Fenton re same
                                                     (.2).
06/10/21 Christine A. Okike, P.C.               0.70 Analyze WARN class action complaint.
06/10/21 Joshua Robinson                        0.50 Telephone conference with R. Shankar, K&E
                                                     team, A&M re data preservation matters.
06/10/21 Ravi Subramanian Shankar               0.40 Correspond with K&E team re WARN Act
                                                     lawsuit legal research (.2); review and analyze
                                                     same (.2).
06/10/21 Ravi Subramanian Shankar               0.10 Analyze materials re invoice for arbitration
                                                     fees.
06/10/21 Ravi Subramanian Shankar               0.60 Prepare for and conference with A&M re
                                                     document preservation issues.
06/11/21 Joshua M. Altman                       0.50 Conference with K&E team, J. Sussberg, C.
                                                     Okike, D. Latona re litigation matters and
                                                     follow up re same.
06/11/21 Gabor Balassa, P.C.                    0.20 Telephone conference with R. Shankar re
                                                     litigation planning.
06/11/21 Elizabeth Helen Jones                  0.80 Telephone conference with D. Latona, K&E
                                                     team re WARN Act adversary proceeding
                                                     (.5); research WARN Act issues (.3).
06/11/21 Dan Latona                             3.50 Analyze research re adversary proceeding
                                                     (2.5); telephone conference with R. Shankar,
                                                     C. Fenton, E. Jones re same (.5); telephone
                                                     conference with J. Sussberg, K&E team re
                                                     litigation matters (.5).
06/11/21 Rebecca J. Marston                     0.90 Draft litigation tracker (.8); correspond with
                                                     K&E team re same (.1).
06/11/21 Tommy Scheffer                         0.50 Correspond with K&E team re WARN Act
                                                     complaint.
06/11/21 Ravi Subramanian Shankar               4.90 Legal research re WARN Act lawsuit (1.8);
                                                     review, supervise legal research re response
                                                     date to lawsuit (.2); review and analyze
                                                     background materials re WARN Act lawsuit
                                                     (2.2); prepare for and correspond with K&E
                                                     team re strategy re same (.7).
06/12/21 Gabor Balassa, P.C.                    0.20 Correspond with R. Shankar re arbitration
                                                     outreach and potential estate claims.
06/12/21 Ravi Subramanian Shankar               1.20 Correspond with K&E team re potential estate
                                                     claims.
06/13/21 Dan Latona                             1.00 Revise settlement motion.


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Katerra Inc.                                                   Matter Number:             49067-14
Adversary Proceedings, Contested Matters

Date     Name                                  Hours Description
06/14/21 Gabor Balassa, P.C.                    1.00 Prepare for and telephone conference with J.
                                                     Sussberg, C. Okike and R. Shankar re
                                                     litigation planning (.5); conference with R.
                                                     Shankar re same (.5).
06/14/21 Janet Bustamante                       1.00 Prepare and organize production letters for
                                                     review.
06/14/21 Cassandra E. Fenton                    1.10 Review and analyze adversary proceeding
                                                     pleadings.
06/14/21 Julia R. Foster                        0.70 Draft 9019 motion.
06/14/21 Elizabeth Helen Jones                  2.10 Telephone conference with D. Latona, K&E
                                                     team re WARN Act adversary proceeding
                                                     (.5); draft summary re WARN Act claims
                                                     (1.6).
06/14/21 Dan Latona                             0.50 Telephone conference with C. Okike, K&E
                                                     team re adversary proceeding.
06/14/21 Dan Latona                             0.50 Review and revise settlement agreement.
06/14/21 Christine A. Okike, P.C.               0.30 Telephone conference with J. Sussberg, G.
                                                     Balassa, R. Shankar re potential litigation
                                                     claims.
06/14/21 Christine A. Okike, P.C.               1.00 Telephone conference with D. Simon
                                                     (McDermott), M. Liebman (A&M) re projects
                                                     (.5); telephone conference with J. Altman, D.
                                                     Latona, Y. Salloum re same (.5).
06/14/21 Ravi Subramanian Shankar               0.80 Prepare for and correspond with K&E team re
                                                     potential estate causes of action (.5);
                                                     correspond with JW re same (.3).
06/14/21 Ravi Subramanian Shankar               7.90 Analyze issues re WARN Act adversary (4.0);
                                                     conference with K&E team re same (3.9).
06/14/21 Josh Sussberg, P.C.                    0.40 Conference with K&E team re potential
                                                     claims.
06/14/21 Josh Sussberg, P.C.                    0.10 Analyze WARN suit.
06/15/21 Gabor Balassa, P.C.                    1.70 Telephone conferences with R. Shankar and
                                                     K&E team re WARN issues (.9); telephone
                                                     conference with JW and R. Shankar re
                                                     investigation (.5); correspond with R. Shankar
                                                     re next steps re WARN dispute (.3).
06/15/21 Rachel S. Briones                      3.30 Draft motion re settlement (2.1); research,
                                                     analyze precedent re same (.3); correspond
                                                     with J. Altman and D. Latona re same (.5);
                                                     revise same (.4).
06/15/21 Cassandra E. Fenton                    1.10 Review and analyze adversary claims.



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Katerra Inc.                                                    Matter Number:             49067-14
Adversary Proceedings, Contested Matters

Date     Name                                  Hours Description
06/15/21 Elizabeth Helen Jones                  0.40 Telephone conference with D. Latona, C.
                                                     Okike, K&E team re WARN Act adversary
                                                     proceeding.
06/15/21 Dan Latona                             1.00 Telephone conference with R. Shankar, K&E
                                                     team re adversary proceeding (.5); telephone
                                                     conference with R. Shankar, JW re
                                                     investigation (.5).
06/15/21 Dan Latona                             1.80 Review and analyze settlement motion.
06/15/21 Evan Ribot                             5.20 Prepare for and telephone conferences re
                                                     WARN adversary proceedings (1.4); review
                                                     and analyze case background materials re
                                                     WARN adversary proceedings (3.8).
06/15/21 Ravi Subramanian Shankar               5.00 Legal research re WARN Act claims (1.6);
                                                     prepare for and correspond with K&E team re
                                                     WARN Act strategy (1.6); review and analyze
                                                     WARN Act claim precedents (1.1); prepare
                                                     for and conference with JW re claims
                                                     investigation (.7).
06/15/21 Josh Sussberg, P.C.                    0.10 Correspond re WARN complaint.
06/16/21 Gabor Balassa, P.C.                    0.50 Analyze estimation research (.3); correspond
                                                     with R. Shankar re same (.2).
06/16/21 Rachel S. Briones                      4.50 Revise settlement motion (2.1); correspond
                                                     with C. Okike, J. Altman and D. Latona re
                                                     same (.4); correspond with A&M and
                                                     Houlihan re same (.3); correspond with JW re
                                                     same (.4); draft declaration in support of same
                                                     (1.3).
06/16/21 Cassandra E. Fenton                    1.30 Telephone conference with K&E team re
                                                     potential litigation matters.
06/16/21 Dan Latona                             0.80 Telephone conference with J. Robinson, K&E
                                                     team, A&M, Fenwick team re records
                                                     retention re schedules (.5); telephone
                                                     conference with J. Robinson, K&E team,
                                                     A&M re same (.3).
06/16/21 Christine A. Okike, P.C.               1.50 Review, revise settlement motion.
06/16/21 Evan Ribot                             7.10 Review and analyze case background
                                                     materials re WARN adversary proceedings
                                                     (2.5); research case law re WARN Act
                                                     application and exceptions (4.0); telephone
                                                     conference with R. Shankar re case timeline
                                                     (.6).




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Adversary Proceedings, Contested Matters

Date     Name                                  Hours Description
06/16/21 Ravi Subramanian Shankar               9.00 Legal research re WARN Act claims (3.9);
                                                     draft summary re same (2.9); strategize and
                                                     correspond with K&E team re same (2.2).
06/17/21 Rachel S. Briones                      3.60 Revise settlement motion (1.2); correspond
                                                     with Weil re same (.5); correspond with
                                                     A&M re same (.4); correspond with C. Okike
                                                     and K&E team re same (.6); revise
                                                     declaration in support of same (.7); analyze
                                                     settlement agreement (.2).
06/17/21 Cassandra E. Fenton                    3.10 Telephone conferences with K&E team re
                                                     adversary proceeding (1.0); analyze case law
                                                     and strategy re same (2.1).
06/17/21 Christine A. Okike, P.C.               0.60 Analyze comments re settlement motion (.2);
                                                     review and revise settlement motion (.4).
06/17/21 Evan Ribot                             7.20 Prepare for and telephone conference with
                                                     K&E team re work plan (.9); research case
                                                     law re WARN Act exceptions (5.2); draft
                                                     summary re same (1.1).
06/17/21 Joshua Robinson                        1.90 Telephone conference with R. Shankar re case
                                                     status (.2); telephone conference with K&E
                                                     team, A&M re data preservation (.5);
                                                     correspond with K&E team re same (.5);
                                                     review interested parties list re pending
                                                     litigation (.4); correspond with K&E team,
                                                     A&M re same (.3).
06/17/21 Ravi Subramanian Shankar               4.80 Correspond with K&E team re WARN Act
                                                     adversary work in process and revise same
                                                     (.9); research re WARN Act claims (3.5);
                                                     correspond with K&E team re research
                                                     findings (.4).
06/18/21 Gabor Balassa, P.C.                    1.30 Correspond with R. Shankar re litigation
                                                     planning (.9); analyze legal analysis and
                                                     correspond with R. Shankar re same (.4).
06/18/21 Cassandra E. Fenton                    1.30 Telephone conference with K&E team re
                                                     adversary proceeding (.6); analyze adversary
                                                     proceeding strategy (.7).
06/18/21 Anne J. Hudson                         2.00 Telephone conference with R. Shankar re
                                                     potential litigation issues (.1); research re
                                                     same (1.5); draft summary re same (.4).
06/18/21 Elizabeth Helen Jones                  0.90 Correspond with R. Shankar re WARN Act
                                                     adversary proceeding (.3); telephone
                                                     conference with R. Shankar, K&E team, D.
                                                     Latona re same (.6).


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Adversary Proceedings, Contested Matters

Date     Name                                  Hours Description
06/18/21 Evan Ribot                             3.20 Prepare for and telephone conference with
                                                     K&E team re WARN Act adversary (.7);
                                                     research case law re WARN Act adversary
                                                     (.9); draft outline re same (1.6).
06/18/21 Ravi Subramanian Shankar               5.50 Legal research re WARN Act claims (3.2);
                                                     correspond and conference with K&E team re
                                                     WARN Act adversary strategy and research
                                                     findings (1.6); fact development re WARN
                                                     Act claims (.5); review and analyze legal
                                                     research re S. Bolos claims (.2).
06/19/21 Christine A. Okike, P.C.               2.00 Review, revise settlement agreement (.8);
                                                     review, revise stipulation (.4); telephone
                                                     conference with D. Simon (McDermott) re
                                                     settlement (.1); review revised settlement
                                                     agreement (.7).
06/20/21 Gabor Balassa, P.C.                    0.50 Correspond with R. Shankar re WARN next
                                                     steps.
06/20/21 Evan Ribot                             0.90 Review and analyze employee data and case
                                                     law re WARN adversary.
06/20/21 Ravi Subramanian Shankar               2.90 Draft correspondence to K&E team re WARN
                                                     Act adversary strategy (.4); fact analysis re
                                                     same (2.5).
06/21/21 Joshua M. Altman                       0.40 Correspond with C. Okike, D. Latona, R.
                                                     Briones re settlement matters (.2); analyze
                                                     modifications re same (.2).
06/21/21 Rachel S. Briones                      5.10 Revise settlement motion (2.9); correspond
                                                     with D. Latona and K&E team re same (.6);
                                                     revise settlement agreement (1.1); correspond
                                                     with D. Latona and K&E team re same (.5).
06/21/21 Cassandra E. Fenton                    3.90 Review and analyze pending litigation
                                                     matters.
06/21/21 Dan Latona                             1.50 Comment on settlement motion (.5); comment
                                                     on settlement agreement (1.0).
06/21/21 Christine A. Okike, P.C.               2.00 Correspond with D. Simon (McDermott) re
                                                     settlement (.1); review, revise settlement
                                                     motion and agreement (1.6); telephone
                                                     conference with M. Liebman, C. Wells re
                                                     contracts (.3).
06/21/21 Evan Ribot                             3.40 Review and analyze data re WARN Act
                                                     adversary (1.6); prepare for and telephone
                                                     conferences with K&E team re adversary
                                                     proceedings (.7); review and analyze case law
                                                     re WARN Act adversary issues (1.1).


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Adversary Proceedings, Contested Matters

Date     Name                                  Hours Description
06/21/21 Joshua Robinson                        0.50 Telephone conference with K&E team re lien
                                                     research (.4); correspond with K&E team re
                                                     same (.1).
06/21/21 Ravi Subramanian Shankar               0.60 Prepare for and conference with K&E team re
                                                     work tracker.
06/21/21 Zach Sommers                           1.70 Research and review documents for next
                                                     production.
06/21/21 Josh Sussberg, P.C.                    0.40 Correspond re SEC telephone conference and
                                                     investigation (.2); telephone conference with
                                                     K&E team re same (.2).
06/22/21 Gabor Balassa, P.C.                    0.20 Correspond with C. Fenton re WARN work
                                                     flows.
06/22/21 Rachel S. Briones                      3.10 Revise settlement motion (.6); correspond
                                                     with C. Okike and K&E team re same (.3);
                                                     correspond with McDermott team re same
                                                     (.3); correspond with A&M re same (.3);
                                                     revise settlement agreement (.5); correspond
                                                     with C. Okike and K&E team re same (.2);
                                                     correspond with McDermott team re same
                                                     (.3); correspond with A&M re same (.2);
                                                     correspond with R. Kohut and S. Jones re
                                                     employee issues re settlement agreement (.4).
06/22/21 Ben Fahey-Burke                        0.70 Compile Company documents re WARN act.
06/22/21 Cassandra E. Fenton                    6.20 Telephone conferences with K&E team re
                                                     pending litigation (1.0); analyze potential
                                                     litigation matter (2.3); correspond with A&M
                                                     re preservation (.5); analyze pending litigation
                                                     matter (2.4).
06/22/21 Ricardo Guzman                         1.00 Research, analyze document selection for
                                                     attorney review and workflow updates (.4);
                                                     coordinate with AlixPartners re review
                                                     updates (.3); correspond with A. Terteryan re
                                                     same (.3).
06/22/21 Elizabeth Helen Jones                  1.10 Research status of WARN Act claims (.7);
                                                     draft summary re same (.2); correspond with
                                                     D. Latona, K&E team re same (.2).
06/22/21 Rebecca J. Marston                     2.00 Research type of claim re lien issue (1.6);
                                                     correspond with A. Hevia re same (.1);
                                                     telephone conference re same (.3).
06/22/21 Christine A. Okike, P.C.               0.30 Review revised settlement motion and
                                                     settlement agreement.




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Adversary Proceedings, Contested Matters

Date     Name                                  Hours Description
06/22/21 Evan Ribot                             4.90 Conference with K&E team re WARN Act
                                                     claims (.8); review and analyze regulations
                                                     and case law re WARN Act (4.1).
06/22/21 Ravi Subramanian Shankar               3.80 Analyze WARN adversary (3.0); prepare for
                                                     and conference with K&E team re same (.8).
06/23/21 Rachel S. Briones                      2.40 Correspond with C. Okike and K&E team re
                                                     outstanding issues re settlement agreement
                                                     (.6); analyze same (.5); correspond with
                                                     McDermott team re same (.4); correspond
                                                     with M. Fadule (Company) re same (.5);
                                                     revise settlement agreement (.4).
06/23/21 Cassandra E. Fenton                    0.40 Analyze correspondence re litigation matters.
06/23/21 Rebecca J. Marston                     1.30 Research type of claim re lien issue (1.2);
                                                     correspond with A. Hevia re same (.1).
06/23/21 Christine A. Okike, P.C.               2.70 Review and comment re stipulations (1.8);
                                                     telephone conference with D. Simon
                                                     (McDermott) re settlement (.1); review
                                                     settlement agreement (.5); telephone
                                                     conference with J. Altman, A. Hevia re lien
                                                     issue (.3).
06/23/21 Evan Ribot                             9.10 Review and analyze materials from Company
                                                     re employees and WARN Act claims (2.7);
                                                     research case law re WARN Act claims,
                                                     exceptions, statutory definitions and state
                                                     statutes (4.2); draft and revise outline re same
                                                     (2.2).
06/23/21 Ravi Subramanian Shankar               6.50 Strategize re WARN adversary (.7); fact
                                                     investigation re same (2.3); review and
                                                     analyze legal research re WARN claims (.6);
                                                     research re class action defenses (2.9).
06/23/21 Zach Sommers                           0.70 Draft production cover letter.
06/24/21 Joshua M. Altman                       6.20 Draft, revise settlement motion (2.9);
                                                     correspond with K&E team re same (.3);
                                                     telephone conference with K&E team, A&M,
                                                     Company re settlement agreement (.9);
                                                     correspond and telephone conference with
                                                     A&M, K&E team, Company, opposing
                                                     counsel re revisions to agreement and
                                                     implement same (.9); telephone conference
                                                     with A&M, K&E team, Company, opposing
                                                     counsel re same (1.2).




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Adversary Proceedings, Contested Matters

Date     Name                                  Hours Description
06/24/21 Gabor Balassa, P.C.                    1.20 Review materials re WARN claims and other
                                                     potential litigated matters (.5); conference
                                                     with K&E team re litigation issues (.6);
                                                     conference with R. Shankar re same (.1).
06/24/21 Rachel S. Briones                      4.10 Revise settlement agreement (1.1); telephone
                                                     conference with S. Jones and R. Kohut re
                                                     employee issues re same (.2); conference with
                                                     A&M and K&E team re same (.8); conference
                                                     with McDermott team and K&E team re same
                                                     (.9); revise settlement motion (.4); correspond
                                                     with J. Altman re same (.3); correspond with
                                                     K&E team and McDermott team re contractor
                                                     affidavit (.4).
06/24/21 Cassandra E. Fenton                    2.60 Review and evaluate pending adversary
                                                     proceeding (1.2); research re same (.9);
                                                     telephone conference with K&E team re same
                                                     (.5).
06/24/21 Ricardo Guzman                         1.00 Search analysis re workflow updates (.3);
                                                     coordinate with AlixPartners re review update
                                                     (.3); correspond with A. Terteryan re same
                                                     (.4).
06/24/21 Elizabeth Helen Jones                  0.50 Telephone conference with C. Okike, K&E
                                                     team re WARN Act adversary proceeding.
06/24/21 Dan Latona                             0.50 Telephone conference with C. Okike, K&E
                                                     team re WARN adversary proceeding.
06/24/21 Dan Latona                             1.50 Telephone conference with J. Altman, K&E
                                                     team, A&M, Company re settlement (.5);
                                                     telephone conference with J. Altman, K&E
                                                     team, A&M, Company, McDermott re same
                                                     (1.0).
06/24/21 Rebecca J. Marston                     0.20 Correspond with K&E team re research on
                                                     lien issue.
06/24/21 Christine A. Okike, P.C.               2.00 Review drafts re settlement agreement and
                                                     motion (.4); review and comment re Liberty
                                                     stipulation (.3); review and comment re 800
                                                     Harbor stipulation (.3); telephone conference
                                                     with C. Wells, M. Liebman (A&M), J.
                                                     Altman, D. Latona re settlement agreement
                                                     (.5); telephone conference with G. Balassa, R.
                                                     Shankar, S. Jones, J. Altman, D. Latona re
                                                     WARN adversary proceeding (.5).




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Adversary Proceedings, Contested Matters

Date     Name                                  Hours Description
06/24/21 Evan Ribot                             6.00 Research case law re issues under WARN Act
                                                     (1.2); draft summary re same (.9);
                                                     conferences with K&E team re WARN
                                                     adversary (1.0); research case law re WARN
                                                     class certification and damages issues (2.9).
06/24/21 Joshua Robinson                        0.20 Telephone conference with Company, A&M,
                                                     K&E team re data preservation.
06/24/21 Ravi Subramanian Shankar               1.70 Prepare for and telephone conference with
                                                     K&E team re WARN strategy (.5); supervise
                                                     research re same (1.2).
06/24/21 Ravi Subramanian Shankar               0.40 Correspond with K&E team re document
                                                     preservation issues (.3); review and analyze
                                                     correspondence re same (.1).
06/24/21 Zach Sommers                           0.50 Prepare for and telephone conference with M.
                                                     Frazer, C. Gilbert-Ash and K&E team re
                                                     document requests.
06/25/21 Joshua M. Altman                       1.80 Telephone conference with counsel re
                                                     settlement matters (.5); comment on, revise
                                                     documents re same (1.3).
06/25/21 Gabor Balassa, P.C.                    0.50 Telephone conferences with R. Shankar re
                                                     electronic preservation and potential
                                                     litigation.
06/25/21 Rachel S. Briones                      3.30 Conference with K&E team and Fox
                                                     Rothschild re settlement motion (.6); revise
                                                     same (1.8); correspond with K&E team re
                                                     same (.6); correspond with McDermott team
                                                     re same (.3).
06/25/21 Ben Fahey-Burke                        0.20 Prepare Company collection documents re
                                                     WARN act.
06/25/21 Cassandra E. Fenton                    3.60 Telephone conference with A&M re data
                                                     matters (1.9); analyze research re adversary
                                                     proceeding (1.7).
06/25/21 Dan Latona                             0.80 Telephone conference with R. Shankar, A&M
                                                     re data preservation matters.
06/25/21 Dan Latona                             0.70 Analyze, comment on settlement agreement
                                                     and motion re same.
06/25/21 Christine A. Okike, P.C.               2.00 Telephone conference with D. Simon
                                                     (McDermott), J. Altman re settlement (.5);
                                                     review and comment on stipulations (.7);
                                                     correspond with J. Altman, A. Hevia re same
                                                     (.3); review and comment on settlement
                                                     agreement (.5).



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Adversary Proceedings, Contested Matters

Date     Name                                  Hours Description
06/25/21 Evan Ribot                             5.30 Research case law re damages and class
                                                     certification for WARN Act claims (2.5);
                                                     draft outline re same (1.2); review and
                                                     analyze employee data re WARN claims
                                                     (1.6).
06/25/21 Joshua Robinson                        0.50 Telephone conference re data preservation.
06/25/21 Ravi Subramanian Shankar               1.90 Prepare for and correspond with A&M and
                                                     K&E team re document preservation issues.
06/26/21 Rachel S. Briones                      1.30 Revise settlement agreement (.4); revise
                                                     settlement motion (.7); correspond with C.
                                                     Okike and K&E team re same (.2).
06/26/21 Cassandra E. Fenton                    1.00 Review and analyze research re adversary
                                                     proceeding (.7); draft summary re same (.3).
06/26/21 Christine A. Okike, P.C.               1.30 Review and comment re settlement motion
                                                     and agreement.
06/27/21 Joshua M. Altman                       1.10 Comment on settlement matters (.7);
                                                     correspond and conference with counterparty,
                                                     A&M re same (.4).
06/27/21 Rachel S. Briones                      1.10 Prepare presentation slide re settlement
                                                     motion (.9); correspond with J. Altman and D.
                                                     Latona re same (.2).
06/27/21 Cassandra E. Fenton                    0.20 Analyze litigation matter (.1); correspond
                                                     with K&E team re same (.1).
06/27/21 Evan Ribot                             0.40 Review and revise draft outline re WARN Act
                                                     claims.
06/28/21 Joshua M. Altman                       0.30 Correspond with K&E team re data
                                                     preservation matters.
06/28/21 Joshua M. Altman                       1.10 Comment on settlement agreement and
                                                     conferences and correspond with A&M,
                                                     opposing counsel, R. Briones re same.
06/28/21 Rachel S. Briones                      2.50 Revise settlement agreement (.5); correspond
                                                     with M. Liebman (A&M) re same (.2); revise
                                                     settlement motion (.7); prepare presentation re
                                                     same (.8); correspond with J. Altman re same
                                                     (.3).
06/28/21 Ben Fahey-Burke                        0.80 Prepare WARN documents database.
06/28/21 Dan Latona                             1.20 Comment on slide re settlement (.5); analyze
                                                     agreement re same (.7).
06/28/21 Nir Levin                              1.20 Research, review precedents and applicable
                                                     law re motion to extend removal deadline
                                                     (1.0); correspond with M. Zurek re same (.2).



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Adversary Proceedings, Contested Matters

Date     Name                                  Hours Description
06/28/21 Christine A. Okike, P.C.               1.30 Analyze McDermott's comments re settlement
                                                     motion (.1); analyze complaint and
                                                     termination letters (.9); telephone conference
                                                     with C. Wells (A&M), J. Altman re same (.3).
06/28/21 Evan Ribot                             2.70 Prepare for and telephone conference with R.
                                                     Shankar re case timeline (.8); review and
                                                     analyze employee data and files re WARN
                                                     claims (1.1); review and analyze draft
                                                     litigation assessment presentations (.8).
06/28/21 Ravi Subramanian Shankar               2.10 Correspond with K&E team re WARN
                                                     adversary strategy and work flows (1.5);
                                                     prepare for and conference with K&E team re
                                                     claims (.6).
06/28/21 Ravi Subramanian Shankar               1.10 Correspond with A&M and K&E team re
                                                     document preservation issues (.5); strategize
                                                     re same (.3); revise document preservation
                                                     notice (.3).
06/29/21 Joshua M. Altman                       1.30 Correspond with parties re settlement (.7);
                                                     analyze documents re same (.6).
06/29/21 Rachel S. Briones                      2.10 Draft declaration in support of settlement
                                                     motion (1.6); revise settlement agreement
                                                     (.2); revise settlement motion (.3).
06/29/21 Ben Fahey-Burke                        1.10 Review and organize WARN documents for
                                                     attorney review (.3); coordinate preparation of
                                                     review database for same (.8).
06/29/21 Julia R. Foster                        0.50 Research precedent re California state court
                                                     class action complaints.
06/29/21 Nir Levin                              0.30 Correspond with M. Zurek re motion to
                                                     extend removal deadline.
06/29/21 Library Factual Research               0.20 Locate case involving Washington and
                                                     Katerra and retrieve docket, complaint.
06/29/21 Rebecca J. Marston                     1.20 Telephone conference with K&E team re
                                                     renewal lien discussion (.4); review notes re
                                                     same (.4); correspond with K&E team re
                                                     same (.4).
06/29/21 Carrie Therese Oppenheim               0.20 Research precedent removal motions.




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Legal Services for the Period Ending June 30, 2021            Invoice Number:           1050048175
Katerra Inc.                                                   Matter Number:             49067-14
Adversary Proceedings, Contested Matters

Date     Name                                  Hours Description
06/29/21 Evan Ribot                             6.80 Research case law re WARN Act civil
                                                     penalties and draft summary re same (1.4);
                                                     prepare for and telephone conference re
                                                     renewal lien (.6); review and analyze sample
                                                     litigation assessment presentation decks (.7);
                                                     draft litigation assessment presentation deck
                                                     re WARN Act claims (1.2); research CA law
                                                     re employee privacy and draft summary re
                                                     same (2.9).
06/29/21 Ravi Subramanian Shankar               1.90 Correspond with Company and K&E team re
                                                     potential estate causes of action (.7);
                                                     strategize re same (.7); supervise legal
                                                     analysis re potential claims against Company
                                                     (.5).
06/29/21 Ravi Subramanian Shankar               0.40 Correspond with A&M and K&E team re
                                                     document preservation issues.
06/29/21 Mason N. Zurek                         0.50 Draft and revise motion to extend removal.
06/30/21 Gabor Balassa, P.C.                    0.20 Correspond with R. Shankar re litigation
                                                     status.
06/30/21 Rachel S. Briones                      1.80 Revise settlement agreement (.6); telephone
                                                     conference with J. Altman re same (.1);
                                                     correspond with J. Altman re same (.3);
                                                     correspond with McDermott team re same
                                                     (.2); revise declaration in support of
                                                     settlement motion (.3); correspond with D.
                                                     Latona re same (.2); correspond with J.
                                                     Altman re same (.1).
06/30/21 Julia R. Foster                        0.30 Correspond with library re litigation matter
                                                     (.1); circulate findings to K&E team (.2).
06/30/21 Dan Latona                             0.50 Comment on declaration re settlement
                                                     motion.
06/30/21 Rebecca J. Marston                     0.80 Analyze lien documents.
06/30/21 Evan Ribot                             6.30 Revise WARN Act research outline (.7); draft
                                                     litigation assessment presentation deck re
                                                     WARN Act claims (3.9); prepare for and
                                                     telephone conference re SEC investigation
                                                     (1.2); review WARN notices re privilege
                                                     issues (.5).
06/30/21 Ravi Subramanian Shankar               0.70 Prepare for and correspond with A&M re
                                                     document preservation matters.

Total                                          310.20



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                                                        601 Lexington Avenue
                                                         New York, NY 10022

                                                           FEIN XX-XXXXXXX




August 9, 2021

Katerra Inc.
9305 East Via de Ventura
Scottsdale, AZ 85258

Attn: Christopher Wells

                                                                             Invoice Number: 1050048176
                                                                               Client Matter: 49067-15

In the Matter of Automatic Stay Matters




For legal services rendered through June 30, 2021
(see attached Description of Legal Services for detail)                                                        $ 43,197.00
Total legal services rendered                                                                                  $ 43,197.00




  Austin Bay Area Beijing Boston Brussels Chicago Dallas Hong Kong Houston London Los Angeles Munich Paris Shanghai Washington, D.C.
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Legal Services for the Period Ending June 30, 2021          Invoice Number:   1050048176
Katerra Inc.                                                 Matter Number:     49067-15
Automatic Stay Matters




                                         Summary of Hours Billed

Name                                                     Hours         Rate     Amount
Joshua M. Altman                                           7.70    1,155.00     8,893.50
Rachel S. Briones                                          3.60      625.00     2,250.00
Gavin Campbell                                             1.40    1,125.00     1,575.00
Ben Fahey-Burke                                            0.50      460.00       230.00
Cassandra E. Fenton                                       10.60      945.00    10,017.00
Alex Hevia                                                 5.00      875.00     4,375.00
Elizabeth Helen Jones                                      2.10      765.00     1,606.50
Dan Latona                                                 2.00    1,070.00     2,140.00
Vanjo Lickhalter                                           5.70      450.00     2,565.00
Rebecca J. Marston                                         3.90      625.00     2,437.50
Joshua Robinson                                            1.00      995.00       995.00
Tommy Scheffer                                             1.20      875.00     1,050.00
Ravi Subramanian Shankar                                   4.50    1,125.00     5,062.50

TOTALS                                                    49.20               $ 43,197.00




                                                     2
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Legal Services for the Period Ending June 30, 2021            Invoice Number:           1050048176
Katerra Inc.                                                   Matter Number:             49067-15
Automatic Stay Matters


                                       Description of Legal Services

Date     Name                                  Hours Description
06/08/21 Rachel S. Briones                      2.20 Revise suggestion of bankruptcy (1.7);
                                                     correspond with J. Robinson and K&E team
                                                     re same (.5).
06/08/21 Ben Fahey-Burke                        0.50 File notice of suggestion of bankruptcy filing
                                                     in arbitration matter (.2); research re filing
                                                     notice of dismissal in same (.3).
06/08/21 Cassandra E. Fenton                    3.20 Telephone conference with K&E team, D.
                                                     Latona re case strategy (.4); analyze pending
                                                     litigation and automatic stay (2.3); telephone
                                                     conference with opposing counsel re
                                                     automatic stay (.5).
06/08/21 Ravi Subramanian Shankar               0.50 Correspond with C. Fenton re automatic stay
                                                     filings (.2); review and analyze
                                                     correspondence re same (.1); supervise
                                                     preparation of automatic stay notice in Bolos
                                                     arbitration (.1); submit same (.1).
06/09/21 Rachel S. Briones                      0.40 Revise suggestion of bankruptcy and notice of
                                                     stay (.2); correspond with D. Latona and J.
                                                     Altman re same (.2).
06/09/21 Cassandra E. Fenton                    1.70 Prepare for and telephone conference with
                                                     K&E team and counsel re pending litigation
                                                     and automatic stay (.8); analyze pending
                                                     litigation and automatic stay issues (.9).
06/09/21 Dan Latona                             0.70 Telephone conference with local counsel,
                                                     K&E team re automatic stay matters.
06/09/21 Joshua Robinson                        1.00 Correspond with K&E team re notice of
                                                     suggestion of bankruptcy (.4); review notice
                                                     of suggestion of bankruptcy (.3); correspond
                                                     with counterparty re same (.3).
06/09/21 Tommy Scheffer                         0.50 Correspond with opposing counsel, JW, K&E
                                                     team re lift stay stipulation.
06/09/21 Ravi Subramanian Shankar               0.50 Telephone conference with counsel re
                                                     automatic stay.
06/10/21 Rachel S. Briones                      0.60 Revise suggestion of bankruptcy and notice of
                                                     stay (.4); correspond with D. Latona and
                                                     A&M re same (.2).




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Legal Services for the Period Ending June 30, 2021             Invoice Number:           1050048176
Katerra Inc.                                                    Matter Number:             49067-15
Automatic Stay Matters

Date     Name                                  Hours Description
06/10/21 Gavin Campbell                         0.60 Correspond with K&E team re stay filings in
                                                     Cornerstone California state court proceeding
                                                     (.2); review and analyze draft stay filings in
                                                     state court proceeding (.2); suggest potential
                                                     revisions re same (.2).
06/10/21 Cassandra E. Fenton                    3.00 Analyze pending litigation and automatic stay
                                                     issues (2.1); prepare for and telephone
                                                     conference re litigation (.9).
06/10/21 Vanjo Lickhalter                       0.80 Correspond with K&E team re preparation
                                                     and plan for attorney appearance and
                                                     proceedings stay filings (.1); draft and submit
                                                     same for attorney review (.7).
06/10/21 Ravi Subramanian Shankar               0.30 Correspond with K&E team re automatic stay
                                                     response to Cornerstone lawsuit.
06/11/21 Joshua M. Altman                       0.10 Correspond with Company re automatic stay
                                                     inquiry.
06/11/21 Gavin Campbell                         0.50 Review and analyze draft stay filings in state
                                                     court proceeding.
06/11/21 Cassandra E. Fenton                    2.70 Analyze pending litigation and automatic stay
                                                     issues (1.1); draft and revise suggestion of
                                                     bankruptcy filing (1.6).
06/11/21 Vanjo Lickhalter                       3.30 Revise notices of appearance and stay of
                                                     proceedings and ancillary materials (2.3);
                                                     finalize and submit same (.2); coordinate
                                                     personal delivery of mandatory chambers set
                                                     (.2); monitor and retrieve conformed versions
                                                     (.3); circulate same (.2); coordinate case
                                                     tracking set up (.1).
06/14/21 Vanjo Lickhalter                       0.30 Register attorney for access to court's portal
                                                     (.1); obtain and submit credentials, key
                                                     information (.1); preserve same in central
                                                     repository (.1).
06/14/21 Tommy Scheffer                         0.30 Correspond with M. Salzman, JW, K&E team
                                                     re automatic stay in arbitration proceeding.
06/14/21 Ravi Subramanian Shankar               0.10 Telephone conference with K&E team re
                                                     automatic stay.
06/15/21 Rachel S. Briones                      0.40 Correspond with M. Salzman (Hendrick
                                                     Phillips Salzman & Siegel, P.C.) re
                                                     suggestion of bankruptcy and notice of
                                                     automatic stay.
06/15/21 Gavin Campbell                         0.20 Review and analyze stay filings in state court
                                                     proceeding (.1); correspond with V.
                                                     Lickhalter re tracking filings (.1).

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Legal Services for the Period Ending June 30, 2021             Invoice Number:           1050048176
Katerra Inc.                                                    Matter Number:             49067-15
Automatic Stay Matters

Date     Name                                  Hours Description
06/15/21 Vanjo Lickhalter                       1.30 Retrieve and analyze court submissions (.8);
                                                     verify attorney docket tracking set up (.2);
                                                     correspond with K&E team re court reporter
                                                     and firm-wide calendar set up (.3).
06/18/21 Tommy Scheffer                         0.40 Correspond with JW, K&E team re request to
                                                     lift stay (.2); review and analyze same (.2).
06/18/21 Ravi Subramanian Shankar               0.20 Correspond with K&E team re evaluation of
                                                     automatic stay issues.
06/21/21 Joshua M. Altman                       0.80 Correspond with K&E team re lift stay
                                                     matters (.2); review and analyze research re
                                                     same (.6).
06/21/21 Alex Hevia                             1.30 Telephone conference with R. Shankar and
                                                     K&E team re automatic stay issues (.8);
                                                     review and analyze issues re same (.5).
06/21/21 Rebecca J. Marston                     3.90 Research re automatic stay issue (3.1);
                                                     correspond with A. Hevia re same (.3);
                                                     telephone conference with K&E team re
                                                     automatic stay issue (.5).
06/21/21 Ravi Subramanian Shankar               1.80 Telephone conference with K&E team re
                                                     New Jersey lien issue and automatic stay (.2);
                                                     prepare for same (.6); analyze same with
                                                     K&E team (1.0).
06/22/21 Joshua M. Altman                       1.20 Review and analyze stipulations (.6);
                                                     correspond with A. Hevia, L. Blum and E.
                                                     Jones re same (.2); correspond with A&M re
                                                     same (.4).
06/22/21 Gavin Campbell                         0.10 Review and analyze docket in state court
                                                     proceeding.
06/22/21 Alex Hevia                             1.20 Correspond and telephone conference with R.
                                                     Shankar, K&E team, A&M and Company re
                                                     potential motion to modify automatic stay
                                                     (.7); review and analyze facts re same (.5).
06/23/21 Joshua M. Altman                       1.50 Review and analyze stipulations (.7);
                                                     correspond with A. Hevia, E. Jones, L. Blum
                                                     re same (.2); consider strategy re assumption
                                                     re same (.6).
06/23/21 Alex Hevia                             0.40 Telephone conference with C. Fenton and
                                                     counterparty re lift stay issues (.3);
                                                     correspond with K&E team and L. Blum re
                                                     same (.1).
06/24/21 Joshua M. Altman                       1.70 Telephone conferences and correspond with
                                                     E. Jones, A. Hevia, L. Blum re stipulations
                                                     (.8); review and analyze same (.9).

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Legal Services for the Period Ending June 30, 2021             Invoice Number:           1050048176
Katerra Inc.                                                    Matter Number:             49067-15
Automatic Stay Matters

Date     Name                                  Hours Description
06/24/21 Alex Hevia                             0.20 Correspond with R. Shankar, K&E team and
                                                     A&M re lien issue.
06/24/21 Ravi Subramanian Shankar               0.20 Correspond with K&E team re automatic stay
                                                     litigation strategy.
06/25/21 Ravi Subramanian Shankar               0.60 Telephone conference with K&E team re
                                                     litigation strategy issues.
06/26/21 Alex Hevia                             0.40 Correspond with A&M and R. Shankar re
                                                     automatic stay issues.
06/26/21 Ravi Subramanian Shankar               0.30 Correspond with K&E team re lien issues.
06/28/21 Joshua M. Altman                       2.40 Correspond and conference with K&E team,
                                                     A. Hevia, L. Blum, counterparties re lift stay
                                                     matters and comment on, consider strategy re
                                                     same.
06/28/21 Alex Hevia                             0.40 Correspond with R. Shankar, C. Fenton re
                                                     automatic stay and pleadings re same.
06/28/21 Dan Latona                             1.30 Review and analyze automatic stay motion
                                                     (.7); analyze case law re same (.6).
06/29/21 Alex Hevia                             0.70 Correspond and telephone conference with
                                                     Company, R. Shankar and K&E team re
                                                     automatic stay issues and related pleadings.
06/29/21 Elizabeth Helen Jones                  2.10 Research re vendor request to lift automatic
                                                     stay (1.2); draft summary re same (.6);
                                                     correspond with D. Latona, A. Hevia re same
                                                     (.3).
06/30/21 Alex Hevia                             0.40 Correspond and telephone conference with
                                                     K&E team, R. Shankar and Company re
                                                     automatic stay issues and related pleadings.

Total                                           49.20




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                                                        601 Lexington Avenue
                                                         New York, NY 10022

                                                           FEIN XX-XXXXXXX




August 9, 2021

Katerra Inc.
9305 East Via de Ventura
Scottsdale, AZ 85258

Attn: Christopher Wells

                                                                             Invoice Number: 1050048177
                                                                               Client Matter: 49067-16

In the Matter of U.S. Trustee Issues and Communications




For legal services rendered through June 30, 2021
(see attached Description of Legal Services for detail)                                                        $ 16,529.50
Total legal services rendered                                                                                  $ 16,529.50




  Austin Bay Area Beijing Boston Brussels Chicago Dallas Hong Kong Houston London Los Angeles Munich Paris Shanghai Washington, D.C.
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Legal Services for the Period Ending June 30, 2021          Invoice Number:   1050048177
Katerra Inc.                                                 Matter Number:     49067-16
U.S. Trustee Issues and Communications




                                         Summary of Hours Billed

Name                                                     Hours         Rate     Amount
Haroula Gkotsi                                            0.20       765.00       153.00
Katrina Gonzales                                          1.00       625.00       625.00
Dan Latona                                                2.20     1,070.00     2,354.00
Nir Levin                                                 0.30       765.00       229.50
Rebecca J. Marston                                        0.30       625.00       187.50
Christine A. Okike, P.C.                                  1.80     1,495.00     2,691.00
Joshua Robinson                                           1.30       995.00     1,293.50
Tommy Scheffer                                            9.70       875.00     8,487.50
Josh Sussberg, P.C.                                       0.30     1,695.00       508.50

TOTALS                                                    17.10               $ 16,529.50




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Legal Services for the Period Ending June 30, 2021             Invoice Number:           1050048177
Katerra Inc.                                                    Matter Number:             49067-16
U.S. Trustee Issues and Communications


                                       Description of Legal Services

Date     Name                                  Hours Description
06/14/21 Haroula Gkotsi                         0.20 Telephone conference with C. Okike, JW,
                                                     U.S. Trustee re creditors' committee
                                                     formation.
06/14/21 Katrina Gonzales                       1.00 Research and review certificates of good
                                                     standing for debtor entities in preparation for
                                                     initial debtor interview (.8); correspond with
                                                     A. Hevia re same (.2).
06/14/21 Dan Latona                             0.50 Telephone conference with C. Okike, U.S.
                                                     Trustee re committee formation.
06/14/21 Christine A. Okike, P.C.               0.30 Telephone conference with U.S. Trustee re
                                                     UCC formation.
06/14/21 Tommy Scheffer                         0.20 Telephone conference with U.S. Trustee, JW,
                                                     K&E team re committee formation.
06/14/21 Josh Sussberg, P.C.                    0.10 Telephone conference with D. Dunn re UCC
                                                     formation.
06/15/21 Josh Sussberg, P.C.                    0.20 Correspond re UCC formation.
06/16/21 Dan Latona                             0.30 Telephone conference with C. Okike, JW,
                                                     U.S. Trustee re committee formation.
06/16/21 Nir Levin                              0.30 Telephone conferences with U.S. Trustee,
                                                     K&E team re creditor committee formation.
06/16/21 Rebecca J. Marston                     0.30 Telephone conference with K&E team re
                                                     creditor committee formation.
06/16/21 Christine A. Okike, P.C.               0.40 Telephone conference with U.S. Trustee re
                                                     committee formation.
06/16/21 Joshua Robinson                        0.50 Telephone conference with U.S. Trustee re
                                                     committee formation (.3); correspond with
                                                     K&E team re same (.2).
06/16/21 Tommy Scheffer                         0.70 Telephone conference with U.S. Trustee, JW,
                                                     K&E team re committee formation (.3);
                                                     correspond with K&E team re same (.4).
06/17/21 Tommy Scheffer                         1.40 Correspond with U.S. Trustee, JW, A&M,
                                                     K&E team re claims forms mailing strategy,
                                                     U.S. Trustee incentive plan diligence requests
                                                     (.3); research re U.S. Trustee incentive plan
                                                     diligence requests (1.1).
06/18/21 Christine A. Okike, P.C.               0.50 Analyze U.S. Trustee comments re interim
                                                     compensation motion (.3); correspond with D.
                                                     Latona re same (.2).



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Legal Services for the Period Ending June 30, 2021            Invoice Number:           1050048177
Katerra Inc.                                                   Matter Number:             49067-16
U.S. Trustee Issues and Communications

Date     Name                                  Hours Description
06/18/21 Tommy Scheffer                         2.30 Review and analyze retention bonus program
                                                     data (.2); correspond and telephone
                                                     conferences with K&E team, A&M re same
                                                     (.6); research re same (1.5).
06/19/21 Tommy Scheffer                         0.50 Correspond with U.S. Trustee, JW, K&E
                                                     team re U.S. Trustee retention bonus
                                                     diligence request.
06/21/21 Tommy Scheffer                         0.40 Correspond with U.S. Trustee, JW, K&E
                                                     team re committee formation.
06/22/21 Dan Latona                             0.40 Telephone conference with R. Shankar, U.S.
                                                     Trustee re committee matters.
06/22/21 Tommy Scheffer                         0.40 Correspond with U.S. Trustee, JW, K&E
                                                     team re committee membership.
06/25/21 Tommy Scheffer                         0.40 Correspond with JW, K&E team re U.S.
                                                     Trustee comments to bar date motion.
06/28/21 Dan Latona                             1.00 Telephone conference with A&M re initial
                                                     debtor interview.
06/28/21 Joshua Robinson                        0.80 Review and analyze initial debtor report (.6);
                                                     telephone conference with K&E team re same
                                                     (.2).
06/28/21 Tommy Scheffer                         1.50 Correspond and telephone conferences with
                                                     U.S. Trustee, A&M, JW, K&E team re bar
                                                     dates, retention payments (.9); analyze bar
                                                     date, wages orders re same (.6).
06/29/21 Tommy Scheffer                         0.40 Correspond with U.S. Trustee, JW, K&E
                                                     team re U.S. Trustee comments to bar date
                                                     order (.3); review and revise bar date order
                                                     (.1).
06/30/21 Christine A. Okike, P.C.               0.60 Review and analyze U.S. Trustee's comments
                                                     to bar date order and interim compensation
                                                     order (.4); correspond with D. Latona re same
                                                     (.2).
06/30/21 Tommy Scheffer                         1.50 Correspond with U.S. Trustee, JW, A&M,
                                                     K&E team re U.S. Trustee retention payment
                                                     diligence, U.S. Trustee comments to bar date
                                                     order, de minimis asset sale order, interim
                                                     compensation order (.7); review and analyze
                                                     same (.8).

Total                                           17.10




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                                                        601 Lexington Avenue
                                                         New York, NY 10022

                                                           FEIN XX-XXXXXXX




August 9, 2021

Katerra Inc.
9305 East Via de Ventura
Scottsdale, AZ 85258

Attn: Christopher Wells

                                                                             Invoice Number: 1050048178
                                                                               Client Matter: 49067-17

In the Matter of Business Operations




For legal services rendered through June 30, 2021
(see attached Description of Legal Services for detail)                                                        $ 62,222.00
Total legal services rendered                                                                                  $ 62,222.00




  Austin Bay Area Beijing Boston Brussels Chicago Dallas Hong Kong Houston London Los Angeles Munich Paris Shanghai Washington, D.C.
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Legal Services for the Period Ending June 30, 2021          Invoice Number:   1050048178
Katerra Inc.                                                 Matter Number:     49067-17
Business Operations




                                         Summary of Hours Billed

Name                                                     Hours         Rate     Amount
Joshua M. Altman                                           0.50    1,155.00       577.50
Tiffani Chanroo                                           34.20      625.00    21,375.00
Elizabeth Helen Jones                                      1.80      765.00     1,377.00
Dan Latona                                                12.90    1,070.00    13,803.00
Rebecca J. Marston                                         2.50      625.00     1,562.50
Christine A. Okike, P.C.                                   6.50    1,495.00     9,717.50
Joshua Robinson                                            7.70      995.00     7,661.50
Tommy Scheffer                                             2.00      875.00     1,750.00
Ravi Subramanian Shankar                                   1.80    1,125.00     2,025.00
Josh Sussberg, P.C.                                        1.40    1,695.00     2,373.00

TOTALS                                                    71.30               $ 62,222.00




                                                     2
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Legal Services for the Period Ending June 30, 2021                  Invoice Number:           1050048178
Katerra Inc.                                                         Matter Number:             49067-17
Business Operations


                                       Description of Legal Services

Date       Name                                Hours        Description
06/06/21   Joshua M. Altman                     0.50        Telephone conference with board.
06/06/21   Josh Sussberg, P.C.                  0.50        Telephone conference with board.
06/07/21   Josh Sussberg, P.C.                  0.50        Correspond with board re next steps and
                                                            board meetings.
06/08/21 Tiffani Chanroo                         2.70       Review and analyze NDA comments (2.4);
                                                            correspond with K&E team re same (.3).
06/08/21 Christine A. Okike, P.C.                0.30       Telephone conference with M. Liebman re
                                                            projects.
06/09/21 Tiffani Chanroo                         6.10       Review and analyze NDAs (2.1); revise same
                                                            (3.1); correspond with K&E team, Houlihan
                                                            re same (.7); telephone conference with D.
                                                            Dulitzky re same (.2).
06/09/21 Christine A. Okike, P.C.                1.70       Analyze trust fund issues (.2); telephone
                                                            conference with J. Altman, D. Latona, J.
                                                            Robinson, M. Peguero, E. Jones re same (.5);
                                                            review and analyze project contracts (.3);
                                                            telephone conference with M. Liebman, C.
                                                            Wells (A&M) re same (.7).
06/10/21 Tiffani Chanroo                         7.40       Review and analyze non-disclosure
                                                            agreements (2.8); revise same (3.9);
                                                            correspond with K&E team re same (.7).
06/10/21 Dan Latona                              0.50       Telephone conference with J. Robinson,
                                                            A&M re weekly work streams.
06/10/21 Christine A. Okike, P.C.                2.00       Telephone conference with M. Liebman
                                                            (A&M) re projects (.3); review and analyze
                                                            proposal (.9); telephone conference with M.
                                                            Liebman (A&M) re same (.3); telephone
                                                            conference with M. Liebman, C. Wells
                                                            (A&M), J. Altman, D. Latona, J. Robinson, E.
                                                            Jones re subcontractor issues (.5).
06/10/21 Joshua Robinson                         2.00       Review and analyze press release (.2); revise
                                                            same (.2); correspond with A&M re same
                                                            (.2); telephone conference with vendor re
                                                            ongoing projects (.4); correspond with A&M
                                                            re same (.3); correspond with rejection
                                                            claimants re open projects (.7).
06/11/21 Tiffani Chanroo                         2.60       Review and analyze non-disclosure
                                                            agreements (2.4); correspond with K&E team,
                                                            Houlihan re same (.2).



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Legal Services for the Period Ending June 30, 2021            Invoice Number:          1050048178
Katerra Inc.                                                   Matter Number:            49067-17
Business Operations

Date     Name                                  Hours Description
06/11/21 Christine A. Okike, P.C.               0.80 Review and analyze letters re projects (.6);
                                                     telephone conference with M. Liebman
                                                     (A&M) re same (.2).
06/11/21 Joshua Robinson                        1.70 Correspond with contract counterparties re
                                                     project status (.4); correspond with K&E team
                                                     re same (.5); review and analyze notice re
                                                     contract termination (.5); review and analyze
                                                     subcontractor contract notice re same (.3).
06/14/21 Tiffani Chanroo                        2.20 Review and analyze NDA comments (1.9);
                                                     correspond with K&E team re same (.3).
06/14/21 Christine A. Okike, P.C.               0.80 Follow up re project owner negotiations.
06/14/21 Joshua Robinson                        2.90 Telephone conference with A&M re contracts
                                                     (1.0); correspond with K&E team re same
                                                     (.7); correspond with counterparties re
                                                     commencement of case (1.2).
06/15/21 Tiffani Chanroo                        3.30 Review, revise non-disclosure agreement
                                                     comments (2.9); correspond with D. Dulitzky
                                                     re same (.4).
06/15/21 Dan Latona                             1.00 Review and analyze correspondence re open
                                                     work streams (.5); telephone conference with
                                                     J. Robinson, A&M re open work streams (.5).
06/15/21 Christine A. Okike, P.C.               0.30 Correspond with C. Wells (A&M) re foreign
                                                     operational issues.
06/15/21 Joshua Robinson                        0.30 Correspond with A&M re organizational
                                                     structure.
06/16/21 Tiffani Chanroo                        2.40 Review and analyze counterparty non-
                                                     disclosure agreement comments (2.1);
                                                     correspond with D. Dulitzky re same (.3).
06/16/21 Elizabeth Helen Jones                  1.10 Telephonically attend board meeting with
                                                     Company, K&E team, C. Okike.
06/16/21 Dan Latona                             0.20 Telephone conference with J. Robinson,
                                                     A&M re JV matters.
06/16/21 Ravi Subramanian Shankar               1.60 Telephone conference with A&M re
                                                     document preservation issues (.9); telephone
                                                     conference with K&E team re evaluation of
                                                     same (.7).
06/17/21 Tiffani Chanroo                        4.90 Review and analyze non-disclosure
                                                     agreement counterparty comments (3.9);
                                                     revise same (.5); correspond with D. Dulitzky
                                                     re same (.5).
06/17/21 Elizabeth Helen Jones                  0.50 Draft board meeting minutes.



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Katerra Inc.                                                    Matter Number:              49067-17
Business Operations

Date     Name                                  Hours Description
06/17/21 Dan Latona                             0.50 Telephone conference with A&M re ongoing
                                                     work streams.
06/17/21 Ravi Subramanian Shankar               0.20 Correspond with K&E team re document
                                                     preservation strategy.
06/18/21 Dan Latona                             5.90 Telephone conference with C. Okike, J.
                                                     Altman, A&M re open issues (1.0); comment
                                                     on settlement motion (3.1); comment on
                                                     settlement agreement (1.5); telephone
                                                     conference with A&M, Houlihan re cross-
                                                     laminated timber factory matters (.3).
06/18/21 Christine A. Okike, P.C.               0.60 Correspond with owners and subcontractors
                                                     re open issues.
06/18/21 Joshua Robinson                        0.80 Review correspondence re pre-petition
                                                     settlement (.2); correspond with K&E team,
                                                     D. Latona re same (.6).
06/19/21 Tiffani Chanroo                        1.90 Review counterparty non-disclosure
                                                     agreement (1.4); revise same (.4); correspond
                                                     with D. Dulitzky re same (.1).
06/20/21 Tiffani Chanroo                        0.70 Analyze counterparties non-disclosure
                                                     agreements (.6); correspond with D. Dulitzky
                                                     re same (.1).
06/21/21 Dan Latona                             0.40 Telephone conference with C. Okike, M.
                                                     Liebman re contract counterparty (.3);
                                                     telephone conference with R. Briones re
                                                     settlement motion (.1).
06/22/21 Dan Latona                             0.20 Telephone conference with J. Robinson,
                                                     A&M re weekly work streams.
06/23/21 Dan Latona                             1.00 Analyze issues re open work streams.
06/24/21 Elizabeth Helen Jones                  0.20 Revise board minutes (.1); correspond with D.
                                                     Latona re same (.1).
06/24/21 Dan Latona                             0.50 Telephone conference with J. Robinson,
                                                     A&M re weekly work streams.
06/24/21 Rebecca J. Marston                     0.30 Correspond with T. Scheffer re letters of
                                                     credit.
06/24/21 Tommy Scheffer                         2.00 Correspond with Company, A&M, K&E team
                                                     re subcontractor liens (.6); analyze same (1.4).
06/25/21 Rebecca J. Marston                     2.20 Analyze letters of credit (2.1); correspond
                                                     with D. Latona re same (.1).
06/25/21 Josh Sussberg, P.C.                    0.20 Telephone conference with subcontractor.
06/27/21 Josh Sussberg, P.C.                    0.10 Correspond with K&E team re Canadian
                                                     entities and transaction.


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Katerra Inc.                                                   Matter Number:           49067-17
Business Operations

Date     Name                                  Hours Description
06/28/21 Dan Latona                             0.90 Analyze correspondence re open issues (.7);
                                                     telephone conference with J. Altman, A&M
                                                     re contract matter (.2).
06/29/21 Dan Latona                             1.30 Telephone conference with C. Wells, local
                                                     counsel re Asia matters (.8); telephone
                                                     conference with J. Robinson, A&M re weekly
                                                     work streams (.5).
06/30/21 Dan Latona                             0.50 Correspond with K&E team re final orders.
06/30/21 Josh Sussberg, P.C.                    0.10 Correspond re asset sales, status and
                                                     reclamation demands.

Total                                           71.30




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                                                        601 Lexington Avenue
                                                         New York, NY 10022

                                                           FEIN XX-XXXXXXX




August 9, 2021

Katerra Inc.
9305 East Via de Ventura
Scottsdale, AZ 85258

Attn: Christopher Wells

                                                                             Invoice Number: 1050048179
                                                                               Client Matter: 49067-18

In the Matter of Case Administration




For legal services rendered through June 30, 2021
(see attached Description of Legal Services for detail)                                                        $ 63,131.50
Total legal services rendered                                                                                  $ 63,131.50




  Austin Bay Area Beijing Boston Brussels Chicago Dallas Hong Kong Houston London Los Angeles Munich Paris Shanghai Washington, D.C.
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Legal Services for the Period Ending June 30, 2021          Invoice Number:   1050048179
Katerra Inc.                                                 Matter Number:     49067-18
Case Administration




                                         Summary of Hours Billed

Name                                                     Hours         Rate    Amount
Lisa Aasa                                                  6.80      285.00    1,938.00
Joshua M. Altman                                           4.00    1,155.00    4,620.00
Lindsey Blum                                               2.00      765.00    1,530.00
Rachel S. Briones                                          2.90      625.00    1,812.50
Tiffani Chanroo                                            1.80      625.00    1,125.00
Neil Datar                                                 0.70      625.00      437.50
Danielle Dulitzky                                          1.60      875.00    1,400.00
Emily C. Eggmann                                           7.00      625.00    4,375.00
Emily Flynn                                                0.60      875.00      525.00
Julia R. Foster                                           11.50      390.00    4,485.00
Haroula Gkotsi                                             3.60      765.00    2,754.00
Asheesh Goel, P.C.                                         1.00    1,695.00    1,695.00
Katrina Gonzales                                           2.10      625.00    1,312.50
Jacqueline Hahn                                            0.50      285.00      142.50
Alex Hevia                                                 2.10      875.00    1,837.50
Elizabeth Helen Jones                                      2.00      765.00    1,530.00
Dan Latona                                                 4.50    1,070.00    4,815.00
Nir Levin                                                  3.00      765.00    2,295.00
Maddison Levine                                            1.40      625.00      875.00
Rebecca J. Marston                                         1.70      625.00    1,062.50
Christine A. Okike, P.C.                                   3.00    1,495.00    4,485.00
Carrie Therese Oppenheim                                   2.90      460.00    1,334.00
Miriam A. Peguero Medrano                                  1.30      875.00    1,137.50
Joshua Robinson                                            2.50      995.00    2,487.50
Leo Rosenberg                                              0.70      285.00      199.50
Laura Saal                                                 2.40      460.00    1,104.00
Tommy Scheffer                                             3.00      875.00    2,625.00
Michael Scian                                              1.40      625.00      875.00
Josh Sussberg, P.C.                                        1.70    1,695.00    2,881.50
Rami Totari                                                2.20    1,125.00    2,475.00
Lydia Yale                                                 0.30      285.00       85.50
Mason N. Zurek                                             4.60      625.00    2,875.00


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Legal Services for the Period Ending June 30, 2021        Invoice Number:   1050048179
Katerra Inc.                                               Matter Number:     49067-18
Case Administration


TOTALS                                                   86.80              $ 63,131.50




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Legal Services for the Period Ending June 30, 2021             Invoice Number:            1050048179
Katerra Inc.                                                    Matter Number:              49067-18
Case Administration


                                       Description of Legal Services

Date     Name                                  Hours Description
06/07/21 Neil Datar                             0.70 Analyze status updates (.2); telephone
                                                     conference re bankruptcy update (.5).
06/07/21 Laura Saal                             2.40 Review, revise hearing agenda (1.6); review,
                                                     revise notice of electronic hearing (.8).
06/07/21 Josh Sussberg, P.C.                    0.80 Correspond with JW re status (.4); correspond
                                                     with creditors and parties in interest re status
                                                     (.4).
06/08/21 Lisa Aasa                              0.40 Telephone conference with K&E team, D.
                                                     Latona re work in process.
06/08/21 Joshua M. Altman                       0.90 Conference with K&E team, D. Latona re
                                                     work in process (.4); conference with A&M,
                                                     Houlihan re matter coordination (.5).
06/08/21 Lindsey Blum                           0.50 Conference with K&E team, D. Latona re
                                                     status updates.
06/08/21 Rachel S. Briones                      0.40 Telephone conference with K&E team, D.
                                                     Latona re work in process.
06/08/21 Danielle Dulitzky                      0.50 Telephone conference with K&E team, D.
                                                     Latona re work in process (.4); correspond
                                                     with K&E team, D. Latona re same (.1).
06/08/21 Emily C. Eggmann                       1.00 Review and revise work in process materials
                                                     (.6); telephone conference with K&E team, D.
                                                     Latona re work in process (.4).
06/08/21 Emily Flynn                            0.20 Telephone conference with D. Latona, K&E
                                                     team re work in process.
06/08/21 Haroula Gkotsi                         1.00 Telephone conference with D. Latona, K&E
                                                     team re work in process, next steps (.4);
                                                     review and analyze work in process tracker,
                                                     timeline (.6).
06/08/21 Katrina Gonzales                       0.50 Telephone conference with K&E team, D.
                                                     Latona re work in process.
06/08/21 Alex Hevia                             0.20 Telephone conference with K&E team, D.
                                                     Latona re case status.
06/08/21 Dan Latona                             1.00 Telephone conference with E. Eggmann,
                                                     K&E team re work in process (.5); comment
                                                     on materials re same (.3); analyze
                                                     correspondence re same (.2).
06/08/21 Nir Levin                              0.60 Telephone conference with D. Latona, K&E
                                                     team re work in process (.4); review, revise
                                                     work in process chart (.1); correspond with E.
                                                     Eggmann re same (.1).

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Katerra Inc.                                                    Matter Number:               49067-18
Case Administration

Date     Name                                  Hours Description
06/08/21 Maddison Levine                        0.30 Telephone conference with D. Latona, K&E
                                                     team re work in process.
06/08/21 Rebecca J. Marston                     0.50 Telephone conference with K&E team, D.
                                                     Latona re updates (.4); correspond with A.
                                                     Hevia re case description (.1).
06/08/21 Christine A. Okike, P.C.               0.40 Telephone conference with D. Latona, J.
                                                     Robinson, M. Peguero, J. Altman re work in
                                                     process.
06/08/21 Joshua Robinson                        0.10 Telephone conference with K&E team re
                                                     work in process.
06/08/21 Michael Scian                          0.40 Prepare for and telephone conference with
                                                     K&E team re work in process.
06/08/21 Lydia Yale                             0.10 Organize 341 meeting.
06/08/21 Mason N. Zurek                         0.50 Telephone conference with K&E team, D.
                                                     Latona re work in process (.4); review
                                                     correspondence re same (.1).
06/09/21 Lisa Aasa                              0.50 Revise pleading template and correspond with
                                                     T. Chanroo re same (.2); revise pleading
                                                     template and correspond with D. Latona and
                                                     T. Scheffer re same (.3).
06/09/21 Emily C. Eggmann                       0.30 Review and revise work in process document.
06/09/21 Tommy Scheffer                         0.80 Correspond with K&E team, D. Latona re
                                                     pleading template (.3); review and revise
                                                     same (.5).
06/10/21 Lisa Aasa                              1.50 Telephone conference with K&E team, D.
                                                     Latona re work in process (.3); compile
                                                     recently filed pleadings (.9); circulate recently
                                                     filed pleadings to K&E team, D. Latona (.3).
06/10/21 Joshua M. Altman                       0.20 Telephone conference with K&E team, D.
                                                     Latona re work in process.
06/10/21 Rachel S. Briones                      0.30 Telephone conference with K&E team, D.
                                                     Latona re work in process.
06/10/21 Tiffani Chanroo                        0.30 Telephone conference with K&E team, D.
                                                     Latona re work in process.
06/10/21 Danielle Dulitzky                      0.40 Telephone conference with K&E team, D.
                                                     Latona re work in process (.3); correspond
                                                     with K&E team, D. Latona re same (.1).
06/10/21 Emily C. Eggmann                       1.00 Review and revise work in process materials
                                                     (.7); telephone conference with K&E team, D.
                                                     Latona re same (.3).
06/10/21 Haroula Gkotsi                         0.40 Telephone conference with D. Latona, K&E
                                                     team re case status, next steps.

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Katerra Inc.                                                    Matter Number:              49067-18
Case Administration

Date     Name                                  Hours Description
06/10/21 Katrina Gonzales                       0.50 Telephone conference with D. Latona, K&E
                                                     team re work in process.
06/10/21 Alex Hevia                             0.30 Telephone conference with D. Latona, K&E
                                                     team re case status.
06/10/21 Elizabeth Helen Jones                  0.40 Telephone conference with D. Latona, K&E
                                                     team re work in process.
06/10/21 Dan Latona                             0.50 Telephone conference with E. Eggmann,
                                                     K&E team re work in process (.3); analyze
                                                     materials re same (.2).
06/10/21 Nir Levin                              0.40 Telephone conference with D. Latona, K&E
                                                     team re work in process.
06/10/21 Maddison Levine                        0.30 Telephone conference with D. Latona, K&E
                                                     team re work in process.
06/10/21 Miriam A. Peguero Medrano              0.50 Telephone conference with D. Latona, K&E
                                                     team re work in process.
06/10/21 Joshua Robinson                        0.50 Telephone conference with D. Latona, K&E
                                                     team re work in process.
06/10/21 Leo Rosenberg                          0.30 Telephone conference with D. Latona, K&E
                                                     team re work in process.
06/10/21 Tommy Scheffer                         0.30 Correspond and telephone conferences with
                                                     K&E team, D. Latona re work in process.
06/10/21 Michael Scian                          0.30 Prepare for and telephone conference re work
                                                     in process.
06/10/21 Mason N. Zurek                         0.30 Telephone conference with K&E team, D.
                                                     Latona re work in process.
06/10/21 Mason N. Zurek                         3.10 Research re trust fund statutes (2.3); draft and
                                                     revise memorandum re same (.8).
06/11/21 Lisa Aasa                              0.30 Circulate recently filed pleadings to K&E
                                                     team, D. Latona.
06/11/21 Leo Rosenberg                          0.20 Correspond with K&E team and JW re first
                                                     day hearing transcript.
06/11/21 Josh Sussberg, P.C.                    0.10 Telephone conference and correspond with C.
                                                     Okike re motions and status.
06/11/21   Lydia Yale                           0.20 Prepare deadline calendar invites.
06/12/21   Josh Sussberg, P.C.                  0.10 Correspond with K&E team re case status.
06/13/21   Josh Sussberg, P.C.                  0.10 Correspond with K&E team re case status.
06/14/21   Lisa Aasa                            0.30 Correspond with K&E team re pleadings.
06/14/21   Julia R. Foster                      1.50 Correspond with vendor re certificate of good
                                                     standing (.7); revise pleading template (.6);
                                                     correspond with L. Aasa re docket updates
                                                     (.2).

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Case Administration

Date     Name                                  Hours Description
06/14/21 Asheesh Goel, P.C.                     1.00 Analyze media re Company (.5); conference
                                                     with Z. Brez (.5).
06/14/21 Dan Latona                             0.30 Analyze pleadings re filing.
06/14/21 Carrie Therese Oppenheim               0.20 Coordinate filing of publication affidavits.
06/14/21 Tommy Scheffer                         0.30 Correspond with K&E team re work in
                                                     process.
06/15/21 Lisa Aasa                              0.30 Correspond with K&E team re recently filed
                                                     pleadings.
06/15/21 Lisa Aasa                              0.50 Telephone conference with K&E team re
                                                     work in process (.2); correspond with J.
                                                     Foster re organizing folders (.3).
06/15/21 Joshua M. Altman                       0.20 Telephone conference with K&E team re
                                                     work in process.
06/15/21 Lindsey Blum                           0.50 Telephone conference with K&E team re
                                                     work in process status.
06/15/21 Rachel S. Briones                      0.50 Telephone conference with D. Latona, K&E
                                                     team re work in process (.3); correspond with
                                                     E. Eggmann re same (.2).
06/15/21 Tiffani Chanroo                        0.30 Telephone conference with D. Latona, K&E
                                                     team re work in process.
06/15/21 Danielle Dulitzky                      0.40 Telephone conference with D. Latona, K&E
                                                     team re work in process.
06/15/21 Emily C. Eggmann                       1.00 Telephone conference with D. Latona, K&E
                                                     team re status (.5); update work in process
                                                     materials (.5).
06/15/21 Emily Flynn                            0.20 Telephone conference with D. Latona, K&E
                                                     team re work in process.
06/15/21 Julia R. Foster                        0.30 Telephone conference with K&E team re
                                                     work in process.
06/15/21 Haroula Gkotsi                         0.40 Telephone conference with D. Latona, K&E
                                                     team re work in process and next steps.
06/15/21 Katrina Gonzales                       0.30 Telephone conference with K&E team re
                                                     work in process.
06/15/21 Alex Hevia                             0.30 Telephone conference with D. Latona, K&E
                                                     team re case status.
06/15/21 Elizabeth Helen Jones                  0.40 Telephone conference with D. Latona, K&E
                                                     team re work in process.
06/15/21 Dan Latona                             0.50 Telephone conference with J. Robinson, K&E
                                                     team re work in process.
06/15/21 Nir Levin                              0.40 Telephone conference with D. Latona, K&E
                                                     team re work in process.

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Legal Services for the Period Ending June 30, 2021             Invoice Number:           1050048179
Katerra Inc.                                                    Matter Number:             49067-18
Case Administration

Date     Name                                  Hours Description
06/15/21 Rebecca J. Marston                     0.30 Telephone conference with D. Latona, K&E
                                                     team re work in process.
06/15/21 Carrie Therese Oppenheim               0.30 Telephone conference with D. Latona, K&E
                                                     team re work in process.
06/15/21 Joshua Robinson                        0.60 Telephone conference with D. Latona, K&E
                                                     team re work in process (.3); review tracker re
                                                     same (.3).
06/15/21 Leo Rosenberg                          0.20 Telephone conferences with K&E team re
                                                     work in process.
06/15/21 Tommy Scheffer                         0.30 Correspond and telephone conferences with
                                                     K&E team re work in process.
06/15/21 Michael Scian                          0.20 Telephone conference with D. Latona, K&E
                                                     team re work in process.
06/15/21 Mason N. Zurek                         0.30 Telephone conference with D. Latona, K&E
                                                     team re work in process.
06/16/21 Lisa Aasa                              0.20 Correspond with K&E team re recently filed
                                                     pleadings.
06/16/21 Julia R. Foster                        0.30 Correspond with L. Aasa re docket updates.
06/16/21 Rami Totari                            0.50 Analyze correspondence from K&E team re
                                                     case status.
06/17/21 Lisa Aasa                              0.60 Telephone conference with D. Latona, K&E
                                                     team re work in process (.3); correspond with
                                                     K&E team re recently filed pleadings (.3).
06/17/21 Joshua M. Altman                       0.30 Telephone conference with D. Latona, K&E
                                                     team re work in process.
06/17/21 Lindsey Blum                           0.50 Telephone conference with D. Latona, K&E
                                                     team re work in process update.
06/17/21 Rachel S. Briones                      0.50 Telephone conference with D. Latona, K&E
                                                     team re work in process (.3); correspond with
                                                     E. Eggmann re same (.2).
06/17/21 Tiffani Chanroo                        0.20 Telephone conference with D. Latona, K&E
                                                     team re work in process.
06/17/21 Danielle Dulitzky                      0.30 Telephone conference with D. Latona, K&E
                                                     team re work in process.
06/17/21 Emily C. Eggmann                       0.70 Telephone conference with D. Latona, K&E
                                                     team re status (.3); review and revise work in
                                                     process materials (.4).
06/17/21 Emily Flynn                            0.20 Telephone conference with D. Latona, K&E
                                                     team re work in process.




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Case Administration

Date     Name                                  Hours Description
06/17/21 Julia R. Foster                        0.60 Revise pleading template (.3); conference
                                                     with D. Latona, K&E team re work in process
                                                     (.3).
06/17/21 Haroula Gkotsi                         0.30 Telephone conference with D. Latona, K&E
                                                     team re work in process and next steps.
06/17/21 Katrina Gonzales                       0.50 Telephone conference with D. Latona, K&E
                                                     team re work in process.
06/17/21 Alex Hevia                             0.30 Telephone conference with D. Latona, K&E
                                                     team re case status.
06/17/21 Elizabeth Helen Jones                  0.40 Revise work in process materials (.1);
                                                     telephone conference with D. Latona, K&E
                                                     team re work in process (.3).
06/17/21 Dan Latona                             0.50 Telephone conference with J. Robinson, K&E
                                                     team re work in process (.4); telephone
                                                     conference with J. Altman re same (.1).
06/17/21 Nir Levin                              0.60 Telephone conference re work in process (.4);
                                                     review, revise work in process document (.1);
                                                     correspond with E. Eggmann re same (.1).
06/17/21 Maddison Levine                        0.30 Telephone conference with D. Latona, K&E
                                                     team re work in process.
06/17/21 Christine A. Okike, P.C.               0.30 Telephone conference with J. Altman, D.
                                                     Latona, M. Peguero, J. Robinson re work in
                                                     process.
06/17/21 Carrie Therese Oppenheim               0.30 Telephone conference with K&E team re
                                                     work in process.
06/17/21 Joshua Robinson                        0.50 Telephone conference with D. Latona, K&E
                                                     team re work in process.
06/17/21 Tommy Scheffer                         0.40 Correspond and telephone conferences with
                                                     K&E team re work in process.
06/17/21 Michael Scian                          0.30 Prepare for and telephone conference with D.
                                                     Latona, K&E team re work in process.
06/17/21 Josh Sussberg, P.C.                    0.20 Correspond with K&E team re issues and
                                                     SEC investigation.
06/17/21 Mason N. Zurek                         0.20 Telephone conference with D. Latona, K&E
                                                     team re work in process.
06/18/21 Joshua M. Altman                       2.20 Comment on open items list and correspond
                                                     with K&E team re same (.4); conference with
                                                     C. Okike, D. Latona, K&E team re same
                                                     (1.2); follow up re same (.4); conference with
                                                     Y. Salloum re open items (.2).




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Case Administration

Date     Name                                  Hours Description
06/18/21 Christine A. Okike, P.C.               1.00 Telephone conference with M. Liebman, C.
                                                     Wells, C. Arnett (A&M), D. Latona, J.
                                                     Altman re open issues.
06/18/21 Josh Sussberg, P.C.                    0.20 Correspond with K&E team re case status.
06/21/21 Lisa Aasa                              0.30 Correspond with K&E team re pleading
                                                     template.
06/21/21 Julia R. Foster                        0.30 Correspond with J. Hahn re pleading template
                                                     and docket updates.
06/21/21 Haroula Gkotsi                         0.20 Review and revise working group list.
06/21/21 Rebecca J. Marston                     0.10 Correspond with J. Robinson re litigation
                                                     tracker.
06/21/21 Josh Sussberg, P.C.                    0.10 Correspond with K&E team re case status.
06/21/21 Rami Totari                            0.20 Analyze correspondence re status.
06/22/21 Lisa Aasa                              0.20 Telephone conference with D. Latona, K&E
                                                     team re work in process.
06/22/21 Joshua M. Altman                       0.20 Telephone conference with D. Latona, K&E
                                                     team re work in process.
06/22/21 Rachel S. Briones                      0.40 Telephone conference with D. Latona, K&E
                                                     team re work in process (.3); correspond with
                                                     E. Eggmann re same (.1).
06/22/21 Tiffani Chanroo                        0.30 Telephone conference with D. Latona, K&E
                                                     team re work in process.
06/22/21 Emily C. Eggmann                       1.00 Review and revise work in process materials
                                                     (.6); telephone conference with D. Latona,
                                                     K&E team re status (.4).
06/22/21 Haroula Gkotsi                         0.60 Telephone conference with D. Latona, K&E
                                                     team re work in process and next steps (.4);
                                                     revise working group list (.2).
06/22/21 Katrina Gonzales                       0.30 Telephone conference with D. Latona, K&E
                                                     team re work in process.
06/22/21 Alex Hevia                             0.30 Telephone conference with D. Latona, K&E
                                                     team re case status.
06/22/21 Elizabeth Helen Jones                  0.30 Telephone conference with D. Latona, K&E
                                                     team re work in process.
06/22/21 Dan Latona                             0.70 Telephone conference with J. Robinson, K&E
                                                     team re work in process (.5); analyze
                                                     materials re same (.2).
06/22/21 Nir Levin                              0.50 Telephone conference with D. Latona, K&E
                                                     team re work in process (.4); review, revise
                                                     work in process materials (.1).



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Legal Services for the Period Ending June 30, 2021            Invoice Number:          1050048179
Katerra Inc.                                                   Matter Number:            49067-18
Case Administration

Date     Name                                  Hours Description
06/22/21 Maddison Levine                        0.20 Telephone conference with D. Latona, K&E
                                                     team re work in process.
06/22/21 Rebecca J. Marston                     0.50 Telephone conference with K&E team re
                                                     work in process.
06/22/21 Christine A. Okike, P.C.               0.30 Telephone conference with D. Latona, J.
                                                     Altman, J. Robinson, M. Peguero re work in
                                                     process.
06/22/21 Carrie Therese Oppenheim               0.70 Telephone conference with K&E team re
                                                     work in process (.3); revise post-petition
                                                     pleading template (.4).
06/22/21 Miriam A. Peguero Medrano              0.50 Telephone conference with D. Latona, K&E
                                                     team re work in process.
06/22/21 Joshua Robinson                        0.30 Telephone conference with D. Latona, K&E
                                                     team re work in process.
06/22/21 Tommy Scheffer                         0.30 Correspond and telephone conferences with
                                                     K&E team re work in process.
06/22/21 Michael Scian                          0.20 Telephone conference with D. Latona, K&E
                                                     team re work in process.
06/22/21 Mason N. Zurek                         0.20 Telephone conference with K&E team re
                                                     work in process.
06/23/21 Lisa Aasa                              0.60 Correspond with J. Foster re DMS folders
                                                     (.3); correspond with K&E team re pleadings
                                                     (.3).
06/23/21 Julia R. Foster                        1.10 Draft witness exhibit list re June 25, 2021
                                                     hearing (.3); prepare same for filing (.2);
                                                     correspond with local counsel re filing (.2);
                                                     coordinate calendar invites re June 25, 2021
                                                     hearing (.2); correspond with L. Aasa re DMS
                                                     folders (.2).
06/24/21 Rachel S. Briones                      0.10 Correspond with E. Eggmann re work in
                                                     process.
06/24/21 Emily C. Eggmann                       0.50 Review and revise work in process materials.
06/25/21 Lisa Aasa                              0.40 Correspond with K&E team re pleadings.
06/25/21 Carrie Therese Oppenheim               1.10 Revise pleading template and pending
                                                     pleadings.
06/28/21 Lisa Aasa                              0.40 Correspond with K&E team re pleadings.
06/28/21 Rachel S. Briones                      0.20 Correspond with E. Eggmann re work in
                                                     process.
06/28/21 Tiffani Chanroo                        0.40 Analyze correspondence re case status.
06/28/21 Emily C. Eggmann                       0.80 Review and revise work in process materials
                                                     (.6); correspond with K&E team re same (.2).


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Legal Services for the Period Ending June 30, 2021             Invoice Number:           1050048179
Katerra Inc.                                                    Matter Number:             49067-18
Case Administration

Date     Name                                  Hours Description
06/28/21 Julia R. Foster                        0.70 Compile recently filed pleadings (.2);
                                                     coordinate calendar invites re July 21, 2021
                                                     hearing (.3); correspond with K&E team re
                                                     same (.2).
06/28/21 Haroula Gkotsi                         0.30 Review and revise working group list.
06/28/21 Tommy Scheffer                         0.30 Correspond with K&E team re work in
                                                     process.
06/28/21 Josh Sussberg, P.C.                    0.10 Correspond with K&E team re case status.
06/29/21 Lisa Aasa                              0.30 Correspond with K&E team re pleadings.
06/29/21 Lindsey Blum                           0.50 Conference with D. Latona, K&E team re
                                                     work in process updates.
06/29/21 Rachel S. Briones                      0.50 Telephone conference with D. Latona, K&E
                                                     team re work in process.
06/29/21 Tiffani Chanroo                        0.30 Telephone conference with K&E team re
                                                     work in process.
06/29/21 Emily C. Eggmann                       0.70 Review and revise work in process materials
                                                     (.2); telephone conference with K&E team re
                                                     status (.5).
06/29/21 Julia R. Foster                        2.40 Correspond with L. Aasa and J. Hahn re
                                                     docket updates (.3); prepare orders for July 8,
                                                     2021 and July 12, 2021 hearings (1.6);
                                                     conference with K&E team re work in process
                                                     (.3); draft June 30, 2021 hearing agenda (.2).
06/29/21 Haroula Gkotsi                         0.40 Telephone conference with D. Latona, K&E
                                                     team re work in process and next steps.
06/29/21 Alex Hevia                             0.70 Telephone conferences with D. Latona, K&E
                                                     team re case status.
06/29/21 Elizabeth Helen Jones                  0.50 Revise work in process materials (.1);
                                                     telephone conference with D. Latona, K&E
                                                     team re work in process (.4).
06/29/21 Dan Latona                             0.80 Telephone conference with J. Robinson, K&E
                                                     team re work in process (.2); analyze,
                                                     comment on materials re same (.3); analyze
                                                     correspondence re open issues (.3).
06/29/21 Nir Levin                              0.50 Telephone conference with D. Latona, K&E
                                                     team re work in process (.3); correspond with
                                                     E. Eggmann re work in process chart (.1);
                                                     analyze same (.1).
06/29/21 Maddison Levine                        0.30 Telephone conference with D. Latona, K&E
                                                     team re work in process.
06/29/21 Rebecca J. Marston                     0.30 Telephone conference with D. Latona, K&E
                                                     team re work in process.

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Legal Services for the Period Ending June 30, 2021             Invoice Number:             1050048179
Katerra Inc.                                                    Matter Number:               49067-18
Case Administration

Date     Name                                  Hours Description
06/29/21 Christine A. Okike, P.C.               0.40 Telephone conference with J. Altman, D.
                                                     Latona, J. Robinson, M. Peguero, K&E team
                                                     re work in process.
06/29/21 Christine A. Okike, P.C.               0.60 Telephone conference with D. Latona re
                                                     hearing preparation (.3); telephone conference
                                                     with J. Sussberg re same (.3).
06/29/21 Carrie Therese Oppenheim               0.30 Telephone conference with D. Latona, K&E
                                                     team re work in process.
06/29/21 Miriam A. Peguero Medrano              0.30 Telephone conference with K&E team re
                                                     work in process.
06/29/21 Joshua Robinson                        0.50 Conference with D. Latona, K&E team re
                                                     work in process.
06/29/21 Tommy Scheffer                         0.30 Correspond and telephone conferences with
                                                     D. Latona, K&E team re work in process.
06/30/21 Julia R. Foster                        4.30 Draft June 30, 2021 hearing agenda (.6);
                                                     prepare same for filing (.2); correspond with
                                                     local counsel re filing (.3); revise amended
                                                     June 30, 2021 hearing agenda (.5); draft July
                                                     8, 2021 hearing agenda (.7); draft July 12,
                                                     2021 hearing agenda (.4); draft July 8, 2021
                                                     witness exhibit list (.6); draft July 12, 2021
                                                     witness exhibit list (.4); attend and assist with
                                                     June 30, 2021 hearing (.3); correspond with J.
                                                     Hahn re docket updates (.3).
06/30/21 Jacqueline Hahn                        0.50 Correspond with K&E team re recently filed
                                                     pleadings.
06/30/21 Dan Latona                             0.20 Analyze correspondence re open issues.
06/30/21 Rami Totari                            1.50 Analyze disclosure schedules (1.2); telephone
                                                     conference with K&E team re same (.3).

Total                                           86.80




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                                                        601 Lexington Avenue
                                                         New York, NY 10022

                                                           FEIN XX-XXXXXXX




August 9, 2021

Katerra Inc.
9305 East Via de Ventura
Scottsdale, AZ 85258

Attn: Christopher Wells

                                                                             Invoice Number: 1050048180
                                                                               Client Matter: 49067-19

In the Matter of Cash Management/DIP Financing




For legal services rendered through June 30, 2021
(see attached Description of Legal Services for detail)                                                      $ 203,942.50
Total legal services rendered                                                                                $ 203,942.50




  Austin Bay Area Beijing Boston Brussels Chicago Dallas Hong Kong Houston London Los Angeles Munich Paris Shanghai Washington, D.C.
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Legal Services for the Period Ending June 30, 2021          Invoice Number:    1050048180
Katerra Inc.                                                 Matter Number:      49067-19
Cash Management/DIP Financing




                                         Summary of Hours Billed

Name                                                     Hours         Rate      Amount
Joshua M. Altman                                           2.40    1,155.00      2,772.00
Elizabeth Burns                                           25.70      460.00     11,822.00
Bernadette Coppola                                         1.20    1,070.00      1,284.00
Emily Flynn                                               58.70      875.00     51,362.50
Sean F. Hilson                                            21.10    1,155.00     24,370.50
Elizabeth Helen Jones                                      7.00      765.00      5,355.00
Michelle Kilkenney, P.C.                                  10.90    1,545.00     16,840.50
Dan Latona                                                11.30    1,070.00     12,091.00
Neal Loughery                                             30.20      875.00     26,425.00
Rebecca J. Marston                                        11.20      625.00      7,000.00
Christine A. Okike, P.C.                                  14.50    1,495.00     21,677.50
Miriam A. Peguero Medrano                                  5.70      875.00      4,987.50
Joshua Robinson                                            8.40      995.00      8,358.00
Ravi Subramanian Shankar                                   1.60    1,125.00      1,800.00
Josh Sussberg, P.C.                                        4.60    1,695.00      7,797.00

TOTALS                                                   214.50               $ 203,942.50




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Legal Services for the Period Ending June 30, 2021             Invoice Number:           1050048180
Katerra Inc.                                                    Matter Number:             49067-19
Cash Management/DIP Financing


                                       Description of Legal Services

Date     Name                                  Hours Description
06/06/21 Elizabeth Burns                         2.50 Correspond with K&E team re DIP financing
                                                      (.3); analyze UCCs (.8); update closing file
                                                      and lien search summary (1.1); order
                                                      additional corporate documents re new credit
                                                      parties (.3).
06/06/21 Sean F. Hilson                          4.70 Analyze DIP documents (2.9); correspond
                                                      with K&E team, D. Latona re same (.7);
                                                      prepare same for filing (1.1).
06/06/21 Elizabeth Helen Jones                   1.90 Draft declaration in support of DIP financing
                                                      (1.7); correspond with C. Okike re same (.2).
06/06/21 Michelle Kilkenney, P.C.                2.50 Finalize loan documents re DIP financing
                                                      (1.6); prepare same re filing (.9).
06/06/21 Neal Loughery                           7.00 Analyze final DIP documents (3.8); prepare
                                                      same re filing (3.2).
06/06/21 Rebecca J. Marston                     11.00 Review and revise DIP motion (4.0); draft
                                                      DIP talking points (4.0); review and revise
                                                      DIP motion (2.5); correspond with K&E
                                                      team, J. Robinson re same (.5).
06/06/21 Miriam A. Peguero Medrano               5.70 Correspond with K&E team, J. Robinson re
                                                      DIP documents (1.8); revise DIP documents
                                                      re same (3.9).
06/06/21 Josh Sussberg, P.C.                     3.10 Review and revise Niemann declaration (.4);
                                                      review and revise DIP motion (.8);
                                                      correspond and telephone conference with
                                                      SoftBank and Weil re DIP (.8); telephone
                                                      conference with C. Okike re same (.2);
                                                      telephone conference with L. Freeman and M.
                                                      Cavanaugh re same (.3); telephone conference
                                                      with G. Holtzer re same (.6).
06/07/21 Elizabeth Burns                         6.50 Review and analyze additional lien searches
                                                      (1.8); update lien search summary (1.2);
                                                      update secretary certificate (1.2); organize
                                                      signature pages received re DIP closing (.8);
                                                      assemble attachments for secretary certificate
                                                      (1.5).
06/07/21 Emily Flynn                             1.40 Research cash management issues (1.0);
                                                      analyze materials re same (.4).
06/07/21 Sean F. Hilson                          3.80 Analyze DIP note, security agreement (2.6);
                                                      correspond and conference with A&M, K&E
                                                      team, Weil re same (1.2).


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Katerra Inc.                                                   Matter Number:             49067-19
Cash Management/DIP Financing

Date     Name                                  Hours Description
06/07/21 Elizabeth Helen Jones                  5.10 Revise declaration in support of DIP
                                                     financing (3.2); correspond with C. Okike,
                                                     A&M re same (1.3); correspond with K&E
                                                     team, J. Robinson re same (.2); prepare same
                                                     for filing (.4).
06/07/21 Michelle Kilkenney, P.C.               1.50 Finalize DIP documents.
06/07/21 Neal Loughery                          2.50 Compile, analyze ancillary documents re DIP
                                                     facility.
06/07/21 Rebecca J. Marston                     0.20 Correspond with J. Robinson re DIP order.
06/07/21 Christine A. Okike, P.C.               4.30 Review and comment on drafts of DIP
                                                     Promissory Note, DIP motion and Interim
                                                     DIP order (2.5); analyze U.S. Trustee's
                                                     comments to Interim DIP order (.5);
                                                     correspond with U.S. Trustee re same (.3);
                                                     review sureties’ comments to Interim DIP
                                                     order (.3); telephone conference with M. Lee
                                                     DeVoll (Watt Tieder) re same (.2); review
                                                     and comment on revised Interim DIP order
                                                     (.5).
06/07/21 Joshua Robinson                        3.20 Revise DIP order (2.1); revise DIP motion
                                                     (1.1).
06/07/21 Ravi Subramanian Shankar               0.40 Correspond with Houlihan re asset sales and
                                                     DIP.
06/07/21 Josh Sussberg, P.C.                    0.70 Correspond re DIP status and open issue.
06/08/21 Elizabeth Burns                        3.00 Revise attachments to secretary certificate
                                                     (1.0); order bring down letter of good
                                                     standing (.5); review additional lien searches
                                                     received (.8); update lien summary (.7).
06/08/21 Bernadette Coppola                     1.20 Analyze security agreements (.3); draft
                                                     revisions re same (.8); correspond with K&E
                                                     team re same (.1).
06/08/21 Emily Flynn                            3.20 Correspond with A&M, K&E team re cash
                                                     management motion (.8); research re same
                                                     (2.4).
06/08/21 Sean F. Hilson                         2.80 Analyze DIP agreement (1.0); correspond
                                                     with K&E team, A&M re same (.5); analyze
                                                     issues re order re same (.5); conferences with
                                                     K&E team re same (.8).
06/08/21 Michelle Kilkenney, P.C.               1.30 Finalize DIP loan documentation.
06/08/21 Dan Latona                             1.30 Analyze audio transcript re cash management
                                                     matter (.5); research re same (.5); correspond
                                                     with J. Altman, E. Freeman re same (.3).
06/08/21 Neal Loughery                          3.70 Compile, analyze ancillary items re financing.

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Legal Services for the Period Ending June 30, 2021             Invoice Number:            1050048180
Katerra Inc.                                                    Matter Number:              49067-19
Cash Management/DIP Financing

Date     Name                                  Hours Description
06/08/21 Christine A. Okike, P.C.               1.00 Revise Interim DIP order re sureties (.5);
                                                     review drafts of revised Interim DIP order
                                                     (.5).
06/08/21 Ravi Subramanian Shankar               0.90 Telephone conference with K&E team re DIP
                                                     litigation issues and strategy (.5); prepare for
                                                     same (.2); correspond with K&E team re
                                                     same (.2).
06/08/21 Josh Sussberg, P.C.                    0.30 Correspond re DIP status.
06/09/21 Elizabeth Burns                        5.50 Update lien search summary (1.3); organize
                                                     attachments for secretary certificate including
                                                     redaction of consent (3.5); telephone
                                                     conference with N. Loughery re outstanding
                                                     items and status of Colorado documents (.2);
                                                     review bring down letter of good standing
                                                     (.2); correspond with K&E team re same (.3).
06/09/21 Michelle Kilkenney, P.C.               0.30 Finalize DIP loan document.
06/09/21 Neal Loughery                          1.30 Correspond with S. Hilson, B. Burns re DIP
                                                     transaction (.2); analyze correspondence and
                                                     items re closing DIP financing (1.1).
06/10/21 Elizabeth Burns                        1.50 Review and correspond with A. Joshi re post-
                                                     closing items (.5); update lien search
                                                     summary (1.0).
06/10/21 Sean F. Hilson                         1.10 Analyze DIP documentation re closing (.8);
                                                     coordinate with Weil re same (.2); correspond
                                                     with K&E team re dispositions (.1).
06/10/21 Dan Latona                             1.00 Telephone conference with C. Okike, K&E
                                                     team, A&M re contractor payments (.5);
                                                     analyze DIP note re asset sales (.5).
06/10/21 Christine A. Okike, P.C.               0.50 Review correspondence with Wells Fargo re
                                                     credit card program (.3); follow up with
                                                     A&M re same (.2).
06/10/21 Joshua Robinson                        1.00 Analyze DIP Note.
06/10/21 Josh Sussberg, P.C.                    0.50 Correspond re potential purchaser (.1);
                                                     correspond re miscellaneous
                                                     creditor/purchaser outreach (.1); correspond
                                                     re DIP status (.1); telephone conference with
                                                     J. Malfitano re interest in assets (.1);
                                                     telephone conference with E. Lapuma re UCC
                                                     (.1).
06/11/21 Sean F. Hilson                         0.60 Coordinate with Weil, M. Kilkenney, A&M
                                                     re asset sale issue (.3); analyze DIP re same
                                                     (.3).
06/11/21 Michelle Kilkenney, P.C.               0.40 Compile, analyze post-closing matters.

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Katerra Inc.                                                    Matter Number:             49067-19
Cash Management/DIP Financing

Date     Name                                  Hours Description
06/11/21 Neal Loughery                          1.30 Compile, analyze ancillary items re joinder
                                                     (.6); prepare schedules (.7).
06/11/21 Christine A. Okike, P.C.               0.50 Telephone conference with M. Liebman, C.
                                                     Wells (A&M), J. Altman, D. Latona, J.
                                                     Robinson re cash management issues.
06/11/21 Ravi Subramanian Shankar               0.30 Correspond with K&E team re AAA's invoice
                                                     for fees.
06/12/21 Elizabeth Burns                        3.50 Analyze additional lien searches received
                                                     (2.4); update lien search summary re same
                                                     (1.1).
06/12/21 Michelle Kilkenney, P.C.               0.20 Compile, analyze post-closing matters.
06/12/21 Neal Loughery                          0.50 Compile, analyze joinder of Katerra Middle
                                                     East.
06/12/21 Christine A. Okike, P.C.               1.00 Analyze Katerra Middle East board
                                                     resolutions (.7); follow up re same (.3).
06/13/21 Neal Loughery                          0.20 Compile, analyze joinder of Katerra Middle
                                                     East.
06/14/21 Joshua M. Altman                       0.60 Analyze agreements re LoC matter (.3);
                                                     correspond with D. Latona, Company re same
                                                     (.3).
06/14/21 Elizabeth Burns                        2.20 Analyze additional lien searches (1.2); update
                                                     lien search summary re same (.8); prepare
                                                     email correspondence re status of lien
                                                     searches (.2).
06/14/21 Sean F. Hilson                         0.90 Correspond with Weil re asset dispositions
                                                     issue (.1); review and analyze DIP re same
                                                     (.1); correspond with A&M re India and
                                                     Katerra pledge issues (.1); correspond with
                                                     K&E team re same (.2); analyze DIP re same
                                                     (.4).
06/14/21 Michelle Kilkenney, P.C.               0.30 Review and analyze DIP compliance matters
                                                     (.2); correspond with S. Hilson re same (.1).
06/14/21 Neal Loughery                          0.90 Analyze joinder to security agreement (.3);
                                                     analyze modifications to D&O slate (.3);
                                                     analyze organizational documents of Roots
                                                     (.3).
06/15/21 Emily Flynn                            5.30 Conference with D. Latona, A&M re credit
                                                     card programs (.3); research re same (1.9);
                                                     correspond with D. Latona, Company, A&M
                                                     re same (.5); conference with J. Robinson re
                                                     same (.6); draft motion re same (1.3); research
                                                     re same (.7).


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Katerra Inc.                                                   Matter Number:            49067-19
Cash Management/DIP Financing

Date     Name                                  Hours Description
06/15/21 Sean F. Hilson                         0.60 Conference with A&M re Katerra DIP asset
                                                     sale issues (.2); analyze DIP re same (.4).
06/15/21 Michelle Kilkenney, P.C.               0.20 Review and analyze DIP compliance matters.
06/15/21 Dan Latona                             0.50 Telephone conference with E. Flynn, A&M re
                                                     purchase cards.
06/15/21 Neal Loughery                          2.30 Analyze post-closing obligations under DIP
                                                     facility and security agreement (1.8);
                                                     correspond with Weil re post-closing
                                                     obligations (.5).
06/15/21 Christine A. Okike, P.C.               0.50 Telephone conference with potential
                                                     replacement DIP lender (.3); analyze Katerra
                                                     Middle East DIP joinder (.2).
06/16/21 Emily Flynn                            4.10 Correspond with JW, Weil, A&M, K&E team
                                                     re cash management (.4); research re same
                                                     (1.3); analyze materials re same (.9); draft
                                                     emergency motion re same (1.5).
06/16/21 Sean F. Hilson                         0.30 Correspond with Company re Indian, KSA
                                                     equity pledges.
06/16/21 Neal Loughery                          0.90 Correspond with S. Hilson re post-closing
                                                     items (.3); compile stock certifications and
                                                     other post-closing items (.6).
06/17/21 Emily Flynn                            2.50 Research re cash management (1.1);
                                                     conferences with A&M re same (.5); draft,
                                                     revise motion re same (.9).
06/17/21 Neal Loughery                          0.10 Compile, analyze post-closing insurance
                                                     requirements.
06/18/21 Emily Flynn                            4.60 Research re credit card programs (.9);
                                                     correspond with A&M, D. Latona re same
                                                     (.8); draft, revise motion re same (2.6);
                                                     conference with A. Titus re same (.3).
06/21/21 Emily Flynn                            3.60 Revise motion re credit card programs (2.9);
                                                     correspond with A&M, K&E team re same
                                                     (.7).
06/21/21 Sean F. Hilson                         0.60 Correspond with Company re DIP reporting
                                                     (.4); analyze DIP re same (.2).
06/21/21 Michelle Kilkenney, P.C.               0.30 Review and analyze DIP compliance matters.
06/21/21 Dan Latona                             1.00 Revise motion re purchase cards.
06/21/21 Neal Loughery                          0.80 Compile, analyze post-closing items under
                                                     DIP facility (.6); correspond with J. Cupo re
                                                     same (.2).
06/22/21 Joshua M. Altman                       0.50 Conference with D. Latona, BBVA re credit
                                                     card and related matters.

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Katerra Inc.                                                   Matter Number:            49067-19
Cash Management/DIP Financing

Date     Name                                  Hours Description
06/22/21 Elizabeth Burns                        1.00 Review and correspond with K&E team re
                                                     updates to loan documents (.2); revise
                                                     signature pages received for consent (.3);
                                                     revise Omnibus Secretary Certificate (.4);
                                                     circulate same to working group (.1).
06/22/21 Emily Flynn                            5.30 Revise motion re credit card programs (4.0);
                                                     correspond with C. Okike, D. Latona, A&M
                                                     re same (1.3).
06/22/21 Sean F. Hilson                         1.30 Correspond with K&E team re reporting,
                                                     covenant compliance under DIP (.5);
                                                     conference with A&M re same (.8).
06/22/21 Michelle Kilkenney, P.C.               1.20 Prepare for and conference with Company re
                                                     DIP compliance matters (.8); analyze same
                                                     (.4).
06/22/21 Dan Latona                             0.50 Telephone conference with J. Altman, J.
                                                     Robinson, BBVA re credit card programs
                                                     (.2); analyze motion re same (.3).
06/22/21 Neal Loughery                          0.30 Compile, analyze DIP post-closing items.
06/22/21 Christine A. Okike, P.C.               1.90 Review and revise Wells Fargo credit card
                                                     motion (.9); telephone conference with C.
                                                     Wells (A&M), M. Kilkenney, S. Hilson re
                                                     DIP reporting requirements (1.0).
06/22/21 Joshua Robinson                        1.20 Telephone conference with K&E team,
                                                     counterparty counsel re credit card program
                                                     and cash management program (.5); analyze
                                                     motion re same (.4); correspond with A&M re
                                                     same (.3).
06/23/21 Emily Flynn                            1.40 Revise motion re credit card programs (1.1);
                                                     correspond with K&E team, WF, A&M re
                                                     same (.3).
06/23/21 Sean F. Hilson                         0.70 Correspond and coordinate with Company,
                                                     K&E team re post-closing deliverables,
                                                     foreign stock pledges.
06/23/21 Michelle Kilkenney, P.C.               0.40 Compile, analyze post-closing matters.
06/23/21 Neal Loughery                          0.40 Compile, analyze post-closing items (.2);
                                                     correspond with J. Cupo re stock certificate
                                                     delivery (.2).
06/24/21 Emily Flynn                            2.30 Review, revise motion re credit card programs
                                                     (.9); correspond with A&M re same (.3); draft
                                                     notice re amended bank accounts (.6);
                                                     conference with Company, A&M re same
                                                     (.5).



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             Case 21-31861 Document 834 Filed in TXSB on 08/09/21 Page 74 of 221
Legal Services for the Period Ending June 30, 2021             Invoice Number:           1050048180
Katerra Inc.                                                    Matter Number:             49067-19
Cash Management/DIP Financing

Date     Name                                  Hours Description
06/24/21 Sean F. Hilson                         0.80 Conference with Katerra India re equity
                                                     pledge (.2); analyze draft form re same (.4);
                                                     correspond with K&E team, Weil re same and
                                                     post-closing matters (.2).
06/24/21 Michelle Kilkenney, P.C.               0.50 Compile, analyze post-closing matters re
                                                     foreign pledges and mortgages.
06/24/21 Dan Latona                             1.00 Telephone conference with C. Okike, A&M,
                                                     Houlihan, board re DIP reporting (.5);
                                                     telephone conference with J. Robinson, A&M
                                                     re bank accounts (.5).
06/24/21 Neal Loughery                          6.30 Correspond with S. Hilson and Weil re post-
                                                     closing matters (1.3); revise mortgage and
                                                     pledge agreement (3.9); correspond with
                                                     K&E team re post-closing matters (1.1).
06/24/21 Christine A. Okike, P.C.               0.70 Analyze DIP promissory note re reporting and
                                                     compliance requirements (.5); follow up re
                                                     same (.2).
06/24/21 Joshua Robinson                        1.10 Research re credit cards (.8); analyze case law
                                                     re same (.3).
06/25/21 Joshua M. Altman                       0.50 Conferences with Company advisors, lenders
                                                     re DIP update.
06/25/21 Emily Flynn                            6.70 Review, revise credit card motion (3.5);
                                                     correspond with WF, BBVA, Weil, A&M and
                                                     K&E team re same (1.9); telephone
                                                     conference with D. Latona, A&M, Weil re
                                                     same (.8); revise amended bank account list
                                                     (.3); correspond with D. Latona, J. Robinson,
                                                     A&M re same (.2).
06/25/21 Sean F. Hilson                         0.80 Conference with Company, SoftBank re
                                                     budget reporting (.4); analyze DIP note re
                                                     same (.4).
06/25/21 Michelle Kilkenney, P.C.               0.20 Compile, analyze post-closing matters.
06/25/21 Dan Latona                             3.80 Analyze, revise motion re credit card program
                                                     (1.6); correspond with K&E team, A&M re
                                                     same (1.1); telephone conferences with K&E
                                                     team, A&M, McGuire team re same (.6);
                                                     telephone conference with C. Okike, A&M,
                                                     Weil re same (.5).
06/25/21 Neal Loughery                          0.30 Compile, analyze IPSAs, post-closing items
                                                     (.2); correspond with B. Coppola re investor
                                                     assignment (.1).




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Legal Services for the Period Ending June 30, 2021            Invoice Number:           1050048180
Katerra Inc.                                                   Matter Number:             49067-19
Cash Management/DIP Financing

Date     Name                                  Hours Description
06/25/21 Christine A. Okike, P.C.               2.40 Review and revise Wells Fargo credit card
                                                     motion (1.0); telephone conference with C.
                                                     Wells (A&M), S. Bowling (Weil), D. Latona
                                                     re same (.6); telephone conference with C.
                                                     Wells, M. Liebman (A&M), T. Daula, F.
                                                     Rehman (SoftBank), D. Cohen (Weil), J.
                                                     Altman, D. Latona, S. Hilson re DIP budget
                                                     (.8).
06/26/21 Michelle Kilkenney, P.C.               0.90 Prepare for and telephone conference with
                                                     UCC advisors re status of transaction.
06/26/21 Christine A. Okike, P.C.               0.40 Review and revise Wells Fargo credit card
                                                     motion.
06/27/21 Emily Flynn                            0.90 Revise credit card programs motion (.7);
                                                     correspond with K&E team re same (.2).
06/28/21 Joshua M. Altman                       0.80 Analyze reclamation research (.4); correspond
                                                     with E. Jones re same (.4).
06/28/21 Emily Flynn                            7.00 Review, revise motion re credit card programs
                                                     (3.1); research re same (2.4); correspond with
                                                     A&M, K&E team and banks re same (1.0);
                                                     telephone conference with MW re same (.2);
                                                     correspond with A&M re amended bank
                                                     accounts list (.2); revise same (.1).
06/28/21 Sean F. Hilson                         1.40 Analyze SIDF, YesBank, SAMBA facilities
                                                     and guarantees (.7); correspond with K&E
                                                     team, A&M re same (.7).
06/28/21 Michelle Kilkenney, P.C.               0.20 Compile, analyze post-closing matters re
                                                     foreign pledges.
06/28/21 Dan Latona                             1.00 Analyze issues re credit card program.
06/28/21 Neal Loughery                          0.50 Compile, analyze post-closing matters (.3);
                                                     correspond re post-closing IP obligation with
                                                     J. Cupo (.2).
06/28/21 Christine A. Okike, P.C.               0.20 Review and revise Wells Fargo credit card
                                                     motion.
06/29/21 Emily Flynn                            6.60 Review, revise motion re credit card programs
                                                     (3.3); research re same (1.6); correspond with
                                                     A&M, K&E team and banks re same (1.7).
06/29/21 Sean F. Hilson                         0.30 Analyze issues re Company corporate
                                                     guarantees.
06/29/21 Michelle Kilkenney, P.C.               0.20 Compile, analyze post-closing matters re
                                                     foreign pledges.
06/29/21 Dan Latona                             0.80 Analyze issues re credit card program.



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Legal Services for the Period Ending June 30, 2021            Invoice Number:           1050048180
Katerra Inc.                                                   Matter Number:             49067-19
Cash Management/DIP Financing

Date     Name                                  Hours Description
06/29/21 Christine A. Okike, P.C.               0.10 Review, revise Wells Fargo credit card
                                                     motion.
06/29/21 Joshua Robinson                        1.90 Correspond with A&M re budget (.5); analyze
                                                     data re same (.8); correspond with A&M re
                                                     same (.6).
06/30/21 Emily Flynn                            3.80 Review, revise motion re credit card programs
                                                     (2.4); correspond with A&M, K&E team and
                                                     banks re same (1.4).
06/30/21 Sean F. Hilson                         0.40 Correspond with Company, A. Drummond re
                                                     Saudi, Indian pledges.
06/30/21 Michelle Kilkenney, P.C.               0.30 Compile, analyze post-closing matters.
06/30/21 Dan Latona                             0.40 Telephone conference with C. Okike, C.
                                                     Wells, Fox Rothschild re credit card program.
06/30/21 Neal Loughery                          0.90 Compile, analyze post-closing matters re
                                                     DACAs and insurance.
06/30/21 Christine A. Okike, P.C.               1.00 Review and revise Wells Fargo credit card
                                                     motion (.5); telephone conference with C.
                                                     Wells, M. Liebman (A&M), T. Monsour, G.
                                                     Gouveia, M. Sweet (Fox Rothschild), C.
                                                     Carroll, M. Bui (FTI), D. Latona re same (.5).

Total                                          214.50




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                                                        601 Lexington Avenue
                                                         New York, NY 10022

                                                           FEIN XX-XXXXXXX




August 9, 2021

Katerra Inc.
9305 East Via de Ventura
Scottsdale, AZ 85258

Attn: Christopher Wells

                                                                             Invoice Number: 1050048181
                                                                               Client Matter: 49067-20

In the Matter of Claims Administration and Objections




For legal services rendered through June 30, 2021
(see attached Description of Legal Services for detail)                                                        $ 33,469.50
Total legal services rendered                                                                                  $ 33,469.50




  Austin Bay Area Beijing Boston Brussels Chicago Dallas Hong Kong Houston London Los Angeles Munich Paris Shanghai Washington, D.C.
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Legal Services for the Period Ending June 30, 2021          Invoice Number:   1050048181
Katerra Inc.                                                 Matter Number:     49067-20
Claims Administration and Objections




                                         Summary of Hours Billed

Name                                                     Hours         Rate     Amount
Rachel S. Briones                                         11.70      625.00     7,312.50
Julia R. Foster                                            1.10      390.00       429.00
Dan Latona                                                 2.50    1,070.00     2,675.00
Christine A. Okike, P.C.                                   2.20    1,495.00     3,289.00
Tommy Scheffer                                            22.20      875.00    19,425.00
Josh Sussberg, P.C.                                        0.20    1,695.00       339.00

TOTALS                                                    39.90               $ 33,469.50




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Legal Services for the Period Ending June 30, 2021            Invoice Number:           1050048181
Katerra Inc.                                                   Matter Number:             49067-20
Claims Administration and Objections


                                       Description of Legal Services

Date     Name                                  Hours Description
06/08/21 Rachel S. Briones                      2.30 Revise claims bar date motion (1.9);
                                                     correspond with T. Scheffer re same (.4).
06/08/21 Tommy Scheffer                         7.00 Correspond and telephone conferences with
                                                     Company, A&M, K&E team re payroll
                                                     matters, bar date motion (5.8); review and
                                                     revise bar date motion (1.2).
06/09/21 Rachel S. Briones                      3.00 Draft claims bar date motion (1.1); revise
                                                     same (1.4); telephone conference and
                                                     correspond with T. Scheffer re same (.3);
                                                     correspond with D. Latona re same (.2).
06/09/21 Dan Latona                             1.00 Revise bar date motion.
06/09/21 Tommy Scheffer                         2.30 Correspond with Prime Clerk, R. Briones,
                                                     K&E team re bar date motion (.4); review and
                                                     revise same (1.9).
06/10/21 Rachel S. Briones                      0.90 Revise claims bar date motion (.7);
                                                     correspond with D. Latona, T. Scheffer and
                                                     JW re same (.2).
06/10/21 Dan Latona                             0.50 Revise bar date motion.
06/10/21 Tommy Scheffer                         0.90 Correspond with JW, R. Briones, K&E team
                                                     re bar date motion (.3); review and revise
                                                     same (.6).
06/11/21 Rachel S. Briones                      1.90 Revise bar date motion (1.2); telephone
                                                     conference with T. Scheffer re same (.2);
                                                     telephone conference with C. Okike re same
                                                     (.2); correspond with K&E team and Weil re
                                                     same (.3).
06/11/21 Christine A. Okike, P.C.               1.90 Review and revise bar date motion (1.7);
                                                     correspond with R. Briones re same (.2).
06/11/21 Tommy Scheffer                         3.70 Correspond and telephone conferences with
                                                     Weil, JW, R. Briones, K&E team re bar date
                                                     motion (.6); review and revise same (2.6);
                                                     research re same (.5).
06/14/21 Rachel S. Briones                      1.30 Revise bar date motion (.8); correspond with
                                                     C. Okike and K&E team re same (.3);
                                                     correspond with JW re same (.2).
06/14/21 Tommy Scheffer                         1.70 Correspond with Weil, JW, K&E team re bar
                                                     date motion (.8); review and revise same (.9).
06/16/21 Dan Latona                             0.50 Telephone conference with K&E team, A&M,
                                                     Prime Clerk re bar date noticing.


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             Case 21-31861 Document 834 Filed in TXSB on 08/09/21 Page 80 of 221
Legal Services for the Period Ending June 30, 2021            Invoice Number:           1050048181
Katerra Inc.                                                   Matter Number:             49067-20
Claims Administration and Objections

Date     Name                                  Hours Description
06/16/21 Tommy Scheffer                         1.30 Correspond and telephone conferences with
                                                     Prime Clerk, A&M, K&E team re bar date
                                                     motion (.8); analyze same (.5).
06/17/21 Rachel S. Briones                      1.10 Revise claims bar date order (.3); research,
                                                     analyze precedent re same (.4); correspond
                                                     with T. Scheffer and D. Latona re same (.4).
06/17/21 Julia R. Foster                        0.30 Research precedent re SDTX bar date orders.
06/17/21 Tommy Scheffer                         3.20 Correspond with JW, K&E team re bar date
                                                     order (.7); review and revise same (1.8);
                                                     research re same (.7).
06/23/21 Josh Sussberg, P.C.                    0.20 Correspond with creditors.
06/28/21 Rachel S. Briones                      0.20 Telephone conference with JW re claims bar
                                                     date motion.
06/28/21 Dan Latona                             0.50 Analyze issues re bar date order.
06/28/21 Tommy Scheffer                         0.40 Correspond with JW, K&E team re cure
                                                     objection (.2); analyze same (.2).
06/29/21 Rachel S. Briones                      0.70 Revise claims bar date order (.4); correspond
                                                     with T. Scheffer and D. Latona re same (.3).
06/29/21 Julia R. Foster                        0.80 Review and revise rejection stipulation.
06/29/21 Christine A. Okike, P.C.               0.30 Analyze revised bar date order.
06/30/21 Rachel S. Briones                      0.30 Revise claims bar date order (.2); correspond
                                                     with D. Latona re same (.1).
06/30/21 Tommy Scheffer                         1.70 Correspond with Prime Clerk, A&M, JW, R.
                                                     Briones, K&E team re claims noticing (.9);
                                                     analyze same (.8).

Total                                           39.90




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                                                        601 Lexington Avenue
                                                         New York, NY 10022

                                                           FEIN XX-XXXXXXX




August 9, 2021

Katerra Inc.
9305 East Via de Ventura
Scottsdale, AZ 85258

Attn: Christopher Wells

                                                                             Invoice Number: 1050048182
                                                                               Client Matter: 49067-21

In the Matter of Corporate and Securities Matters




For legal services rendered through June 30, 2021
(see attached Description of Legal Services for detail)                                                        $ 19,626.50
Total legal services rendered                                                                                  $ 19,626.50




  Austin Bay Area Beijing Boston Brussels Chicago Dallas Hong Kong Houston London Los Angeles Munich Paris Shanghai Washington, D.C.
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Legal Services for the Period Ending June 30, 2021          Invoice Number:   1050048182
Katerra Inc.                                                 Matter Number:     49067-21
Corporate and Securities Matters




                                         Summary of Hours Billed

Name                                                     Hours         Rate     Amount
Joshua M. Altman                                          2.00     1,155.00     2,310.00
Katya Boyko                                               0.50     1,070.00       535.00
Neil Datar                                                4.30       625.00     2,687.50
Julia R. Foster                                           1.80       390.00       702.00
Katrina Gonzales                                          4.00       625.00     2,500.00
Rodin M. Hai-Jew, P.C.                                    0.50     1,295.00       647.50
Dan Latona                                                1.50     1,070.00     1,605.00
Library Factual Research                                  0.40       390.00       156.00
Rebecca J. Marston                                        0.50       625.00       312.50
Christine A. Okike, P.C.                                  1.40     1,495.00     2,093.00
Carrie Therese Oppenheim                                  1.60       460.00       736.00
Zach Sommers                                              0.50       745.00       372.50
Josh Sussberg, P.C.                                       1.10     1,695.00     1,864.50
Anna Terteryan                                            1.00     1,080.00     1,080.00
Rami Totari                                               1.80     1,125.00     2,025.00

TOTALS                                                    22.90               $ 19,626.50




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Legal Services for the Period Ending June 30, 2021             Invoice Number:            1050048182
Katerra Inc.                                                    Matter Number:              49067-21
Corporate and Securities Matters


                                       Description of Legal Services

Date     Name                                  Hours Description
06/06/21 Neil Datar                             1.00 Analyze board consent resolutions (.4);
                                                     review signature pages re same and prepare
                                                     executed document (.3); telephone conference
                                                     with K&E team, board re same (.3).
06/06/21 Katrina Gonzales                       3.50 Correspond with J. Robinson, M. Levine and
                                                     E. Jones re final form corporate structure
                                                     chart (1.7); correspond with J. Robinson re
                                                     diligence on corporate governance of
                                                     subsidiaries related to final form resolutions
                                                     to authorize filing (1.8).
06/07/21 Rami Totari                            1.80 Analyze Company background materials.
06/08/21 Katrina Gonzales                       0.50 Correspond with N. Levin re corporate
                                                     structure entities analysis (.2); revise
                                                     corporate structure entities analysis to reflect
                                                     sale of entity (.3).
06/10/21 Rodin M. Hai-Jew, P.C.                 0.50 Correspond with K&E team re counterparty
                                                     matters.
06/15/21 Katya Boyko                            0.50 Prepare corporate consent re D&O changes.
06/15/21 Neil Datar                             2.90 Draft board consent approving director and
                                                     officer changes (1.1); draft board consent un-
                                                     certificating shares (.9); correspond with
                                                     K&E team re same (.3); analyze bylaws and
                                                     corporate documents (.6).
06/16/21 Joshua M. Altman                       1.40 Participate in board telephone conference
                                                     (1.2); prepare for same (.2).
06/16/21 Julia R. Foster                        1.80 Correspond with CSC vendor re good
                                                     standing (.5); correspond with Wolters vendor
                                                     re same (.6); correspond with library research
                                                     re same (.7).
06/16/21 Dan Latona                             1.50 Telephone conference with C. Okike, A&M,
                                                     Houlihan re board telephone conference (.2);
                                                     telephonically attend same (1.3).
06/16/21 Library Factual Research               0.40 Obtain Cayman Islands registry information
                                                     on Construction Assurance.




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Legal Services for the Period Ending June 30, 2021            Invoice Number:           1050048182
Katerra Inc.                                                   Matter Number:             49067-21
Corporate and Securities Matters

Date     Name                                  Hours Description
06/16/21 Christine A. Okike, P.C.               1.40 Participate in pre-board telephone conference
                                                     with M. Liebman, C. Wells (A&M), J.
                                                     Weinberger (Houlihan), D. Latona, J. Altman
                                                     (.1); participate in board meeting with M.
                                                     Niemann, J. Weinberger (Houlihan), M.
                                                     Liebman, C. Wells (A&M), J. Sussberg, J.
                                                     Altman, D. Latona (1.3).
06/16/21 Carrie Therese Oppenheim               1.30 Research re Construction Assurance Ltd.
                                                     formation documents and good standing
                                                     retrieval.
06/16/21 Josh Sussberg, P.C.                    1.10 Participate in board telephone conference.
06/16/21 Anna Terteryan                         1.00 Telephone conference with A&M, K&E team
                                                     re document preservation issues.
06/18/21 Neil Datar                             0.20 Analyze board consents un-certificating stock
                                                     (.1); correspond with K&E team re same (.1).
06/22/21 Joshua M. Altman                       0.40 Correspond with A&M re governance matters
                                                     (.2); analyze issues re same (.2).
06/22/21 Neil Datar                             0.20 Compile board consents (.1); correspond with
                                                     K&E team re same (.1).
06/22/21 Rebecca J. Marston                     0.50 Correspond with E. Jones re board
                                                     presentation.
06/22/21 Carrie Therese Oppenheim               0.30 Correspond with A. Hevia re foreign good
                                                     standing retrieval.
06/24/21 Zach Sommers                           0.50 Revise board of directors chart with new
                                                     information.
06/29/21 Joshua M. Altman                       0.20 Analyze governance matter re debtor entity
                                                     (.1); correspond with D. Latona re same (.1).

Total                                           22.90




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                                                        601 Lexington Avenue
                                                         New York, NY 10022

                                                           FEIN XX-XXXXXXX




August 9, 2021

Katerra Inc.
9305 East Via de Ventura
Scottsdale, AZ 85258

Attn: Christopher Wells

                                                                             Invoice Number: 1050048183
                                                                               Client Matter: 49067-22

In the Matter of Creditor and Stakeholder Communications




For legal services rendered through June 30, 2021
(see attached Description of Legal Services for detail)                                                         $ 8,047.50
Total legal services rendered                                                                                   $ 8,047.50




  Austin Bay Area Beijing Boston Brussels Chicago Dallas Hong Kong Houston London Los Angeles Munich Paris Shanghai Washington, D.C.
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Legal Services for the Period Ending June 30, 2021          Invoice Number:   1050048183
Katerra Inc.                                                 Matter Number:     49067-22
Creditor and Stakeholder Communications




                                         Summary of Hours Billed

Name                                                     Hours         Rate    Amount
Haroula Gkotsi                                            0.50       765.00      382.50
Christine A. Okike, P.C.                                  3.30     1,495.00    4,933.50
Josh Sussberg, P.C.                                       1.10     1,695.00    1,864.50
Brad Weiland                                              0.60     1,445.00      867.00

TOTALS                                                     5.50               $ 8,047.50




                                                     2
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Legal Services for the Period Ending June 30, 2021            Invoice Number:          1050048183
Katerra Inc.                                                   Matter Number:            49067-22
Creditor and Stakeholder Communications


                                       Description of Legal Services

Date     Name                                  Hours Description
06/07/21 Brad Weiland                           0.60 Correspond with Milbank, K&E team re first
                                                     day hearing (.3); follow up re same (.3).
06/08/21 Haroula Gkotsi                         0.50 Correspond with N. Levin re commencement
                                                     notice publication.
06/08/21 Christine A. Okike, P.C.               1.10 Respond to inquiries from stakeholders re
                                                     case.
06/09/21 Christine A. Okike, P.C.               1.00 Respond to parties in interest re bankruptcy
                                                     filing.
06/11/21   Josh Sussberg, P.C.                  0.10 Respond to creditor outreach.
06/14/21   Christine A. Okike, P.C.             0.80 Correspond with stakeholders re case.
06/14/21   Josh Sussberg, P.C.                  0.10 Correspond with creditors.
06/15/21   Josh Sussberg, P.C.                  0.10 Correspond with creditors and purchasers.
06/22/21   Josh Sussberg, P.C.                  0.20 Correspond with creditors and purchasers.
06/24/21   Josh Sussberg, P.C.                  0.20 Correspond with creditors.
06/25/21   Josh Sussberg, P.C.                  0.20 Correspond with creditors.
06/26/21   Josh Sussberg, P.C.                  0.10 Correspond re creditor inquiries and
                                                     reclamation demands.
06/29/21 Christine A. Okike, P.C.               0.40 Follow up with K. Driscoll re Lennox Fort
                                                     Myers (.2); correspond with M. Liebman, C.
                                                     Wells (A&M) re same (.2).
06/29/21 Josh Sussberg, P.C.                    0.10 Correspond re status and creditor inquiries.

Total                                            5.50




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                                                        601 Lexington Avenue
                                                         New York, NY 10022

                                                           FEIN XX-XXXXXXX




August 9, 2021

Katerra Inc.
9305 East Via de Ventura
Scottsdale, AZ 85258

Attn: Christopher Wells

                                                                             Invoice Number: 1050048184
                                                                               Client Matter: 49067-23

In the Matter of Creditors' Committee Matters




For legal services rendered through June 30, 2021
(see attached Description of Legal Services for detail)                                                        $ 25,024.50
Total legal services rendered                                                                                  $ 25,024.50




  Austin Bay Area Beijing Boston Brussels Chicago Dallas Hong Kong Houston London Los Angeles Munich Paris Shanghai Washington, D.C.
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Legal Services for the Period Ending June 30, 2021          Invoice Number:   1050048184
Katerra Inc.                                                 Matter Number:     49067-23
Creditors' Committee Matters




                                         Summary of Hours Billed

Name                                                     Hours         Rate     Amount
Joshua M. Altman                                          5.00     1,155.00     5,775.00
Zachary S. Brez, P.C.                                     1.50     1,645.00     2,467.50
Alex Hevia                                                0.90       875.00       787.50
Dan Latona                                                2.30     1,070.00     2,461.00
Nir Levin                                                 6.40       765.00     4,896.00
Christine A. Okike, P.C.                                  2.40     1,495.00     3,588.00
Joshua Robinson                                           2.40       995.00     2,388.00
Tommy Scheffer                                            0.40       875.00       350.00
Ravi Subramanian Shankar                                  1.00     1,125.00     1,125.00
Josh Sussberg, P.C.                                       0.70     1,695.00     1,186.50

TOTALS                                                    23.00               $ 25,024.50




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Legal Services for the Period Ending June 30, 2021             Invoice Number:             1050048184
Katerra Inc.                                                    Matter Number:               49067-23
Creditors' Committee Matters


                                       Description of Legal Services

Date     Name                                  Hours Description
06/21/21 Christine A. Okike, P.C.               0.30 Correspond with D. Latona re creditor
                                                     committee formation.
06/21/21 Ravi Subramanian Shankar               0.20 Correspond with K&E team re creditor
                                                     committee formation.
06/22/21 Christine A. Okike, P.C.               0.30 Correspond with board re appointment of
                                                     UCC.
06/22/21 Tommy Scheffer                         0.40 Correspond with JW, K&E team re creditor
                                                     committee formation.
06/23/21 Joshua M. Altman                       0.20 Correspond with K&E team re committee
                                                     care package, NDA.
06/24/21 Nir Levin                              3.30 Draft NDA with creditor committee (2.5);
                                                     analyze precedent re same (.8).
06/24/21 Josh Sussberg, P.C.                    0.10 Correspond with K&E team re UCC
                                                     formation and counsel.
06/25/21 Joshua M. Altman                       1.40 Conference with UCC, K&E team re case
                                                     introduction and key matters (1.1); follow up
                                                     re same (.3).
06/25/21 Joshua M. Altman                       1.60 Conference with UCC, K&E team re case
                                                     introduction, key matters and follow up re
                                                     same (1.4); correspond with K&E team re
                                                     UCC NDA (.2).
06/25/21 Dan Latona                             1.00 Telephone conference with C. Okike, Fox
                                                     Rothschild re committee matters (.5);
                                                     telephone conference with J. Altman, Fox
                                                     Rothschild re upcoming filings (.5).
06/25/21 Nir Levin                              2.30 Review, revise NDA re UCC's advisors and
                                                     members (1.4); correspond with D. Latona,
                                                     K&E team, Fox Rothschild re same (.5);
                                                     analyze parties in interest list (.2); correspond
                                                     with J. Robinson re same (.2).
06/25/21 Christine A. Okike, P.C.               1.80 Telephone conference with T. Monsour, G.
                                                     Gouveia, M. Sweet (Fox Rothschild), J.
                                                     Sussberg, J. Altman, D. Latona re committee
                                                     introduction (1.0); prepare for same (.4);
                                                     telephone conference with G. Gouveia (Fox
                                                     Rothschild), J. Altman re stipulated orders
                                                     (.4).
06/25/21 Joshua Robinson                        1.80 Analyze UCC NDA (.9); revise same (.9).
06/25/21 Josh Sussberg, P.C.                    0.50 Telephone conference with UCC
                                                     professionals.

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Legal Services for the Period Ending June 30, 2021           Invoice Number:          1050048184
Katerra Inc.                                                  Matter Number:            49067-23
Creditors' Committee Matters

Date     Name                                  Hours Description
06/26/21 Josh Sussberg, P.C.                    0.10 Correspond re UCC and status.
06/27/21 Joshua M. Altman                       0.40 Correspond with Committee, professionals re
                                                     diligence and onboarding coordination.
06/28/21 Alex Hevia                             0.90 Telephone conference with J. Altman, UCC
                                                     re case status and related matters.
06/28/21 Dan Latona                             1.00 Telephone conference with C. Okike, Fox
                                                     Rothschild re upcoming pleadings.
06/28/21 Joshua Robinson                        0.60 Telephone conference with UCC re case
                                                     status.
06/29/21 Joshua M. Altman                       0.30 Telephone conference with committee re case
                                                     matter (.2); follow up re same (.1).
06/29/21 Dan Latona                             0.30 Telephone conference with K. Owens re final
                                                     orders.
06/29/21 Nir Levin                              0.60 Correspond with A&M, Fox Rothschild, K&E
                                                     team re parties in interest list.
06/30/21 Joshua M. Altman                       1.10 Correspond with R. Shankar, A. Terteryan re
                                                     UCC information requests (.5); conference
                                                     with K&E team, UCC re litigation
                                                     investigation (.6).
06/30/21 Zachary S. Brez, P.C.                  1.50 Prepare for and telephone conference with
                                                     UCC.
06/30/21 Nir Levin                              0.20 Correspond with A&M, Fox Rothschild re
                                                     parties in interest list.
06/30/21 Ravi Subramanian Shankar               0.80 Prepare for and telephone conference with
                                                     UCC re causes of action.

Total                                           23.00




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                                                        601 Lexington Avenue
                                                         New York, NY 10022

                                                           FEIN XX-XXXXXXX




August 9, 2021

Katerra Inc.
9305 East Via de Ventura
Scottsdale, AZ 85258

Attn: Christopher Wells

                                                                             Invoice Number: 1050048185
                                                                               Client Matter: 49067-24

In the Matter of Employee and Labor Matters




For legal services rendered through June 30, 2021
(see attached Description of Legal Services for detail)                                                      $ 123,835.50
Total legal services rendered                                                                                $ 123,835.50




  Austin Bay Area Beijing Boston Brussels Chicago Dallas Hong Kong Houston London Los Angeles Munich Paris Shanghai Washington, D.C.
             Case 21-31861 Document 834 Filed in TXSB on 08/09/21 Page 93 of 221
Legal Services for the Period Ending June 30, 2021          Invoice Number:    1050048185
Katerra Inc.                                                 Matter Number:      49067-24
Employee and Labor Matters




                                         Summary of Hours Billed

Name                                                     Hours         Rate      Amount
Joshua M. Altman                                           2.40    1,155.00      2,772.00
Wes Benter                                                12.50      865.00     10,812.50
Jack N. Bernstein                                         22.00    1,445.00     31,790.00
Kate Coverdale, P.C.                                       0.20    1,295.00        259.00
Emily C. Eggmann                                           4.10      625.00      2,562.50
Elizabeth Helen Jones                                      4.90      765.00      3,748.50
Sydney Jones                                              15.60    1,080.00     16,848.00
R.D. Kohut                                                 4.00    1,245.00      4,980.00
Dan Latona                                                 2.20    1,070.00      2,354.00
Library Factual Research                                   2.70      390.00      1,053.00
Christine A. Okike, P.C.                                   2.50    1,495.00      3,737.50
Tommy Scheffer                                            45.80      875.00     40,075.00
Zach Sommers                                               0.50      745.00        372.50
Josh Sussberg, P.C.                                        0.30    1,695.00        508.50
Rami Totari                                                0.80    1,125.00        900.00
Cecilia Turchetti                                          1.70      625.00      1,062.50

TOTALS                                                   122.20               $ 123,835.50




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Legal Services for the Period Ending June 30, 2021             Invoice Number:             1050048185
Katerra Inc.                                                    Matter Number:               49067-24
Employee and Labor Matters


                                       Description of Legal Services

Date     Name                                  Hours Description
06/07/21 Wes Benter                             0.50 Analyze correspondence re payroll
                                                     reconciliation background (.1); correspond
                                                     with K&E team re same (.1); research re
                                                     authorized wage deductions (.2); telephone
                                                     conference with S. Jones re same (.1).
06/07/21 Jack N. Bernstein                      4.00 Analyze employee and employee benefit
                                                     issues (3.0); analyze 401k plan documents
                                                     (1.0).
06/07/21 Sydney Jones                           0.30 Analyze correspondence and information re
                                                     PTO matters.
06/08/21 Wes Benter                             4.50 Telephone conference with R. Kohut and S.
                                                     Jones re initial payroll analysis (.4); telephone
                                                     conference with T. Scheffer and S. Jones re
                                                     payroll issue, options and outstanding
                                                     information (.5); telephone conference with S.
                                                     Jones re research (.2); analyze
                                                     correspondence re payroll distribution and
                                                     employee communications (.8); correspond
                                                     with C. Turchetti re research (.2); analyze
                                                     Company paid-time-off requirements (.5);
                                                     analyze research re wage deduction
                                                     authorization requirements (.5); telephone
                                                     conference with Company re research (.6);
                                                     revise wage deduction authorization (.4);
                                                     summarize state law considerations (.4).
06/08/21 Jack N. Bernstein                      4.00 Analyze retirement plan matching issues
                                                     (2.0); analyze employee and employee benefit
                                                     issues (2.0).
06/08/21 Emily C. Eggmann                       4.10 Research case law re employee claims (3.5);
                                                     conference with J. Robinson re same (.6).
06/08/21 Sydney Jones                           3.30 Correspond and telephone conference with
                                                     K&E team re employment matters (1.3);
                                                     telephone conference with Company and
                                                     K&E team re employment matters (.4);
                                                     prepare for same (.3); draft notice to
                                                     employees re PTO (.8); review state wage and
                                                     hour laws (.5).
06/08/21 R.D. Kohut                             0.70 Analyze employment payroll issues.
06/08/21 Library Factual Research               2.70 Research re labor laws.
06/08/21 Tommy Scheffer                         6.40 Research re payroll matters.


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Legal Services for the Period Ending June 30, 2021            Invoice Number:          1050048185
Katerra Inc.                                                   Matter Number:            49067-24
Employee and Labor Matters

Date     Name                                  Hours Description
06/08/21 Cecilia Turchetti                      1.70 Telephone conference re research task and
                                                     parameters (.3); research state policies re
                                                     claw-backs of overpayment of overtime (1.0);
                                                     compile and draft response re same (.4).
06/09/21 Joshua M. Altman                       0.70 Telephone conferences with R. Kohut, S.
                                                     Jones re employee matters and follow up re
                                                     same.
06/09/21 Wes Benter                             0.70 Revise wage deduction notice and
                                                     authorization form (.2); summarize state and
                                                     local considerations for Company roll-out of
                                                     wage deduction notice and authorization form
                                                     (.5).
06/09/21 Jack N. Bernstein                      1.00 Analyze employee and employee benefit
                                                     issues.
06/09/21 Sydney Jones                           1.20 Telephone conference with K&E team re visa
                                                     matter (.3); revise PTO notices (.4);
                                                     correspond with K&E team and Company re
                                                     employment matters (.5).
06/09/21 R.D. Kohut                             0.80 Analyze employment issues.
06/09/21 Tommy Scheffer                         4.90 Correspond and telephone conferences with
                                                     Company, KPMG, A&M, K&E team re
                                                     payroll and wages matters, reporting
                                                     requirements (2.3); analyze payroll and wages
                                                     matters (2.6).
06/10/21 Sydney Jones                           0.50 Analyze WARN Act litigation and related
                                                     documents.
06/10/21 Elizabeth Helen Jones                  2.80 Research WARN Act adversary proceedings
                                                     (1.7); correspond with D. Latona, K&E team
                                                     re same (.6); draft summary of findings re
                                                     same (.5).
06/10/21 R.D. Kohut                             0.50 Analyze employment issues.
06/10/21 Tommy Scheffer                         2.40 Correspond and telephone conferences with
                                                     A&M, K&E team re payroll issues, WARN
                                                     Act complaint (1.1); analyze same (1.3).
06/11/21 Wes Benter                             0.50 Review and provide comments re employee
                                                     communication templates (.4); telephone
                                                     conference with S. Jones re revisions and
                                                     recommendations re same (.1).
06/11/21 Sydney Jones                           1.10 Correspond with K&E team re WARN
                                                     litigation (.3); review and revise draft
                                                     employee notices (.8).




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Legal Services for the Period Ending June 30, 2021            Invoice Number:          1050048185
Katerra Inc.                                                   Matter Number:            49067-24
Employee and Labor Matters

Date     Name                                  Hours Description
06/11/21 Tommy Scheffer                         4.90 Correspond and telephone conferences with
                                                     Company, A&M, K&E team re payroll issues
                                                     (2.0); analyze same (.8); research re same
                                                     (1.0); review and revise draft communications
                                                     re same (1.1).
06/12/21 Sydney Jones                           0.30 Review and correspond with K&E team re
                                                     employment considerations.
06/14/21 Wes Benter                             1.50 Telephone conference with K&E team re
                                                     employment issues (.2); analyze background
                                                     materials (.3); draft supplemental WARN Act
                                                     notices (.5); telephone conference with S.
                                                     Jones re supplemental WARN Act notices
                                                     (.1); revise supplemental WARN Act notices
                                                     (.2); review, revise WARN Act notices (.2).
06/14/21 Jack N. Bernstein                      2.00 Analyze employee and employee benefit
                                                     issues (1.0); analyze draft transaction
                                                     documents (1.0).
06/14/21 Sydney Jones                           1.70 Prepare for and telephone conference with
                                                     K&E team re WARN litigation (.5); prepare
                                                     for and telephone conference with Company,
                                                     A&M re PTO considerations (.2); review and
                                                     revise supplemental employee and
                                                     governmental WARN notices (1.0).
06/14/21 R.D. Kohut                             0.50 Analyze WARN Act complaint issues.
06/14/21 Tommy Scheffer                         2.60 Correspond with Company, A&M, K&E team
                                                     re payroll communications and issues,
                                                     compensation (1.0); analyze same (.6); review
                                                     and revise employee payroll communications
                                                     (1.0).
06/15/21 Wes Benter                             0.10 Revise governmental and employee Worker
                                                     Adjustment and Retraining Notification Act
                                                     notices.
06/15/21 Jack N. Bernstein                      3.00 Analyze employee communications (1.0);
                                                     analyze employee transfer issues (2.0).
06/15/21 Sydney Jones                           0.90 Analyze supplemental WARN notice (.1);
                                                     correspond with K&E team re same (.1);
                                                     revise purchase agreement (.7).
06/15/21 R.D. Kohut                             0.30 Review and revise transaction agreement (.2);
                                                     review WARN Act issues (.1).
06/15/21 Dan Latona                             0.50 Telephone conference with J. Robinson,
                                                     A&M re wages matters.




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Legal Services for the Period Ending June 30, 2021             Invoice Number:           1050048185
Katerra Inc.                                                    Matter Number:             49067-24
Employee and Labor Matters

Date     Name                                  Hours Description
06/15/21 Christine A. Okike, P.C.               0.40 Telephone conference with G. Balassa, R.
                                                     Shankar, E. Jones, D. Latona re WARN class
                                                     action.
06/15/21 Tommy Scheffer                         4.80 Correspond and telephone conferences with
                                                     Company, A&M, K&E team re payroll
                                                     communication, wages motion and order,
                                                     retention bonus clawback letter (.8); review
                                                     and revise payroll communication (1.3);
                                                     analyze wages motion and order (1.0); draft
                                                     retention bonus clawback letter (1.7).
06/15/21 Rami Totari                            0.80 Analyze labor matters.
06/16/21 Joshua M. Altman                       0.30 Correspond with A&M, S. Jones, W. Benter
                                                     re employee matters.
06/16/21 Wes Benter                             0.50 Research re WARN Act regulations and
                                                     guidance re deadline for additional notice and
                                                     acceptable service of notice (.4); correspond
                                                     with K&E team re delivery of supplemental
                                                     notice (.1).
06/16/21 Kate Coverdale, P.C.                   0.20 Review and revise bonus clawback
                                                     agreement.
06/16/21 Tommy Scheffer                         2.60 Correspond with A&M, K&E team re
                                                     employee locations and reports, retention
                                                     clawback letter (.7); review and revise
                                                     retention clawback letter (1.9).
06/17/21 Sydney Jones                           0.30 Analyze supplemental WARN notice.
06/17/21 Tommy Scheffer                         0.70 Correspond with A&M, K&E team re
                                                     necessity of KERP motion (.3); analyze
                                                     retention bonuses (.1); research same (.3).
06/18/21 Sydney Jones                           0.30 Analyze correspondence re WARN matter.
06/18/21 Dan Latona                             0.50 Telephone conference with C. Okike, A&M
                                                     re retention matters.
06/18/21 Christine A. Okike, P.C.               0.80 Analyze employee issues (.5); correspond
                                                     with J. Sussberg and D. Latona re same (.3).
06/18/21 Tommy Scheffer                         4.70 Correspond and telephone conferences with
                                                     A&M, K&E team re workers' compensation
                                                     program (.8); analyze same (1.7); research re
                                                     same (2.2).
06/18/21 Josh Sussberg, P.C.                    0.10 Correspond with K&E team re retention plan.
06/19/21 Zach Sommers                           0.50 Analyze board materials re
                                                     resignation/employment time-line.




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Legal Services for the Period Ending June 30, 2021            Invoice Number:          1050048185
Katerra Inc.                                                   Matter Number:            49067-24
Employee and Labor Matters

Date     Name                                  Hours Description
06/21/21 Wes Benter                             0.70 Research, review Arizona laws re final
                                                     payment of wages and deductions from salary
                                                     (.4); analyze issues re same (.3).
06/21/21 Jack N. Bernstein                      3.00 Analyze draft employee communications
                                                     (2.0); review ERISA issues (1.0).
06/21/21 Sydney Jones                           0.70 Correspond with Company re wage and hour
                                                     considerations.
06/21/21 R.D. Kohut                             0.20 Analyze employment issues.
06/21/21 Dan Latona                             0.70 Telephone conference with C. Okike, JW re
                                                     retention matters (.4); telephone conference
                                                     with C. Okike, A&M re same (.3).
06/21/21 Dan Latona                             0.50 Analyze research re workers' compensation.
06/21/21 Christine A. Okike, P.C.               0.80 Telephone conference with M. Cavenaugh, L.
                                                     Freeman (JW), D. Latona re employee issue
                                                     (.4); telephone conference with C. Wells, N.
                                                     Bakke (A&M), D. Latona re same (.3);
                                                     telephone conference with J. Sussberg, D.
                                                     Latona re same (.1).
06/21/21 Tommy Scheffer                         6.80 Correspond with Saul, JW, A&M, K&E team
                                                     re workers' compensation policy (1.6);
                                                     research re same (4.1); analyze same (1.1).
06/21/21 Josh Sussberg, P.C.                    0.20 Telephone conference with C. Okike and D.
                                                     Latona re employee matters.
06/22/21 Sydney Jones                           0.50 Correspond with K&E team re WARN matter
                                                     (.3); review and correspond with K&E team
                                                     re employment considerations (.2).
06/22/21 R.D. Kohut                             0.10 Analyze employment issues.
06/22/21 Tommy Scheffer                         3.50 Correspond with Company, A&M, K&E team
                                                     re WARN notices, employee claims (1.4);
                                                     analyze same (2.1).
06/23/21 Jack N. Bernstein                      2.00 Analyze 401k matching contribution issues.
06/23/21 Sydney Jones                           0.80 Review and correspond with K&E team,
                                                     A&M re WARN considerations (.3); review
                                                     relevant WARN materials (.5).
06/23/21 R.D. Kohut                             0.20 Analyze arbitration issues.
06/23/21 Tommy Scheffer                         0.30 Correspond with Company, A&M, K&E team
                                                     re WARN notices.
06/24/21 Joshua M. Altman                       0.60 Correspond with A&M, K&E team re
                                                     employee matters.




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Legal Services for the Period Ending June 30, 2021            Invoice Number:           1050048185
Katerra Inc.                                                   Matter Number:             49067-24
Employee and Labor Matters

Date     Name                                  Hours Description
06/24/21 Sydney Jones                           1.30 Prepare for and telephone conference with
                                                     K&E team re employment termination and
                                                     rehire considerations (.4); draft summary of
                                                     state PTO laws (.3); prepare for and telephone
                                                     conference with K&E team re WARN
                                                     litigation (.6).
06/24/21 R.D. Kohut                             0.20 Analyze employee termination issues.
06/24/21 Christine A. Okike, P.C.               0.40 Correspond with C. Wells (A&M) re
                                                     employee retention issues (.2); telephone
                                                     conference with R.D. Kohut, S. Jones, J.
                                                     Altman re employee transition issues (.2).
06/24/21 Tommy Scheffer                         1.20 Correspond with A&M, K&E team re
                                                     retention agreement.
06/28/21 Wes Benter                             0.50 Update supplemental notices to government
                                                     officials and employees (.1); telephone
                                                     conference with S. Jones re additional sale
                                                     transactions, analysis of notice requirements
                                                     and obligations (.1); revise supplemental
                                                     notices and send with correspondence
                                                     summarizing notice-related considerations
                                                     (.1); review and confirm guidance re deadline
                                                     for supplemental notice and correspond with
                                                     E. Schlack re same (.1); research form of
                                                     notice requirements and confirm guidance re
                                                     email delivery and correspond with E.
                                                     Schlack re same (.1).
06/28/21 Sydney Jones                           0.50 Correspond with K&E team re WARN
                                                     matters (.4); analyze supplemental WARN
                                                     notice (.1).
06/28/21 R.D. Kohut                             0.10 Analyze employee termination issues.
06/29/21 Wes Benter                             2.20 Telephone conference with S. Jones re request
                                                     for WARN Act documents (.1); telephone
                                                     conference with E. Ribot re access to data
                                                     room documents and proposed approach to
                                                     provide representative copies of requested
                                                     WARN documents (.2); analyze same (1.8);
                                                     correspond with S. Jones, M. Frazer and E.
                                                     Schlack re thoroughness and accuracy of
                                                     representative sample of notices sent to
                                                     employees and government officials (.1).
06/29/21 Sydney Jones                           0.40 Correspond with K&E team and Company re
                                                     employment considerations.
06/29/21 R.D. Kohut                             0.20 Analyze employee personnel file issues.


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Legal Services for the Period Ending June 30, 2021            Invoice Number:           1050048185
Katerra Inc.                                                   Matter Number:             49067-24
Employee and Labor Matters

Date     Name                                  Hours Description
06/30/21 Joshua M. Altman                       0.80 Analyze research re treatment of employee
                                                     claims and follow up re same.
06/30/21 Wes Benter                             0.80 Analyze draft WARN Act notice (.4);
                                                     telephone conference with S. Jones re WARN
                                                     Act notice (.1); correspond with E. Schlack re
                                                     clarification and request for additional
                                                     information (.3).
06/30/21 Jack N. Bernstein                      3.00 Analyze 401k issues (2.0); analyze employee
                                                     and employee benefit issues (1.0).
06/30/21 Elizabeth Helen Jones                  2.10 Research state law re employee matters (1.7);
                                                     draft summary re same (.3); correspond with
                                                     J. Altman, K&E team re same (.1).
06/30/21 Sydney Jones                           1.50 Correspond with K&E team, Company re
                                                     WARN considerations (.4); analyze WARN
                                                     documentation (.3); analyze WARN
                                                     regulations (.4); correspond with K&E team,
                                                     Company re wage and hour considerations
                                                     (.4).
06/30/21 R.D. Kohut                             0.20 Analyze employee wage payment issues.
06/30/21 Christine A. Okike, P.C.               0.10 Correspond with C. Wells (A&M) re
                                                     consulting agreements.

Total                                          122.20




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                                                        601 Lexington Avenue
                                                         New York, NY 10022

                                                           FEIN XX-XXXXXXX




August 9, 2021

Katerra Inc.
9305 East Via de Ventura
Scottsdale, AZ 85258

Attn: Christopher Wells

                                                                             Invoice Number: 1050048186
                                                                               Client Matter: 49067-25

In the Matter of Executory Contracts




For legal services rendered through June 30, 2021
(see attached Description of Legal Services for detail)                                                      $ 210,009.00
Total legal services rendered                                                                                $ 210,009.00




  Austin Bay Area Beijing Boston Brussels Chicago Dallas Hong Kong Houston London Los Angeles Munich Paris Shanghai Washington, D.C.
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Legal Services for the Period Ending June 30, 2021          Invoice Number:    1050048186
Katerra Inc.                                                 Matter Number:      49067-25
Executory Contracts




                                         Summary of Hours Billed

Name                                                     Hours         Rate      Amount
Joshua M. Altman                                          11.70    1,155.00     13,513.50
Lindsey Blum                                              85.10      765.00     65,101.50
Emily C. Eggmann                                          56.80      625.00     35,500.00
Alex Hevia                                                95.10      875.00     83,212.50
Dan Latona                                                 1.50    1,070.00      1,605.00
Rebecca J. Marston                                         3.30      625.00      2,062.50
Joshua Robinson                                            4.70      995.00      4,676.50
Tommy Scheffer                                             3.10      875.00      2,712.50
Michael Scian                                              1.00      625.00        625.00
Mason N. Zurek                                             1.60      625.00      1,000.00

TOTALS                                                   263.90               $ 210,009.00




                                                     2
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Legal Services for the Period Ending June 30, 2021             Invoice Number:            1050048186
Katerra Inc.                                                    Matter Number:              49067-25
Executory Contracts


                                       Description of Legal Services

Date     Name                                  Hours Description
06/06/21 Lindsey Blum                           5.80 Analyze contracts (2.3); analyze tracker re
                                                     same (1.0); draft, review and revise rejection
                                                     motions (2.5).
06/07/21 Lindsey Blum                           4.00 Analyze issues re rejection motions (1.5);
                                                     correspond with counterparties re same (.7);
                                                     analyze filings re same (.5); correspond with
                                                     K&E team and A&M re open contract issues
                                                     (1.3).
06/08/21 Lindsey Blum                           3.80 Analyze correspondence re rejected contracts
                                                     (1.6); conference with K&E team re same
                                                     (.5); conference with A&M re same (.5);
                                                     conference with A. Hevia re open items (.4);
                                                     analyze rejection issues re terminated projects
                                                     (.8).
06/08/21 Emily C. Eggmann                       2.90 Draft form stipulation for rejected contracts.
06/08/21 Emily C. Eggmann                       3.80 Research re sublease.
06/08/21 Alex Hevia                             4.70 Correspond and conferences K&E team, L.
                                                     Blum, A&M and counterparties re contract
                                                     and project status (3.1); review and analyze
                                                     executory contracts (1.6).
06/09/21 Lindsey Blum                           5.50 Review, revise stipulation (1.9); review and
                                                     analyze contracts (1.3); correspond with
                                                     counterparties re rejection issues (1.8);
                                                     conference with A&M re same (.5).
06/09/21 Emily C. Eggmann                       2.10 Revise rejection stipulation.
06/09/21 Alex Hevia                             6.30 Correspond with K&E team, L. Blum, A&M
                                                     and counterparties re rejected and terminated
                                                     contracts (3.3); review and analyze contracts
                                                     re same (2.1); correspond with D. Latona re
                                                     resolving objection to rejection motion
                                                     procedures (.5); draft resolution email re same
                                                     (.4).
06/09/21 Dan Latona                             0.50 Analyze stipulation re contract matter (.3);
                                                     telephone conferences with A. Hevia, K&E
                                                     team re same (.2).
06/10/21 Lindsey Blum                           5.70 Analyze correspondence with contract
                                                     counterparties (3.7); conference with A&M re
                                                     same (.8); conference with K&E team re same
                                                     (.5); analyze tracker re open contract inquiries
                                                     (.7).


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Legal Services for the Period Ending June 30, 2021             Invoice Number:           1050048186
Katerra Inc.                                                    Matter Number:             49067-25
Executory Contracts

Date     Name                                  Hours Description
06/10/21 Emily C. Eggmann                       5.00 Review and revise contract rejection
                                                     communications tracker (2.0); correspond
                                                     with A. Hevia and L. Blum re same (1.0);
                                                     review termination notices assignment (1.0);
                                                     correspond with K&E team and A&M re
                                                     rejection work stream (1.0).
06/10/21 Alex Hevia                             4.80 Telephone conference with L. Blum, E.
                                                     Eggmann and A&M re executory contract
                                                     strategy and status (.5); telephone conferences
                                                     and correspond with counterparties re
                                                     rejecting executory contracts (1.8); review
                                                     and analyze executory contracts re rejection
                                                     (1.4); correspond and conferences with E.
                                                     Jones and L. Blum re same (1.1).
06/10/21 Tommy Scheffer                         1.90 Correspond with K&E team re executory
                                                     contract question (.4); research re same (1.5).
06/10/21 Mason N. Zurek                         1.60 Telephone conference with R. Roman re
                                                     surety (.2); research re same (.8); draft and
                                                     revise memorandum re same (.4); correspond
                                                     with K&E team re same (.2).
06/11/21 Joshua M. Altman                       0.60 Conference with counterparty counsel re
                                                     contract rejection matters and prepare for
                                                     same.
06/11/21 Lindsey Blum                           6.20 Conference with K&E team re surety and
                                                     rejection issues (1.3); analyze correspondence
                                                     re same (1.1); correspond with counterparties
                                                     re open rejection issues (3.8).
06/11/21 Emily C. Eggmann                       5.30 Review and revise contract rejection work
                                                     stream tracker (1.5); telephone conference
                                                     with counterparties re contract status (1.0);
                                                     correspond with A&M and K&E team re
                                                     same (1.5); draft first notice of rejection re
                                                     contracts and leases (1.0); correspond with A.
                                                     Hevia and L. Blum re same (.3).
06/11/21 Alex Hevia                             4.60 Conferences with L. Blum, A&M, K&E team
                                                     and counterparties re executory contract
                                                     rejection work streams (1.8); review and
                                                     analyze executory contracts re assumption
                                                     and rejection analysis (2.8).
06/14/21 Lindsey Blum                           5.90 Analyze tracker re rejection open items (.5);
                                                     conference with A&M re contract issues (.5);
                                                     conference with counterparties re same (3.6);
                                                     correspond with A&M re same (1.3).



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Legal Services for the Period Ending June 30, 2021             Invoice Number:           1050048186
Katerra Inc.                                                    Matter Number:             49067-25
Executory Contracts

Date     Name                                  Hours Description
06/14/21 Emily C. Eggmann                       5.50 Telephone conference with K&E team, A&M
                                                     and counterparties re contract rejection (2.5);
                                                     review and revise contract rejection tracker
                                                     (1.0); correspond with A. Hevia and L. Blum
                                                     re same (1.0); conference with K&E team re
                                                     termination notices (.5); conference with L.
                                                     Blum re status calls (.5).
06/14/21 Alex Hevia                             3.20 Correspond and conferences with L. Blum,
                                                     K&E team, A&M and counterparties re
                                                     executory contract analysis and statuses (2.3);
                                                     review and analyze executory contracts (.4);
                                                     review and analyze stipulation re rejecting
                                                     certain executory contracts (.5).
06/14/21 Tommy Scheffer                         0.40 Correspond with BakerHostetler, JW and
                                                     K&E team re subcontractor agreement.
06/14/21 Michael Scian                          1.00 Draft email re notice requirements for A.
                                                     Hevia and A&M (.8); correspond with A&M
                                                     and K&E team re same (.2).
06/15/21 Lindsey Blum                           4.00 Conference with A&M re status (.4);
                                                     conference with vendor re payment (.6);
                                                     correspond with counterparties re rejection
                                                     (1.8); conference with K&E team re same
                                                     (.8); draft correspondence re contract
                                                     termination (.4).
06/15/21 Emily C. Eggmann                       1.80 Telephone conference with K&E team and
                                                     A&M re status (.5); review and revise
                                                     contract rejection work stream tracker (.5);
                                                     correspond with A. Hevia and L. Blum re
                                                     same (.3); telephone conference with K&E
                                                     team, A&M and Company re contract
                                                     rejection status (.5).
06/15/21 Alex Hevia                             6.00 Telephone conferences and correspond with
                                                     L. Blum, K&E team, A&M and
                                                     counterparties re rejection of executory
                                                     contracts (3.1); review and analyze contracts
                                                     for purposes of rejection (1.2); correspond
                                                     and conference with E. Jones re email
                                                     agreements (1.7).
06/16/21 Lindsey Blum                           6.00 Conference with A&M re rejection issues
                                                     (.3); conference with counterparty re rejection
                                                     (.5); analyze tracker re contract updates (.8);
                                                     analyze stipulations re rejection and
                                                     termination (2.5); correspond with A&M and
                                                     K&E team re contract inquiries (1.9).


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Katerra Inc.                                                   Matter Number:             49067-25
Executory Contracts

Date     Name                                  Hours Description
06/16/21 Emily C. Eggmann                       3.50 Review and revise contract rejection work
                                                     stream tracker (1.0); telephone conference
                                                     with A&M and K&E team re status (.5);
                                                     telephone conference with vendors re
                                                     rejection status (.5); draft second and third
                                                     notices of rejection of contracts and leases
                                                     (.5); correspond with K&E team and A&M re
                                                     same (1.0).
06/16/21 Alex Hevia                             8.50 Telephone conferences and correspond with
                                                     K&E team, L. Blum, A&M and
                                                     counterparties re rejection of executory
                                                     contracts (4.0); review and revise rejection
                                                     notices (.3); correspond with L. Blum and E.
                                                     Eggmann re same (.2); review and analyze
                                                     rejection schedule (.6); correspond and
                                                     conference with L. Blum and A&M re same
                                                     (.5); draft email agreements re rejection and
                                                     termination (1.1); review and revise email
                                                     agreements re termination (1.0); correspond
                                                     with J. Altman and K&E team re same (.8).
06/16/21 Joshua Robinson                        0.30 Correspond with K&E team re contract
                                                     counterparties.
06/17/21 Joshua M. Altman                       1.80 Comment on surety stipulations and
                                                     correspond with A. Hevia, L. Blum,
                                                     counterparties re same (1.1); correspond and
                                                     conference with C. Wells, Fortune Johnson re
                                                     assignment matters and follow up re same
                                                     (.7).
06/17/21 Lindsey Blum                           3.00 Conference with A&M re rejection issue
                                                     status (.5); analyze contract counterparty
                                                     correspondence (1.6); conference with K&E
                                                     team re same (.5); revise stipulations re
                                                     terminations (.4).
06/17/21 Emily C. Eggmann                       3.00 Review and revise contract rejection tracker
                                                     (.6); update second notice of contract
                                                     rejection (.2); correspond with K&E team and
                                                     JW re same (.4); telephone conference with
                                                     K&E team and A&M re status of rejections
                                                     (.3); review and revise stipulation schedule
                                                     for contracts rejected (1.5).




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Katerra Inc.                                                    Matter Number:               49067-25
Executory Contracts

Date     Name                                  Hours Description
06/17/21 Alex Hevia                             4.70 Telephone conferences with L. Blum, K&E
                                                     team, A&M and counterparties re contract
                                                     rejection work streams (3.1); review and
                                                     revise executory contract schedules (.4);
                                                     correspond with counterparties and J. Altman
                                                     re email agreements re termination (1.2).
06/18/21 Joshua M. Altman                       1.50 Conferences and correspond with opposing
                                                     counsel, sureties re subcontract concerns and
                                                     follow up re same (.8); conferences and
                                                     correspond with A. Hevia, L. Blum,
                                                     counterparties re stipulation matters,
                                                     comments (.7).
06/18/21 Lindsey Blum                           2.80 Correspond with K&E team re stipulations
                                                     (1.0); review, revise contract rejection lists
                                                     (.5); correspond with A&M re same (.6);
                                                     analyze correspondence with contract
                                                     counterparties (.7).
06/18/21 Emily C. Eggmann                       5.00 Telephone conference with K&E team re
                                                     contract rejection status (1.0); review and
                                                     revise stipulation schedule (1.5); review and
                                                     revise internal contract rejection tracker (1.0);
                                                     correspond with K&E team re rejection status
                                                     (.5); compile third notice of rejection and
                                                     distribute same to K&E team and JW (1.0).
06/18/21 Alex Hevia                             4.20 Correspond and conferences with A&M,
                                                     Houlihan, counterparties and L. Blum re
                                                     executory contracts (1.8); review and revise
                                                     notice of rejection (.2); review and revise
                                                     stipulations for rejection (2.2).
06/19/21 Alex Hevia                             0.30 Correspond with K&E team re rejection
                                                     stipulations.
06/21/21 Joshua M. Altman                       1.70 Comment on modifications to lift stay order
                                                     and correspond with K&E team re same (.6);
                                                     correspond with A. Hevia, E. Jones re
                                                     stipulations and related matters (1.1).
06/21/21 Lindsey Blum                           5.70 Revise stipulations (2.7); correspond with
                                                     A&M re rejection status and related issues
                                                     (.5); correspond with A. Hevia and E.
                                                     Eggmann re status (.3); correspond with K&E
                                                     team re stipulation form and correspond with
                                                     counterparties re rejection issues (.9); analyze
                                                     rejection issues (1.3).




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Katerra Inc.                                                    Matter Number:            49067-25
Executory Contracts

Date     Name                                  Hours Description
06/21/21 Emily C. Eggmann                       2.30 Review and revise contract rejection tracker
                                                     (1.0); correspond with A. Hevia and L. Blum
                                                     re same (.8); conference with K&E team and
                                                     A&M re status (.5).
06/21/21 Alex Hevia                             6.00 Telephone conferences and correspond with
                                                     K&E team, L. Blum, A&M and
                                                     counterparties re rejection notices and
                                                     stipulations to terminate (4.0); review and
                                                     analyze tracker re same (.4); review and
                                                     analyze contracts re same (1.6).
06/21/21 Dan Latona                             0.50 Comment on contract stipulation.
06/22/21 Lindsey Blum                           5.50 Analyze correspondence with contract
                                                     counterparties (2.4); analyze comments re
                                                     stipulations (.9); conference with A. Hevia
                                                     and E. Eggmann re processes (.7); correspond
                                                     with contract counterparties (1.0); conference
                                                     with A&M, K&E team re contract issues and
                                                     status (.5).
06/22/21 Emily C. Eggmann                       2.00 Conference with A&M and K&E team re
                                                     status (.5); update tracker (.2); conference
                                                     with counterparties re status (.3); conference
                                                     with K&E team re notice of rejection (1.0).
06/22/21 Alex Hevia                             3.30 Telephone conferences and correspond with
                                                     K&E team, L. Blum, A&M and
                                                     counterparties re rejection notices and
                                                     stipulations to terminate (2.1); review and
                                                     analyze tracker re same (.4); review and
                                                     analyze contracts re same (.8).
06/23/21 Joshua M. Altman                       0.60 Correspond with K&E team (C. Okike, A.
                                                     Hevia) re Expeditors matter, related strategy
                                                     and analyze same.
06/23/21 Lindsey Blum                           4.50 Analyze correspondence with contract
                                                     counterparties (1.5); analyze comments to
                                                     stipulation (.9); conference with A. Hevia and
                                                     E. Eggmann re processes (.7); correspond
                                                     with contract counterparties (.9); conference
                                                     with A&M, K&E team re contract issues and
                                                     status (.5).
06/23/21 Emily C. Eggmann                       1.50 Telephone conference with A&M and K&E
                                                     team re status (.5); update tracker re same
                                                     (1.0).




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Katerra Inc.                                                   Matter Number:             49067-25
Executory Contracts

Date     Name                                  Hours Description
06/23/21 Alex Hevia                             3.40 Telephone conferences and correspond with
                                                     K&E team, L. Blum, A&M and
                                                     counterparties re rejection notices and
                                                     stipulations to terminate (2.0); review and
                                                     analyze tracker re same (.1); review and
                                                     analyze contracts re same (1.3).
06/23/21 Tommy Scheffer                         0.40 Correspond with JW, K&E team re rejection
                                                     notices.
06/24/21 Lindsey Blum                           4.10 Analyze correspondence with contract
                                                     counterparties (1.7); analyze comments to
                                                     stipulation (1.0); correspond with contract
                                                     counterparties (.9); conference with A&M,
                                                     K&E team re contract issues and status (.5).
06/24/21 Alex Hevia                             5.40 Correspond and conference with K&E team,
                                                     A&M, L. Blum and contract counterparties re
                                                     contracts to be rejected (3.1); review and
                                                     revise email agreements and stipulations re
                                                     contract rejection (1.1); correspond with K&E
                                                     team and J. Altman re same (.6); review and
                                                     analyze contracts re same (.6).
06/24/21 Joshua Robinson                        0.80 Telephone conference re contract issues (.5);
                                                     correspond with counterparties re same (.3).
06/24/21 Tommy Scheffer                         0.40 Correspond with JW, K&E team re notice of
                                                     rejection.
06/25/21 Joshua M. Altman                       1.80 Conferences and correspond with K&E team
                                                     re stipulations and comment on same (.8);
                                                     conference with UCC counsel re same (.4);
                                                     correspond with opposing counsel re status of
                                                     contract and analyze documents re same (.6).
06/25/21 Lindsey Blum                           3.50 Analyze correspondence with contract
                                                     counterparties (2.1); correspond with contract
                                                     counterparties (.9); conference with A&M,
                                                     K&E team re contract issues and status (.5).
06/25/21 Emily C. Eggmann                       4.40 Telephone conference with A. Hevia and L.
                                                     Blum re status (.5); review, revise tracker re
                                                     status (.4); review rejection notices and
                                                     tracking chart for contracts needing removal
                                                     (1.2); correspond with L. Blum re same (.3);
                                                     coordinate fourth notice of rejection (.4);
                                                     telephone conferences with counsel for Core
                                                     Tucson re stipulation (.6); telephone
                                                     conference with A. Hevia re same (.4);
                                                     correspond with A&M and D. Latona re same
                                                     (.6).


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Katerra Inc.                                                    Matter Number:             49067-25
Executory Contracts

Date     Name                                  Hours Description
06/25/21 Alex Hevia                             6.80 Correspond and conferences with K&E team,
                                                     L. Blum, A&M and counterparties re contract
                                                     rejection and termination issues (4.0); review
                                                     and revise tracker re same (.3); review and
                                                     revise rejection notice (.4); review and
                                                     analyze contracts re same (1.1); review and
                                                     revise stipulations and email agreements re
                                                     same (1.0).
06/26/21 Alex Hevia                             1.70 Correspond with counterparties and L. Blum
                                                     re contract analysis (.4); review and analyze
                                                     contracts re rejection and termination (1.3).
06/27/21 Alex Hevia                             2.20 Review and analyze contracts re rejection
                                                     issues (1.4); correspond with A&M, J. Altman
                                                     and K&E team re rejection considerations
                                                     (.8).
06/28/21 Joshua M. Altman                       1.00 Analyze notice from vendor re security
                                                     matters (.3); conference with K&E team re
                                                     contract matters and analyze same (.7).
06/28/21 Lindsey Blum                           5.10 Analyze correspondence with contract
                                                     counterparties (2.1); analyze comments to
                                                     stipulation (.9); conference with A. Hevia and
                                                     E. Eggmann re processes (.7); correspond
                                                     with contract counterparties (.9); conference
                                                     with A&M, K&E team re contract issues and
                                                     status (.5).
06/28/21 Emily C. Eggmann                       2.50 Telephone conference with K&E team and
                                                     A&M re status (.5); telephone conference
                                                     with counterparty re subcontracts (.5); update
                                                     tracker and distribute same (.5); prepare fifth
                                                     notice of rejection and coordinate same (.7);
                                                     correspond with A&M re Core Tucson
                                                     financials (.3).
06/28/21 Alex Hevia                             4.80 Telephone conferences and correspond with
                                                     K&E team, L. Blum and A&M re executory
                                                     contract issues (3.1); review and revise
                                                     stipulations re executory contracts (1.1);
                                                     correspond with L. Blum and K&E team re
                                                     same (.6).
06/28/21 Joshua Robinson                        0.60 Analyze stipulations re executory contracts.
06/29/21 Joshua M. Altman                       1.40 Conferences and correspond with K&E team,
                                                     counterparties re stipulations, comments and
                                                     strategy re same.




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Katerra Inc.                                                    Matter Number:             49067-25
Executory Contracts

Date     Name                                  Hours Description
06/29/21 Lindsey Blum                           4.00 Analyze correspondence with contract
                                                     counterparties (1.8); analyze comments to
                                                     stipulation (.8); conference with A. Hevia re
                                                     processes (.4); correspond with contract
                                                     counterparties (.5); conference with A&M,
                                                     K&E team re contract issues and status (.5).
06/29/21 Emily C. Eggmann                       1.00 Correspond with K&E team re status (.5);
                                                     correspond with A&M and K&E team re
                                                     status (.5).
06/29/21 Alex Hevia                             5.50 Telephone conferences and correspond with
                                                     K&E team, L. Blum and A&M re executory
                                                     contract issues (3.0); review and revise
                                                     stipulations re executory contracts (2.1);
                                                     correspond with L. Blum and K&E team re
                                                     same (.4).
06/29/21 Dan Latona                             0.50 Telephone conference with J. Robinson,
                                                     A&M, Houlihan re lease matters.
06/29/21 Joshua Robinson                        0.40 Analyze stipulation re executory contracts.
06/29/21 Joshua Robinson                        0.90 Telephone conference with K&E team re
                                                     lease strategy (.7); correspond with K&E
                                                     team re same (.2).
06/30/21 Joshua M. Altman                       1.30 Conferences and correspond with A. Hevia,
                                                     L. Blum, counterparties re stipulation matters.
06/30/21 Emily C. Eggmann                       5.20 Telephone conference with counsel re
                                                     stipulation status (.4); conference with A.
                                                     Hevia re status (1.3); draft same (.6); analyze
                                                     stipulation (.3); correspond with JW and
                                                     Prime Clerk re fifth notice of rejection (.3);
                                                     correspond with A&M re same (.3); review
                                                     and revise fifth notice of rejection (.4);
                                                     conference with K&E team re same (.5);
                                                     telephone conference with counsel re same
                                                     (.4); telephone conference with A. Hevia re
                                                     same (.3); correspond with counsel re
                                                     Company contact (.1); correspond with J.
                                                     Altman re fifth notice of rejection (.3).
06/30/21 Alex Hevia                             8.70 Telephone conferences and correspond with
                                                     K&E team, L. Blum and A&M re executory
                                                     contract issues (3.6); review and revise
                                                     stipulations re executory contracts (4.0);
                                                     correspond and conferences with L. Blum and
                                                     K&E team re same (1.1).




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Katerra Inc.                                                   Matter Number:            49067-25
Executory Contracts

Date     Name                                  Hours Description
06/30/21 Rebecca J. Marston                     3.30 Analyze executory contracts (1.5); telephone
                                                     conference with A. Hevia re same (.4); review
                                                     same (1.2); correspond with K&E team re
                                                     same (.2).
06/30/21 Joshua Robinson                        1.70 Correspond with lease counterparty (.5);
                                                     correspond with K&E team re same (.4);
                                                     review stipulations re same (.8).

Total                                          263.90




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                                                        601 Lexington Avenue
                                                         New York, NY 10022

                                                           FEIN XX-XXXXXXX




August 9, 2021

Katerra Inc.
9305 East Via de Ventura
Scottsdale, AZ 85258

Attn: Christopher Wells

                                                                             Invoice Number: 1050048187
                                                                               Client Matter: 49067-26

In the Matter of Hearings




For legal services rendered through June 30, 2021
(see attached Description of Legal Services for detail)                                                        $ 58,804.50
Total legal services rendered                                                                                  $ 58,804.50




  Austin Bay Area Beijing Boston Brussels Chicago Dallas Hong Kong Houston London Los Angeles Munich Paris Shanghai Washington, D.C.
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Katerra Inc.                                                 Matter Number:     49067-26
Hearings




                                         Summary of Hours Billed

Name                                                     Hours         Rate     Amount
Joshua M. Altman                                          2.30     1,155.00     2,656.50
Gabor Balassa, P.C.                                       2.20     1,615.00     3,553.00
Lindsey Blum                                              2.00       765.00     1,530.00
Katya Boyko                                               2.00     1,070.00     2,140.00
Rachel S. Briones                                         2.50       625.00     1,562.50
Tiffani Chanroo                                           1.20       625.00       750.00
Daniel Cho                                                2.20       995.00     2,189.00
Danielle Dulitzky                                         2.30       875.00     2,012.50
Emily C. Eggmann                                          2.20       625.00     1,375.00
Cassandra E. Fenton                                       2.20       945.00     2,079.00
Emily Flynn                                               2.20       875.00     1,925.00
Haroula Gkotsi                                            2.50       765.00     1,912.50
Katrina Gonzales                                          2.50       625.00     1,562.50
Alex Hevia                                                2.00       875.00     1,750.00
Anne J. Hudson                                            1.10       745.00       819.50
Elizabeth Helen Jones                                     2.50       765.00     1,912.50
Michelle Kilkenney, P.C.                                  1.00     1,545.00     1,545.00
Dan Latona                                                3.00     1,070.00     3,210.00
Nir Levin                                                 2.60       765.00     1,989.00
Maddison Levine                                           2.40       625.00     1,500.00
Rebecca J. Marston                                        2.60       625.00     1,625.00
Christine A. Okike, P.C.                                  2.80     1,495.00     4,186.00
Min Ju Park                                               2.00       875.00     1,750.00
Miriam A. Peguero Medrano                                 2.20       875.00     1,925.00
Joshua Robinson                                           0.20       995.00       199.00
Tommy Scheffer                                            2.80       875.00     2,450.00
Michael Scian                                             2.00       625.00     1,250.00
Ravi Subramanian Shankar                                  2.40     1,125.00     2,700.00
Josh Sussberg, P.C.                                       2.80     1,695.00     4,746.00

TOTALS                                                    62.70               $ 58,804.50




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Katerra Inc.                                                         Matter Number:               49067-26
Hearings


                                       Description of Legal Services

Date       Name                                Hours        Description
06/07/21   Joshua M. Altman                     2.20        Telephonically attend first day hearing.
06/07/21   Gabor Balassa, P.C.                  2.20        Telephonically attend first day hearing.
06/07/21   Lindsey Blum                         2.00        Telephonically attend first day hearing.
06/07/21   Katya Boyko                          2.00        Telephonically attend first day hearing.
06/07/21   Rachel S. Briones                    2.20        Telephonically attend first day hearing.
06/07/21   Tiffani Chanroo                      1.20        Telephonically attend first day hearing.
06/07/21   Daniel Cho                           2.20        Telephonically attend first day hearing.
06/07/21   Danielle Dulitzky                    2.30        Telephonically attend first day hearing.
06/07/21   Emily C. Eggmann                     2.20        Telephonically attend first day hearing.
06/07/21   Cassandra E. Fenton                  2.20        Telephonically attend first day hearing.
06/07/21   Emily Flynn                          2.20        Telephonically attend first day hearing.
06/07/21   Haroula Gkotsi                       2.30        Telephonically attend first day hearing.
06/07/21   Katrina Gonzales                     2.50        Telephonically attend first day hearing.
06/07/21   Alex Hevia                           2.00        Telephonically attend first day hearing.
06/07/21   Anne J. Hudson                       1.10        Telephonically attend first day hearing.
06/07/21   Elizabeth Helen Jones                2.30        Telephonically attend first day hearing.
06/07/21   Michelle Kilkenney, P.C.             1.00        Telephonically attend first day hearing.
06/07/21   Dan Latona                           2.50        Telephonically participate in first day hearing.
06/07/21   Nir Levin                            2.30        Telephonically attend first day hearing.
06/07/21   Maddison Levine                      2.20        Telephonically attend first day hearing.
06/07/21   Rebecca J. Marston                   2.30        Telephonically attend first day hearing.
06/07/21   Christine A. Okike, P.C.             2.50        Telephonically attend first day hearing.
06/07/21   Min Ju Park                          2.00        Telephonically attend first day hearing.
06/07/21   Miriam A. Peguero Medrano            2.20        Telephonically attend and participate in
                                                            hearing.
06/07/21   Tommy Scheffer                        2.40       Telephonically attend first day hearing.
06/07/21   Michael Scian                         2.00       Telephonically attend first day hearing.
06/07/21   Ravi Subramanian Shankar              2.40       Telephonically participate in first day hearing.
06/07/21   Josh Sussberg, P.C.                   2.40       Prepare for and attend first day hearing.
06/30/21   Joshua M. Altman                      0.10       Telephonically attend hearing re de minimis
                                                            asset sale procedures motion.
06/30/21 Rachel S. Briones                       0.30       Telephonically attend hearing re de minimis
                                                            asset sale motion.
06/30/21 Haroula Gkotsi                          0.20       Telephonically attend hearing re de minimis
                                                            asset sale procedures motion.

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Legal Services for the Period Ending June 30, 2021            Invoice Number:          1050048187
Katerra Inc.                                                   Matter Number:            49067-26
Hearings

Date     Name                                  Hours Description
06/30/21 Elizabeth Helen Jones                  0.20 Telephonically attend hearing re de minimis
                                                     asset sale procedures motion.
06/30/21 Dan Latona                             0.50 Telephonically participate in hearing re de
                                                     minimis asset sale procedures motion.
06/30/21 Nir Levin                              0.30 Telephonically attend hearing re de minimis
                                                     asset sale procedures motion.
06/30/21 Maddison Levine                        0.20 Telephonically attend hearing re de minimis
                                                     asset sale procedures motion.
06/30/21 Rebecca J. Marston                     0.30 Telephonically attend hearing re de minimis
                                                     asset sale procedures motion.
06/30/21 Christine A. Okike, P.C.               0.30 Telephonically participate in hearing re de
                                                     minimis asset sale procedures motion.
06/30/21 Joshua Robinson                        0.20 Telephonically attend hearing re de minimis
                                                     asset sale procedures motion.
06/30/21 Tommy Scheffer                         0.40 Telephonically participate in hearing re de
                                                     minimis asset sale procedures motion hearing.
06/30/21 Josh Sussberg, P.C.                    0.40 Telephonically participate in hearing re de
                                                     minimis asset sale procedures motion.

Total                                           62.70




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                                                        601 Lexington Avenue
                                                         New York, NY 10022

                                                           FEIN XX-XXXXXXX




August 9, 2021

Katerra Inc.
9305 East Via de Ventura
Scottsdale, AZ 85258

Attn: Christopher Wells

                                                                             Invoice Number: 1050048188
                                                                               Client Matter: 49067-27

In the Matter of Insurance and Surety Matters




For legal services rendered through June 30, 2021
(see attached Description of Legal Services for detail)                                                      $ 101,558.50
Total legal services rendered                                                                                $ 101,558.50




  Austin Bay Area Beijing Boston Brussels Chicago Dallas Hong Kong Houston London Los Angeles Munich Paris Shanghai Washington, D.C.
            Case 21-31861 Document 834 Filed in TXSB on 08/09/21 Page 118 of 221
Legal Services for the Period Ending June 30, 2021          Invoice Number:    1050048188
Katerra Inc.                                                 Matter Number:      49067-27
Insurance and Surety Matters




                                         Summary of Hours Billed

Name                                                     Hours         Rate      Amount
Joshua M. Altman                                          13.30    1,155.00     15,361.50
Haroula Gkotsi                                             0.20      765.00        153.00
Rodin M. Hai-Jew, P.C.                                     0.50    1,295.00        647.50
Alex Hevia                                                 1.80      875.00      1,575.00
Elizabeth Helen Jones                                     31.10      765.00     23,791.50
Michelle Kilkenney, P.C.                                   0.30    1,545.00        463.50
Dan Latona                                                 5.30    1,070.00      5,671.00
Nir Levin                                                  0.40      765.00        306.00
Maddison Levine                                            2.50      625.00      1,562.50
Rebecca J. Marston                                        11.50      625.00      7,187.50
Christine A. Okike, P.C.                                   6.40    1,495.00      9,568.00
Miriam A. Peguero Medrano                                  2.40      875.00      2,100.00
Joshua Robinson                                           14.20      995.00     14,129.00
Tommy Scheffer                                             8.10      875.00      7,087.50
Natalie Soloperto                                         13.90      625.00      8,687.50
Anna Terteryan                                             1.00    1,080.00      1,080.00
Mason N. Zurek                                             3.50      625.00      2,187.50

TOTALS                                                   116.40               $ 101,558.50




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Legal Services for the Period Ending June 30, 2021             Invoice Number:           1050048188
Katerra Inc.                                                    Matter Number:             49067-27
Insurance and Surety Matters


                                       Description of Legal Services

Date     Name                                  Hours Description
06/06/21 Rodin M. Hai-Jew, P.C.                 0.50 Correspond with K&E team re D&O matters.
06/07/21 Michelle Kilkenney, P.C.               0.30 Conference with C. Okike, D. Latona, M.
                                                     Liebman and S. Hilson re surety matters.
06/07/21 Nir Levin                              0.40 Research diligence materials re sureties (.3);
                                                     correspond with D. Latona re same (.1).
06/07/21 Maddison Levine                        0.70 Analyze surety notice of defaults (.5); analyze
                                                     contracts re same (.1); correspond with M.
                                                     Peguero re same (.1).
06/07/21 Christine A. Okike, P.C.               0.50 Review and comment on D&O tail
                                                     endorsement.
06/08/21 Joshua M. Altman                       2.90 Telephone conferences with Houlihan, A&M,
                                                     K&E team re bonding matters (.5);
                                                     conferences with Company, K&E team re
                                                     same (.6); conference with Zurich re surety
                                                     matters and follow up re same (1.1); research
                                                     re related matters (.7).
06/08/21 Elizabeth Helen Jones                  3.10 Telephone conference with C. Okike, K&E
                                                     team re sureties and subcontractors (.5);
                                                     research case law re same (1.7); draft
                                                     summary re same (.7); correspond with J.
                                                     Altman, K&E team re same (.2).
06/08/21 Dan Latona                             1.10 Telephone conferences with J. Robinson,
                                                     A&M and Company re insurance matters.
06/08/21 Maddison Levine                        1.80 Analyze surety notice of defaults (.4); review
                                                     and analyze contracts re same (.8); draft chart
                                                     re same (.4); correspond with M. Peguero re
                                                     same (.2).
06/08/21 Miriam A. Peguero Medrano              0.40 Correspond with A&M re surety bonds (.2);
                                                     research re same (.2).
06/08/21 Miriam A. Peguero Medrano              0.80 Correspond with M. Levine re surety bonds
                                                     (.2); review bonds (.3); revise chart re same
                                                     (.3).
06/08/21 Joshua Robinson                        1.40 Telephone conference with A&M, Company
                                                     re insurance (.5); correspond with K&E team
                                                     re same (.9).
06/09/21 Joshua M. Altman                       2.10 Telephone conference with K&E team re
                                                     surety research (1.9); follow up re same (.2).




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Legal Services for the Period Ending June 30, 2021            Invoice Number:           1050048188
Katerra Inc.                                                   Matter Number:             49067-27
Insurance and Surety Matters

Date     Name                                  Hours Description
06/09/21 Elizabeth Helen Jones                  4.40 Telephone conference with K&E team, C.
                                                     Okike re surety bonds and subcontractors (.5);
                                                     research surety bond issues (2.2); draft
                                                     summary re same (.4); correspond with J.
                                                     Altman, K&E team re same (.7); telephone
                                                     conference with A. Hevia re surety bonds and
                                                     executory contracts (.6).
06/09/21 Dan Latona                             1.00 Telephone conference with C. Okike, K&E
                                                     team re surety matters (.5); telephone
                                                     conference with J. Robinson, A&M and
                                                     Company re insurance matters (.5).
06/09/21 Christine A. Okike, P.C.               0.60 Review and revise D&O tail endorsement
                                                     (.5); correspond with insurance broker re
                                                     questions re same (.1).
06/09/21 Miriam A. Peguero Medrano              0.60 Telephone conference with K&E team re
                                                     sureties (.4); correspond with K&E team re
                                                     same (.2).
06/09/21 Joshua Robinson                        1.50 Telephone conference with A&M re
                                                     insurance (.5); research same (.4); analyze
                                                     same (.3); correspond with K&E team re
                                                     same (.3).
06/09/21 Joshua Robinson                        2.00 Telephone conference with A&M, Company
                                                     re insurance matters (.5); correspond with
                                                     K&E team, D. Latona re same (1.2); research
                                                     re same (.3).
06/10/21 Joshua M. Altman                       1.30 Telephone conference with K&E team re
                                                     status of surety matters, research and follow
                                                     up re same.
06/10/21 Alex Hevia                             0.60 Telephone conferences and correspond with
                                                     R. Marston, E. Jones re surety issues.
06/10/21 Elizabeth Helen Jones                  5.40 Telephone conference with C. Okike, K&E
                                                     team re surety bond issues (.5); telephone
                                                     conferences with C. Nowlin re same (.7);
                                                     telephone conference with A. Hevia re same
                                                     (.4); research surety bond issues (1.8);
                                                     correspond with K&E team, R. Marston re
                                                     same (.9); draft comprehensive K&E research
                                                     on surety bonds (1.1).
06/10/21 Rebecca J. Marston                     8.00 Research re surety issues (3.9); telephone
                                                     conferences with E. Jones, A. Hevia, C.
                                                     Nowlin re same (1.1); review and revise
                                                     research re same (3.0).
06/10/21 Miriam A. Peguero Medrano              0.40 Telephone conference with K&E team re
                                                     sureties issues.

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Legal Services for the Period Ending June 30, 2021            Invoice Number:           1050048188
Katerra Inc.                                                   Matter Number:             49067-27
Insurance and Surety Matters

Date     Name                                  Hours Description
06/10/21 Joshua Robinson                        0.30 Telephone conference with K&E team re
                                                     sureties.
06/10/21 Tommy Scheffer                         2.60 Analyze project contract for insurance
                                                     proceeds trust relationship (2.1); correspond
                                                     and telephone conferences with Company,
                                                     A&M, K&E team re same (.5).
06/10/21 Natalie Soloperto                      6.60 Research precedent re surety matters (1.7);
                                                     review and analyze precedent re same (2.1);
                                                     correspond with E. Jones re same (.3); review
                                                     and analyze cases re surety claims issues
                                                     (2.0); correspond with E. Jones re same (.5).
06/11/21 Joshua M. Altman                       3.10 Telephone conferences and correspond with
                                                     surety, K&E team re insurance matters and
                                                     analyze research re same (1.3); comment on
                                                     order (.8); analyze precedent re same (.4);
                                                     correspond with K&E team re rejection
                                                     stipulations (.2) analyze same (.4).
06/11/21 Alex Hevia                             0.40 Telephone conference with E. Jones re surety
                                                     bond contracts and automatic stay
                                                     considerations.
06/11/21 Elizabeth Helen Jones                  2.30 Telephone conferences with C. Okike, K&E
                                                     team re surety bonds and executory contracts
                                                     (1.0); correspond with A. Hevia re same (.4);
                                                     research surety bond issues (.9).
06/11/21 Dan Latona                             2.00 Analyze surety research (1.0); telephone
                                                     conferences with C. Okike, K&E team, A&M
                                                     re same (1.0).
06/11/21 Rebecca J. Marston                     3.50 Research surety bonds issue (1.8); correspond
                                                     with E. Jones re same (.1); research same
                                                     (1.6).
06/11/21 Christine A. Okike, P.C.               1.00 Review and analyze surety issues (.5);
                                                     telephone conference with J. Altman, D.
                                                     Latona, E. Jones re same (.5).
06/11/21 Joshua Robinson                        4.30 Review and analyze correspondence from
                                                     surety re contract rejection (.7); correspond
                                                     with K&E team re same (.5); telephone
                                                     conference with K&E team re same (.7);
                                                     correspond with surety re same (.6); review
                                                     and analyze research re insurance premiums
                                                     (.4); correspond with K&E team re same (.3);
                                                     telephone conference with A&M re insurance
                                                     policies (.5); correspond with A&M re same
                                                     (.6).


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Legal Services for the Period Ending June 30, 2021            Invoice Number:           1050048188
Katerra Inc.                                                   Matter Number:             49067-27
Insurance and Surety Matters

Date     Name                                  Hours Description
06/11/21 Tommy Scheffer                         1.40 Correspond with K&E team re insurance
                                                     provision research (.3); research re same
                                                     (1.1).
06/11/21 Natalie Soloperto                      5.30 Research re surety matters (2.0); review and
                                                     analyze precedent re same (2.5); correspond
                                                     with E. Jones re same (.8).
06/11/21 Natalie Soloperto                      2.00 Research re surety matters.
06/11/21 Mason N. Zurek                         3.50 Correspond with K&E team re trust research
                                                     (.1); research re same (.6); telephone
                                                     conference with R. Roman re surety research
                                                     (.1); research re same (1.0); draft
                                                     memorandum re same (.3); correspond with
                                                     K&E team re insurance research (.7); review
                                                     and revise memorandum re insurance funds
                                                     (.7).
06/14/21 Joshua M. Altman                       1.40 Telephone conferences with K&E team,
                                                     surety providers re surety matters and analyze
                                                     documents re same (.8); analyze case law re
                                                     same (.6).
06/14/21 Alex Hevia                             0.80 Telephone conference with E. Jones re surety
                                                     analysis (.3); conference with surety
                                                     counterparties, K&E team and J. Altman re
                                                     same (.5).
06/14/21 Elizabeth Helen Jones                  2.30 Analyze proposed stipulation with Liberty
                                                     (.8); correspond with J. Altman, K&E team re
                                                     same (.6); telephone conference with surety,
                                                     K&E team, J. Altman re agreement (.5); draft
                                                     proposed stipulation and agreed order (.4).
06/14/21 Dan Latona                             0.20 Analyze surety research.
06/14/21 Christine A. Okike, P.C.               0.50 Telephone conference with M. Collins, R.
                                                     Miller (Manier & Herod), J. Altman, J.
                                                     Robinson, D. Latona, E. Jones re bonded
                                                     contracts.
06/14/21 Joshua Robinson                        1.30 Telephone conference with A&M re
                                                     insurance (.9); correspond with K&E team re
                                                     same (.4).
06/14/21 Tommy Scheffer                         0.30 Correspond with Company, A&M, K&E team
                                                     re insurance provision of contractor
                                                     agreement.
06/15/21 Joshua M. Altman                       1.10 Telephone conferences and correspond with
                                                     K&E team re surety matters and research re
                                                     same (.7); comment on stipulations (.2);
                                                     correspond with K&E team re same (.2).


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Legal Services for the Period Ending June 30, 2021             Invoice Number:           1050048188
Katerra Inc.                                                    Matter Number:             49067-27
Insurance and Surety Matters

Date     Name                                  Hours Description
06/15/21 Elizabeth Helen Jones                  3.30 Draft stipulation and agreed order (1.7);
                                                     correspond with J. Altman, K&E team re
                                                     same (.2); revise same (.7); telephone
                                                     conferences with A. Hevia re same (.7).
06/15/21 Dan Latona                             0.50 Analyze surety matters.
06/15/21 Christine A. Okike, P.C.               0.50 Analyze stipulation with surety.
06/16/21 Joshua M. Altman                       1.40 Correspond and conference with A. Hevia, E.
                                                     Jones re stipulation matters, strategy (.8);
                                                     analyze precedent, options re same (.6).
06/16/21 Elizabeth Helen Jones                  0.90 Revise surety stipulation and agreed order
                                                     (.6); correspond with J. Altman, K&E team re
                                                     same (.3).
06/16/21 Christine A. Okike, P.C.               0.80 Review and comment on stipulated order (.4);
                                                     analyze comments re same (.2); correspond
                                                     with E. Jones re same (.2).
06/17/21 Elizabeth Helen Jones                  0.70 Revise surety stipulation (.1); correspond with
                                                     J. Altman, surety re same (.2); correspond
                                                     with surety re same (.4).
06/17/21 Joshua Robinson                        0.80 Correspond with A&M re insurance policies.
06/18/21 Elizabeth Helen Jones                  1.60 Analyze exhibit to surety stipulation (.3);
                                                     correspond and telephone conferences with L.
                                                     Blum, K&E team re same (.8); revise surety
                                                     stipulation re same (.3); correspond with
                                                     surety re same (.2).
06/18/21 Christine A. Okike, P.C.               0.30 Analyze revised stipulation with surety.
06/21/21 Elizabeth Helen Jones                  0.70 Revise stipulation with surety (.4); correspond
                                                     with surety re same (.3).
06/21/21 Christine A. Okike, P.C.               1.90 Review Liberty Mutual bonded contracts (.8);
                                                     telephone conference with A. Jain (Alliant),
                                                     T. McClellan, D. Leonard, P. Grego (Zurich),
                                                     M. Liebman (A&M), J. Weinberger
                                                     (Houlihan) re Zurich bonded contracts re
                                                     renovations business (1.1).
06/21/21 Joshua Robinson                        0.30 Correspond with K&E team, D. Latona re
                                                     insurance research.
06/22/21 Elizabeth Helen Jones                  0.80 Analyze proposed stipulation changes (.1);
                                                     draft summary responses re same (.2);
                                                     correspond with J. Altman, K&E team re
                                                     same (.1); revise stipulation re same (.3);
                                                     correspond with surety re same (.1).
06/22/21 Dan Latona                             0.50 Telephone conference with J. Altman, K&E
                                                     team, surety re insurance matters.


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Legal Services for the Period Ending June 30, 2021             Invoice Number:            1050048188
Katerra Inc.                                                    Matter Number:              49067-27
Insurance and Surety Matters

Date     Name                                  Hours Description
06/22/21 Christine A. Okike, P.C.               0.30 Telephone conference re workers'
                                                     compensation audit with L. Murley, A.
                                                     Rudolph (Saul Ewing), J. Altman, D. Latona,
                                                     J. Robinson.
06/22/21 Joshua Robinson                        1.00 Telephone conference re surety stipulation
                                                     (.4); correspond with A&M re insurance (.6).
06/22/21 Tommy Scheffer                         2.00 Correspond and telephone conferences with
                                                     Saul, JW, K&E team re workers'
                                                     compensation policy (.5); analyze same (.6);
                                                     research re same (.9).
06/23/21 Elizabeth Helen Jones                  1.40 Revise stipulation with surety (.6); revise
                                                     exhibits re same (.3); correspond with J.
                                                     Altman, K&E team, surety re same (.5).
06/24/21 Elizabeth Helen Jones                  1.80 Correspond with J. Altman re stipulation (.4);
                                                     correspond with surety re same (.3); prepare
                                                     final stipulation for signatures (1.1).
06/24/21 Tommy Scheffer                         1.40 Correspond with K&E team re workers'
                                                     compensation insurance (.3); analyze same
                                                     (1.1).
06/25/21 Elizabeth Helen Jones                  1.10 Correspond with surety re stipulation (.5);
                                                     prepare stipulation and exhibits for filing (.3);
                                                     correspond with J. Altman, K&E team re
                                                     same (.3).
06/26/21 Elizabeth Helen Jones                  0.10 Correspond with K&E team, J. Altman, surety
                                                     re surety stipulation.
06/27/21 Elizabeth Helen Jones                  0.40 Prepare stipulation for filing (.3); correspond
                                                     with K&E team, A. Hevia re same (.1).
06/28/21 Joshua Robinson                        1.30 Analyze research re surety rights (.9);
                                                     correspond with K&E team re same (.4).
06/28/21 Anna Terteryan                         1.00 Correspond with K&E team re D&O
                                                     indemnification obligations.
06/29/21 Elizabeth Helen Jones                  0.30 Correspond with A&M re surety stipulation
                                                     (.2); correspond with surety re same (.1).
06/30/21 Haroula Gkotsi                         0.20 Correspond with J. Altman, K&E team re
                                                     D&O policies.
06/30/21 Elizabeth Helen Jones                  0.50 Correspond with J. Altman, surety re surety
                                                     stipulation (.3); telephone conference with A.
                                                     Hevia re surety matter (.2).
06/30/21 Miriam A. Peguero Medrano              0.20 Correspond with J. Altman, A&M re policy.




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Legal Services for the Period Ending June 30, 2021           Invoice Number:         1050048188
Katerra Inc.                                                  Matter Number:           49067-27
Insurance and Surety Matters

Date     Name                                  Hours Description
06/30/21 Tommy Scheffer                         0.40 Correspond with JW, K&E team re insurance
                                                     policy (.1); analyze same (.3).

Total                                          116.40




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                                                        601 Lexington Avenue
                                                         New York, NY 10022

                                                           FEIN XX-XXXXXXX




August 9, 2021

Katerra Inc.
9305 East Via de Ventura
Scottsdale, AZ 85258

Attn: Christopher Wells

                                                                             Invoice Number: 1050048189
                                                                               Client Matter: 49067-28

In the Matter of Real Estate Matters




For legal services rendered through June 30, 2021
(see attached Description of Legal Services for detail)                                                         $ 1,917.50
Total legal services rendered                                                                                   $ 1,917.50




  Austin Bay Area Beijing Boston Brussels Chicago Dallas Hong Kong Houston London Los Angeles Munich Paris Shanghai Washington, D.C.
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Legal Services for the Period Ending June 30, 2021          Invoice Number:   1050048189
Katerra Inc.                                                 Matter Number:     49067-28
Real Estate Matters




                                         Summary of Hours Billed

Name                                                     Hours         Rate    Amount
John G. Caruso                                            1.30     1,475.00    1,917.50

TOTALS                                                     1.30               $ 1,917.50




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Legal Services for the Period Ending June 30, 2021            Invoice Number:         1050048189
Katerra Inc.                                                   Matter Number:           49067-28
Real Estate Matters


                                       Description of Legal Services

Date     Name                                  Hours Description
06/24/21 John G. Caruso                         1.00 Review and revise form of mortgage.
06/28/21 John G. Caruso                         0.30 Analyze revised mortgage.

Total                                            1.30




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                                                        601 Lexington Avenue
                                                         New York, NY 10022

                                                           FEIN XX-XXXXXXX




August 9, 2021

Katerra Inc.
9305 East Via de Ventura
Scottsdale, AZ 85258

Attn: Christopher Wells

                                                                             Invoice Number: 1050048190
                                                                               Client Matter: 49067-29

In the Matter of Plan/Disclosure Statement/Confirmation




For legal services rendered through June 30, 2021
(see attached Description of Legal Services for detail)                                                      $ 171,034.00
Total legal services rendered                                                                                $ 171,034.00




  Austin Bay Area Beijing Boston Brussels Chicago Dallas Hong Kong Houston London Los Angeles Munich Paris Shanghai Washington, D.C.
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Legal Services for the Period Ending June 30, 2021          Invoice Number:    1050048190
Katerra Inc.                                                 Matter Number:      49067-29
Plan/Disclosure Statement/Confirmation




                                         Summary of Hours Billed

Name                                                     Hours         Rate      Amount
Joshua M. Altman                                           0.20    1,155.00        231.00
Tiffani Chanroo                                            9.70      625.00      6,062.50
Emily C. Eggmann                                          12.80      625.00      8,000.00
Emily Flynn                                               33.60      875.00     29,400.00
Julia R. Foster                                            1.80      390.00        702.00
Haroula Gkotsi                                            33.60      765.00     25,704.00
Katrina Gonzales                                          26.80      625.00     16,750.00
Alex Hevia                                                 3.80      875.00      3,325.00
Elizabeth Helen Jones                                      8.60      765.00      6,579.00
Dan Latona                                                17.80    1,070.00     19,046.00
Maddison Levine                                            0.20      625.00        125.00
Rebecca J. Marston                                         4.50      625.00      2,812.50
Christine A. Okike, P.C.                                  10.40    1,495.00     15,548.00
Joshua Robinson                                            2.90      995.00      2,885.50
Leo Rosenberg                                              7.90      285.00      2,251.50
Tommy Scheffer                                            29.50      875.00     25,812.50
Anthony Vincenzo Sexton                                    0.70    1,325.00        927.50
Christopher J. Worek                                       4.80    1,015.00      4,872.00

TOTALS                                                   209.60               $ 171,034.00




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Legal Services for the Period Ending June 30, 2021             Invoice Number:            1050048190
Katerra Inc.                                                    Matter Number:              49067-29
Plan/Disclosure Statement/Confirmation


                                       Description of Legal Services

Date     Name                                  Hours Description
06/09/21 Emily C. Eggmann                       4.60 Revise draft chapter 11 plan (3.9); correspond
                                                     with E. Jones re same (.7).
06/09/21 Emily Flynn                            2.50 Telephone conference with A. Hevia, K&E
                                                     team re disclosure statement (.2); analyze
                                                     precedent re same (1.9); telephone conference
                                                     with K. Gonzales re same (.1); correspond
                                                     with K. Gonzales re disclosure statement (.3).
06/09/21 Haroula Gkotsi                         1.80 Telephone conference with A. Hevia re
                                                     disclosure statement motion and exhibits (.4);
                                                     telephone conference with A. Hevia, E.
                                                     Flynn, K&E team re same (.3); correspond
                                                     with A. Hevia, E. Flynn, K&E team re same
                                                     (.2); review and analyze precedent re same
                                                     (.9).
06/09/21 Katrina Gonzales                       3.00 Telephone conference with H. Gkotsi, K&E
                                                     team re disclosure statement (.5); analyze first
                                                     day declaration re same (.5); draft disclosure
                                                     statement (1.9); telephone conference with E.
                                                     Flynn re same (.1).
06/09/21 Alex Hevia                             0.70 Telephone conferences with H. Gkotsi, K&E
                                                     team re disclosure statement motion.
06/09/21 Elizabeth Helen Jones                  0.50 Telephone conference with T. Scheffer re
                                                     plan and next steps (.4); correspond with E.
                                                     Eggmann re same (.1).
06/09/21 Maddison Levine                        0.20 Telephone conference with A. Hevia, K&E
                                                     team re disclosure statement motion.
06/09/21 Leo Rosenberg                          4.20 Correspond with K&E team re plan and
                                                     disclosure statement (.2); prepare draft
                                                     chapter 11 plan (1.8); prepare draft disclosure
                                                     statement (2.2).
06/09/21 Tommy Scheffer                         1.70 Analyze filing milestones and plan (.9);
                                                     correspond and telephone conferences with
                                                     K&E team re plan (.8).
06/10/21 Emily Flynn                            3.00 Research, analyze precedent re disclosure
                                                     statements.
06/10/21 Haroula Gkotsi                         3.20 Telephone conference with K. Gonzales re
                                                     disclosure statement (.3); draft disclosure
                                                     statement motion (1.2); draft disclosure
                                                     statement order and exhibits (1.4); correspond
                                                     with D. Latona, A. Hevia re same (.3).


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Katerra Inc.                                                    Matter Number:             49067-29
Plan/Disclosure Statement/Confirmation

Date     Name                                  Hours Description
06/10/21 Katrina Gonzales                       7.40 Analyze disclosure statement (3.4); draft
                                                     same (3.9); telephone conference with E.
                                                     Flynn re same (.1).
06/10/21 Alex Hevia                             1.30 Telephone conferences with E. Flynn, K&E
                                                     team re disclosure statement motion (.5);
                                                     review and analyze disclosure statement
                                                     motion precedent (.5); conference with H.
                                                     Gkotsi re same (.3).
06/10/21 Leo Rosenberg                          3.70 Draft disclosure statement motion, order and
                                                     schedules.
06/10/21 Tommy Scheffer                         0.90 Correspond and telephone conferences with
                                                     K&E team re plan.
06/11/21 Tiffani Chanroo                        1.70 Telephone conference with A. Hevia, H.
                                                     Gkotsi re disclosure statement order (.6);
                                                     revise same (1.1).
06/11/21 Emily Flynn                            6.20 Research, analyze precedent re disclosure
                                                     statement (2.5); review, revise same (3.7).
06/11/21 Haroula Gkotsi                         1.40 Review and revise disclosure statement
                                                     motion (.4); review and revise draft disclosure
                                                     statement order and exhibits (.4); telephone
                                                     conference with A. Hevia, T. Chanroo re
                                                     same (.4); correspond with T. Chanroo re
                                                     same (.2).
06/11/21 Katrina Gonzales                       2.80 Draft disclosure statement (2.7); correspond
                                                     with E. Flynn and E. Jones re same (.1).
06/11/21 Tommy Scheffer                         1.50 Correspond with K&E team re plan and
                                                     disclosure statement (.4); research re same
                                                     (1.1).
06/13/21 Haroula Gkotsi                         2.30 Review and revise disclosure statement
                                                     motion (.9); review and revise draft disclosure
                                                     statement order and exhibits (1.2); correspond
                                                     with E. Jones re plan (.2).
06/13/21 Elizabeth Helen Jones                  1.80 Analyze plan (.6); draft comments re same
                                                     (1.1); correspond with E. Eggmann re same
                                                     (.1).
06/14/21 Emily C. Eggmann                       3.00 Review and revise plan (2.7); correspond with
                                                     E. Jones re same (.3).
06/14/21 Emily Flynn                            5.10 Telephone conference with A. Hevia re
                                                     disclosure statement (.2); analyze materials re
                                                     same (1.6); review, revise same (3.1);
                                                     correspond with K. Gonzales re same (.2).




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Katerra Inc.                                                   Matter Number:             49067-29
Plan/Disclosure Statement/Confirmation

Date     Name                                  Hours Description
06/14/21 Haroula Gkotsi                         4.10 Review and revise disclosure statement
                                                     motion (1.7); review and revise draft
                                                     disclosure statement order and exhibits (1.9);
                                                     correspond with A. Hevia, T. Chanroo re
                                                     same (.5).
06/14/21 Alex Hevia                             1.10 Review and revise disclosure statement
                                                     motion and related exhibits (.9); correspond
                                                     with H. Gkotsi and K&E team re same (.2).
06/14/21 Elizabeth Helen Jones                  3.40 Draft proposed chapter 11 plan (2.8); research
                                                     re same (.6).
06/14/21 Tommy Scheffer                         0.70 Correspond with K&E team re plan (.3);
                                                     analyze same (.4).
06/15/21 Tiffani Chanroo                        0.60 Telephone conference with A. Hevia, H.
                                                     Gkotsi re disclosure statement order.
06/15/21 Emily Flynn                            1.40 Review and revise disclosure statement.
06/15/21 Haroula Gkotsi                         3.60 Review and revise disclosure statement
                                                     motion (1.3); review and revise draft
                                                     disclosure statement order and exhibits (1.4);
                                                     correspond with A. Hevia, T. Chanroo re
                                                     same (.5); correspond with D. Latona re same
                                                     (.2); correspond with E. Jones re plan (.2).
06/15/21 Katrina Gonzales                       4.60 Review and revise draft disclosure statement
                                                     re E. Flynn comments (3.8); review and
                                                     analyze plan re same (.8).
06/15/21 Alex Hevia                             0.20 Correspond with H. Gkotsi and K. Gonzalez
                                                     re disclosure statement motion and related
                                                     exhibits.
06/15/21 Elizabeth Helen Jones                  0.60 Revise plan (.4); correspond with D. Latona,
                                                     K&E team re same (.2).
06/15/21 Tommy Scheffer                         7.00 Correspond and telephone conferences with
                                                     K&E team re plan (1.8); revise same (3.9);
                                                     review and analyze same (1.3).
06/16/21 Emily C. Eggmann                       0.70 Review and revise chapter 11 plan.
06/16/21 Emily Flynn                            1.70 Review, revise disclosure statement (1.3);
                                                     correspond with K. Gonzales re same (.4).
06/16/21 Katrina Gonzales                       4.00 Revise draft disclosure statement re plan
                                                     revisions (3.9); review and analyze same (.1).
06/16/21 Elizabeth Helen Jones                  0.80 Analyze revised plan (.6); correspond with E.
                                                     Eggmann re same (.2).
06/16/21 Dan Latona                             4.40 Comment on plan (1.8); comment on
                                                     disclosure statement (2.6).



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Katerra Inc.                                                   Matter Number:            49067-29
Plan/Disclosure Statement/Confirmation

Date     Name                                  Hours Description
06/16/21 Tommy Scheffer                         6.00 Correspond with K&E team re plan (1.1);
                                                     revise same (3.9); review and analyze same
                                                     (1.0).
06/17/21 Emily Flynn                            1.80 Review, revise disclosure statement (1.5);
                                                     correspond with K. Gonzales re same (.3).
06/17/21 Katrina Gonzales                       0.80 Review and revise draft disclosure statement
                                                     (.4); correspond with E. Flynn re same (.4).
06/17/21 Dan Latona                             2.00 Comment on disclosure statement.
06/17/21 Tommy Scheffer                         1.60 Correspond and telephone conferences with
                                                     K&E team re plan process (.7); analyze issues
                                                     re same (.9).
06/18/21 Katrina Gonzales                       3.00 Review and revise draft disclosure statement
                                                     (2.2); correspond with E. Flynn re same (.8).
06/21/21 Joshua M. Altman                       0.20 Correspond with D. Latona, J. Robinson re
                                                     plan matters.
06/21/21 Tiffani Chanroo                        1.40 Revise disclosure statement (1.2); correspond
                                                     with K&E team re same (.2).
06/21/21 Emily Flynn                            3.10 Review, revise disclosure statement (2.8);
                                                     correspond with K&E team re same (.3).
06/21/21 Haroula Gkotsi                         3.20 Review and revise disclosure statement
                                                     motion, order, exhibits and solicitation
                                                     documents (2.7); correspond with A. Hevia,
                                                     T. Chanroo re same (.2); review and analyze
                                                     plan (.3).
06/21/21 Elizabeth Helen Jones                  0.70 Revise plan (.4); correspond with E.
                                                     Eggmann, K&E team re same (.1);
                                                     correspond with C. Okike, K&E team re same
                                                     (.2).
06/21/21 Dan Latona                             0.90 Telephone conference with A&M re
                                                     disclosure statement (.2); comment on
                                                     disclosure statement motion (.7).
06/21/21 Joshua Robinson                        0.80 Telephone conference with A&M re
                                                     disclosure statement (.3); analyze case
                                                     precedent re same (.5).
06/21/21 Tommy Scheffer                         2.10 Correspond with K&E team re plan,
                                                     disclosure statement (1.2); review and revise
                                                     same (.9).
06/21/21 Anthony Vincenzo Sexton                0.20 Review, revise plan and disclosure statement.
06/22/21 Tiffani Chanroo                        4.30 Revise disclosure statement order (3.9);
                                                     correspond with K&E team re same (.4).
06/22/21 Emily Flynn                            0.40 Correspond with K. Gonzales re disclosure
                                                     statement.

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Katerra Inc.                                                         Matter Number:               49067-29
Plan/Disclosure Statement/Confirmation

Date       Name                                Hours        Description
06/22/21   Julia R. Foster                      0.50        Draft ballot.
06/22/21   Katrina Gonzales                     0.50        Revise disclosure statement.
06/22/21   Elizabeth Helen Jones                0.10        Correspond with R. Marston, E. Eggmann re
                                                            plan.
06/22/21 Dan Latona                              1.40       Comment on disclosure statement motion.
06/22/21 Joshua Robinson                         0.80       Correspond with A&M re disclosure
                                                            statement budget (.4); research precedent re
                                                            same (.4).
06/23/21 Dan Latona                              5.60       Comment on disclosure statement motion
                                                            (3.0); comment on disclosure statement order,
                                                            exhibits (2.6).
06/24/21 Emily Flynn                             0.70       Correspond with K. Gonzales re disclosure
                                                            statement (.2); analyze same (.5).
06/24/21 Katrina Gonzales                        0.70       Revise disclosure statement (.6); correspond
                                                            with E. Flynn re same (.1).
06/24/21 Dan Latona                              2.20       Analyze, comment on plan (1.3); analyze,
                                                            comment on disclosure statement (.9).
06/24/21   Christine A. Okike, P.C.              1.70       Review and revise plan.
06/26/21   Christine A. Okike, P.C.              0.30       Review and revise plan.
06/27/21   Christine A. Okike, P.C.              0.70       Review and revise plan.
06/27/21   Christopher J. Worek                  3.50       Analyze plan and disclosure statement (1.6);
                                                            revise same (1.9).
06/28/21 Emily C. Eggmann                        1.30       Review and revise plan.
06/28/21 Emily Flynn                             2.40       Revise disclosure statement (2.3); correspond
                                                            with D. Latona, JW re same (.1).
06/28/21 Haroula Gkotsi                          1.60       Correspond with A. Hevia, T. Chanroo re
                                                            disclosure statement motion (.7); review and
                                                            revise same (.4); review and analyze plan (.5).
06/28/21 Alex Hevia                              0.20       Correspond and telephone conference with H.
                                                            Gkotsi and K&E team re disclosure statement
                                                            motion.
06/28/21 Rebecca J. Marston                      4.50       Revise presentation re plan (3.9); review and
                                                            analyze same (.6).
06/28/21 Christine A. Okike, P.C.                3.60       Review and revise plan.
06/28/21 Tommy Scheffer                          1.10       Correspond with K&E team re plan,
                                                            disclosure statement (.4); analyze same (.7).
06/28/21 Anthony Vincenzo Sexton                 0.50       Review, revise plan and disclosure statement.
06/28/21 Christopher J. Worek                    1.30       Review and incorporate additional comments
                                                            into plan and disclosure statements and
                                                            review (.9); incorporate comments re same
                                                            (.4).

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Plan/Disclosure Statement/Confirmation

Date     Name                                  Hours Description
06/29/21 Tiffani Chanroo                        0.10 Correspond with K&E team re disclosure
                                                     statement order.
06/29/21 Emily C. Eggmann                       3.20 Review and revise plan (1.8); correspond with
                                                     E. Jones re same (.1); correspond with K&E
                                                     team re plan precedent (.4); correspond with
                                                     W. Pruitt re D&O insurance (.6); review and
                                                     revise plan (.3).
06/29/21 Emily Flynn                            1.80 Review, revise disclosure statement.
06/29/21 Julia R. Foster                        1.30 Research precedent re F21 chapter 11 plan
                                                     (.2); circulate same to K&E team (.2);
                                                     research precedent re Toys confirmed plan
                                                     (.2); circulate to K&E team re same (.2); draft
                                                     removal motion (.5).
06/29/21 Haroula Gkotsi                         3.30 Review and revise disclosure statement
                                                     motion, order and exhibits (2.4); correspond
                                                     with T. Chanroo re same (.3); correspond with
                                                     D. Latona re same (.2); review and analyze
                                                     plan (.4).
06/29/21 Alex Hevia                             0.30 Correspond and conference with H. Gkotsi
                                                     and K&E team re disclosure statement
                                                     motion.
06/29/21 Elizabeth Helen Jones                  0.70 Analyze chapter 11 plan (.4); comment re
                                                     same (.2); correspond with E. Eggmann re
                                                     same (.1).
06/29/21 Dan Latona                             1.00 Comment on disclosure statement order,
                                                     exhibits.
06/29/21 Christine A. Okike, P.C.               2.50 Review and revise disclosure statement.
06/29/21 Tommy Scheffer                         4.80 Correspond with K&E team re plan,
                                                     disclosure statement (.7); review and revise
                                                     plan (2.3); research re same (1.8).
06/30/21 Tiffani Chanroo                        1.60 Revise disclosure statement order (.7); draft
                                                     disclosure statement presentation (.9).
06/30/21 Emily Flynn                            3.50 Correspond with H. Gkotsi re disclosure
                                                     statement (.2); analyze same (3.3).
06/30/21 Haroula Gkotsi                         9.10 Review, revise disclosure statement (3.8);
                                                     correspond with E. Flynn re same (.3); review
                                                     and revise disclosure statement motion, order
                                                     and exhibits (3.9); correspond with T.
                                                     Chanroo re same (.2); correspond with C.
                                                     Okike, D. Latona re same (.2); review and
                                                     analyze plan (.7).
06/30/21 Dan Latona                             0.30 Telephone conference with C. Okike, Weil re
                                                     plan and disclosure statement work streams.

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Plan/Disclosure Statement/Confirmation

Date     Name                                  Hours Description
06/30/21 Christine A. Okike, P.C.               1.60 Review and revise plan (1.2); telephone
                                                     conference with J. Liou and S. Bowling
                                                     (Weil) re same (.4).
06/30/21 Joshua Robinson                        1.30 Analyze plan.
06/30/21 Tommy Scheffer                         2.10 Correspond with Fox, Weil, K&E team re
                                                     plan and disclosure statement (1.1); review
                                                     and revise same (1.0).

Total                                          209.60




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                                                        601 Lexington Avenue
                                                         New York, NY 10022

                                                           FEIN XX-XXXXXXX




August 9, 2021

Katerra Inc.
9305 East Via de Ventura
Scottsdale, AZ 85258

Attn: Christopher Wells

                                                                             Invoice Number: 1050048191
                                                                               Client Matter: 49067-30

In the Matter of Regulatory Matters




For legal services rendered through June 30, 2021
(see attached Description of Legal Services for detail)                                                        $ 99,908.50
Total legal services rendered                                                                                  $ 99,908.50




  Austin Bay Area Beijing Boston Brussels Chicago Dallas Hong Kong Houston London Los Angeles Munich Paris Shanghai Washington, D.C.
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Katerra Inc.                                                 Matter Number:     49067-30
Regulatory Matters




                                         Summary of Hours Billed

Name                                                     Hours         Rate     Amount
Zachary S. Brez, P.C.                                      3.00    1,645.00     4,935.00
Gabrielle Degelia                                          5.00      745.00     3,725.00
Asheesh Goel, P.C.                                         2.20    1,695.00     3,729.00
Ricardo Guzman                                            10.70      410.00     4,387.00
Kim Nemirow, P.C.                                         11.70    1,395.00    16,321.50
Christine A. Okike, P.C.                                   2.50    1,495.00     3,737.50
Zach Sommers                                               6.90      745.00     5,140.50
Josh Sussberg, P.C.                                        0.60    1,695.00     1,017.00
Anna Terteryan                                            52.70    1,080.00    56,916.00

TOTALS                                                    95.30               $ 99,908.50




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Katerra Inc.                                                   Matter Number:            49067-30
Regulatory Matters


                                       Description of Legal Services

Date     Name                                  Hours Description
06/07/21 Zachary S. Brez, P.C.                  1.00 Analyze SEC requests and overlay with
                                                     bankruptcy.
06/08/21 Asheesh Goel, P.C.                     1.20 Analyze correspondence and document
                                                     preservation request from SEC enforcement
                                                     (1.0); correspond with K&E team re next
                                                     steps (.2).
06/09/21 Kim Nemirow, P.C.                      0.50 Review correspondence re subpoena to T.
                                                     Schick from SEC.
06/09/21 Josh Sussberg, P.C.                    0.10 Analyze SEC correspondence.
06/10/21 Kim Nemirow, P.C.                      1.00 Telephone conference with counsel for T.
                                                     Schick (.5); draft summary of same for K&E
                                                     team (.2); analyze SEC's requests (.3).
06/10/21 Josh Sussberg, P.C.                    0.10 Correspond re SEC outreach.
06/11/21 Zachary S. Brez, P.C.                  0.50 Telephone conference with J. Sussberg, C.
                                                     Okike re status of SEC case and related
                                                     issues.
06/11/21 Asheesh Goel, P.C.                     1.00 Prepare for and telephone conference with
                                                     K&E team re SEC request.
06/11/21 Kim Nemirow, P.C.                      0.50 Correspond with K&E team re restructuring
                                                     and SEC investigation.
06/11/21 Christine A. Okike, P.C.               0.50 Telephone conference with J. Sussberg, A.
                                                     Goel, Z. Brez, K. Nemirow, J. Altman, D.
                                                     Latona re SEC investigation and related
                                                     issues.
06/11/21 Josh Sussberg, P.C.                    0.40 Telephone conference with K&E team re SEC
                                                     investigation.
06/11/21 Anna Terteryan                         1.20 Manage document review and response to
                                                     SEC data requests (.6); review and analyze
                                                     documents re same (.6).
06/12/21 Anna Terteryan                         2.00 Manage document review and response to
                                                     SEC data requests (1.0); review and analyze
                                                     documents re same (1.0).
06/14/21 Gabrielle Degelia                      1.50 Conference with K. Nemirow, A. Terteryan
                                                     and Z. Sommers re response to SEC requests
                                                     (.5); conference with R. Guzman, A.
                                                     Terteryan and Z. Sommers re same (1.0).
06/14/21 Ricardo Guzman                         0.70 Prepare for and telephone conference with
                                                     K&E team re regulatory requests and updates.



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Regulatory Matters

Date     Name                                  Hours Description
06/14/21 Ricardo Guzman                         1.20 Analyze document selection (.4); coordinate
                                                     with AlixPartners re collection reporting (.4);
                                                     correspond with A. Terteryan re same (.4).
06/14/21 Kim Nemirow, P.C.                      1.20 Correspond with K&E team re next steps in
                                                     response to SEC requests (.5); analyze SEC
                                                     requests and proposed production (.4);
                                                     analyze D&O policy (.3).
06/14/21 Zach Sommers                           1.00 Prepare for and conference with G. Degelia,
                                                     R. Guzman and A. Terteryan re SEC
                                                     information requests (.5); draft summary re
                                                     next steps (.5).
06/14/21 Zach Sommers                           0.50 Prepare for and telephone conference with G.
                                                     Degelia, K. Nemirow and A. Terteryan re
                                                     SEC document request and next steps.
06/14/21 Anna Terteryan                         4.00 Manage document review and response to
                                                     SEC data requests (3.0); telephone conference
                                                     with K. Nemirow, G. Degelia, Z. Sommers re
                                                     SEC data requests and related work streams
                                                     (.5); telephone conference with R. Guzman,
                                                     Z. Sommers, G. Degelia re responses to SEC
                                                     data requests (.5).
06/15/21 Ricardo Guzman                         1.20 Analyze document set for regulatory response
                                                     (.6); correspond with A. Terteryan re same
                                                     (.6).
06/15/21 Kim Nemirow, P.C.                      0.50 Analyze D&O insurance policies for SEC
                                                     coverage.
06/15/21 Anna Terteryan                         4.00 Manage document review and response to
                                                     SEC data requests (1.6); review and analyze
                                                     documents in preparation of same (1.3);
                                                     review and analyze Company's insurance
                                                     policies to assess coverage for certain former
                                                     employees (.7); correspond with W. Pruitt re
                                                     same (.4).
06/17/21 Kim Nemirow, P.C.                      1.50 Correspond with A&M re response to SEC
                                                     requests (.9); correspond with A. Terteryan re
                                                     SEC's requests (.3); correspond with A. Goel
                                                     re SEC's requests (.3).
06/17/21 Anna Terteryan                         1.50 Telephone conference and correspond with
                                                     A&M, K. Nemirow re SEC data requests (.5);
                                                     correspond with K&E team re response to
                                                     same (.5); telephone conference with K.
                                                     Nemirow re same (.5).
06/18/21 Christine A. Okike, P.C.               0.20 Analyze correspondence with SEC.


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Katerra Inc.                                                   Matter Number:            49067-30
Regulatory Matters

Date     Name                                  Hours Description
06/18/21 Anna Terteryan                         1.20 Manage document review and response to
                                                     SEC data requests (.4); review and analyze
                                                     documents in preparation of same (.4);
                                                     correspond with Z. Sommers, G. Degelia re
                                                     same (.4).
06/20/21 Anna Terteryan                         2.70 Draft talking points for telephone conference
                                                     with SEC re data requests.
06/21/21 Zachary S. Brez, P.C.                  1.50 Analyze SEC requests and related bankruptcy
                                                     issues (.5); telephone conference with K&E
                                                     team re same (.5); telephone conference with
                                                     SEC re same (.5).
06/21/21 Kim Nemirow, P.C.                      2.00 Correspond with A. Terteryan re SEC
                                                     telephone conference (.4); prepare for
                                                     telephone conference with SEC re voluntary
                                                     requests (.4); telephone conference with SEC
                                                     re same (.7); correspond with K&E team re
                                                     SEC requests (.5).
06/21/21 Christine A. Okike, P.C.               1.20 Telephone conference with K. Nemirow re
                                                     SEC investigation (.2); telephone conference
                                                     with S. Custer, A. Adkins (SEC), K.
                                                     Nemirow, A. Terteryan re same (.7); follow-
                                                     up telephone conference with J. Sussberg, A.
                                                     Goel, Z. Brez, K. Nemirow, A. Terteryan re
                                                     same (.3).
06/21/21 Anna Terteryan                         4.70 Correspond with Company re document
                                                     collection in response to SEC data requests
                                                     (.9); draft talking points for telephone
                                                     conference with SEC re data requests (.6);
                                                     telephone conference with K. Nemirow re
                                                     same (.4); telephone conference with SEC,
                                                     K&E team re same (.8); telephone conference
                                                     with K&E team re same (.7); manage
                                                     document collection, processing and review
                                                     re SEC data requests (1.3).
06/22/21 Ricardo Guzman                         1.50 Prepare for and telephone conferences with A.
                                                     Terteryan, Company re document collection
                                                     updates and workflow planning.
06/22/21 Kim Nemirow, P.C.                      0.30 Analyze correspondence re SEC request
                                                     responses.
06/22/21 Anna Terteryan                         1.00 Telephone conference with E. Schlack, B.
                                                     Koehler, R. Guzman re document collection
                                                     in response to SEC requests (.5); telephone
                                                     conference with R. Guzman re document
                                                     collection, processing and review same (.5).


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Legal Services for the Period Ending June 30, 2021            Invoice Number:           1050048191
Katerra Inc.                                                   Matter Number:             49067-30
Regulatory Matters

Date     Name                                  Hours Description
06/23/21 Ricardo Guzman                         0.20 Research, analyze documents for privilege
                                                     identification and attorney review (.1);
                                                     correspond with A. Terteryan re same (.1).
06/23/21 Ricardo Guzman                         0.50 Prepare for and telephone conference with A.
                                                     Terteryan re regulatory response process and
                                                     updates.
06/23/21 Anna Terteryan                         5.70 Correspond with A&M, K&E team re data
                                                     preservation (1.2); manage document
                                                     collection, processing and review SEC data
                                                     requests (1.0); telephone conference with R.
                                                     Guzman re same (1.2); correspond with K&E
                                                     team re same (1.2); analyze draft purposeful
                                                     production agreement (1.1).
06/24/21 Gabrielle Degelia                      0.50 Conference with Company re collecting
                                                     information responsive to subpoena.
06/24/21 Ricardo Guzman                         0.50 Prepare for and telephone conference with A.
                                                     Terteryan, AlixPartners re document
                                                     collection for regulatory response.
06/24/21 Anna Terteryan                         3.70 Analyze documents for privilege and
                                                     responsiveness to SEC data requests (2.0);
                                                     telephone conference with AlixPartners, R.
                                                     Guzman re document collection, processing
                                                     and review in response to SEC data requests
                                                     (.5); manage same (.5); telephone conference
                                                     with M. Frazer, C. Gilbert-Ash re SEC data
                                                     requests (.7).
06/25/21 Gabrielle Degelia                      1.00 Conference with A. Terteryan, Z. Sommers
                                                     and R. Guzman re document review process
                                                     (.5); submit document production to SEC (.5).
06/25/21 Ricardo Guzman                         1.00 Analyze documents for production to
                                                     regulator and quality control (.5); coordinate
                                                     with AlixPartners and case team re production
                                                     process (.5).
06/25/21 Ricardo Guzman                         0.50 Prepare for and telephone conference with A.
                                                     Terteryan re regulatory response process and
                                                     updates.
06/25/21 Kim Nemirow, P.C.                      0.60 Analyze SEC production letter (.3); prepare
                                                     correspondence re SEC’s requests and new
                                                     subpoena (.3).
06/25/21 Zach Sommers                           0.50 Revise production letter.
06/25/21 Zach Sommers                           0.50 Prepare for and telephone conference with A.
                                                     Terteryan, G. Degelia and R. Guzman re
                                                     production and document review.


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Legal Services for the Period Ending June 30, 2021            Invoice Number:          1050048191
Katerra Inc.                                                   Matter Number:            49067-30
Regulatory Matters

Date     Name                                  Hours Description
06/25/21 Anna Terteryan                         1.70 Draft SEC production letter (.5); correspond
                                                     with K&E team re same (.5); telephone
                                                     conference with A&M, K&E team, Company
                                                     re data preservation (.5); telephone
                                                     conference with G. Degelia, Z. Sommers, R.
                                                     Guzman re response to SEC data requests
                                                     (.2).
06/27/21 Gabrielle Degelia                      2.00 Draft document review protocol.
06/27/21 Kim Nemirow, P.C.                      0.30 Analyze draft preservation notice.
06/27/21 Anna Terteryan                         1.70 Correspond with K&E team re data
                                                     preservation efforts (1.3); manage document
                                                     collection, processing and review in response
                                                     to SEC data requests (.4).
06/28/21 Ricardo Guzman                         0.70 Analyze documents for attorney review (.3);
                                                     correspond with Legal People, AlixPartners re
                                                     review planning and cost estimates (.4).
06/28/21 Kim Nemirow, P.C.                      0.50 Prepare, analyze responsiveness planning for
                                                     SEC requests.
06/28/21 Zach Sommers                           0.70 Finalize draft of review protocol.
06/28/21 Anna Terteryan                         3.70 Correspond with K&E team re data
                                                     preservation, SEC investigation (1.4); manage
                                                     document collection, processing and review
                                                     in response to SEC data requests (1.3);
                                                     telephone conference with K. Nemirow, D.
                                                     Furbush re SEC subpoena (1.0).
06/29/21 Kim Nemirow, P.C.                      1.50 Correspond with A. Terteryan re SEC
                                                     subpoena (.4); draft correspondence re SEC
                                                     response to internal team (.5); analyze
                                                     protocol re SEC responsive review (.3);
                                                     correspond with SEC re subpoena (.3).
06/29/21 Christine A. Okike, P.C.               0.60 Review and analyze SEC's comments to sale
                                                     order (.4); telephone conference with K.
                                                     Nemirow re SEC production (.2).




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Legal Services for the Period Ending June 30, 2021            Invoice Number:           1050048191
Katerra Inc.                                                   Matter Number:             49067-30
Regulatory Matters

Date     Name                                  Hours Description
06/29/21 Anna Terteryan                         9.20 Correspond with K&E team re UCC requests
                                                     (.7); manage document collection, processing
                                                     and review re SEC data requests (4.2); review
                                                     and revise draft document review protocol for
                                                     SEC subpoena review (2.8); telephone
                                                     conference with K&E team, UCC counsel re
                                                     SEC investigation (.5); telephone conference
                                                     with K&E team, A&M re data preservation
                                                     issues (.4); telephone conference with R.
                                                     Guzman re document collection, processing
                                                     and review in response to SEC data requests
                                                     (.6).
06/30/21 Ricardo Guzman                         1.50 Analyze privilege workflow protocol (.3);
                                                     draft revisions (.4); coordinate with Legal
                                                     People re contract attorney team setup (.4);
                                                     correspond with A. Terteryan re same (.4).
06/30/21 Ricardo Guzman                         1.20 Prepare for and telephone conference with A.
                                                     Terteryan re privilege review workflow
                                                     process.
06/30/21 Kim Nemirow, P.C.                      1.30 Correspond with counsel for unsecured
                                                     creditors re investigation (1.0); prepare for
                                                     telephone conference with SEC (.3).
06/30/21 Zach Sommers                           2.00 Analyze Box documents re privilege issues.
06/30/21 Zach Sommers                           1.70 Revise document review protocol and
                                                     corresponding appendices.
06/30/21 Anna Terteryan                         4.70 Correspond with K&E team re responses to
                                                     SEC data requests, data preservation issues
                                                     (.7); manage document collection, processing
                                                     and review in response to SEC data requests
                                                     (1.3); review and revise draft document
                                                     review protocol for SEC subpoena review
                                                     (2.0); telephone conference K. Nemirow re
                                                     SEC data requests (.3); telephone conference
                                                     with K. Nemirow re same (.4).

Total                                           95.30




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                                                        601 Lexington Avenue
                                                         New York, NY 10022

                                                           FEIN XX-XXXXXXX




August 9, 2021

Katerra Inc.
9305 East Via de Ventura
Scottsdale, AZ 85258

Attn: Christopher Wells

                                                                             Invoice Number: 1050048192
                                                                               Client Matter: 49067-31

In the Matter of K&E Retention and Fee Matters




For legal services rendered through June 30, 2021
(see attached Description of Legal Services for detail)                                                      $ 106,391.00
Total legal services rendered                                                                                $ 106,391.00




  Austin Bay Area Beijing Boston Brussels Chicago Dallas Hong Kong Houston London Los Angeles Munich Paris Shanghai Washington, D.C.
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Legal Services for the Period Ending June 30, 2021          Invoice Number:    1050048192
Katerra Inc.                                                 Matter Number:      49067-31
K&E Retention and Fee Matters




                                         Summary of Hours Billed

Name                                                     Hours         Rate      Amount
Rachel S. Briones                                          3.40      625.00      2,125.00
Michael Y. Chan                                           26.50      275.00      7,287.50
Tiffani Chanroo                                           17.80      625.00     11,125.00
Emily C. Eggmann                                           4.00      625.00      2,500.00
Julia R. Foster                                            0.50      390.00        195.00
Susan D. Golden                                            1.00    1,220.00      1,220.00
Dan Latona                                                 3.40    1,070.00      3,638.00
Nir Levin                                                 70.90      765.00     54,238.50
Maddison Levine                                            3.20      625.00      2,000.00
Rebecca J. Marston                                         3.60      625.00      2,250.00
Eric Nyberg                                               13.50      275.00      3,712.50
Christine A. Okike, P.C.                                   2.60    1,495.00      3,887.00
Miriam A. Peguero Medrano                                  3.40      875.00      2,975.00
Michael Scian                                              3.00      625.00      1,875.00
Josh Sussberg, P.C.                                        2.50    1,695.00      4,237.50
Mason N. Zurek                                             5.00      625.00      3,125.00

TOTALS                                                   164.30               $ 106,391.00




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Legal Services for the Period Ending June 30, 2021             Invoice Number:            1050048192
Katerra Inc.                                                    Matter Number:              49067-31
K&E Retention and Fee Matters


                                       Description of Legal Services

Date     Name                                  Hours Description
06/07/21 Michael Y. Chan                        6.00 Organize and review disclosures re creditors-
                                                     entities (.5); analyze disclosures re same (5.5).
06/07/21 Tiffani Chanroo                        0.30 Revise K&E retention application.
06/07/21 Nir Levin                              1.60 Correspond with K&E team, A&M re parties
                                                     in interest (.5); research precedent re internal
                                                     billing memorandum re post-petition billing
                                                     procedures (.3); correspond with T. Chanroo,
                                                     K&E team re same (.3); analyze conflicts
                                                     reports (.5).
06/08/21 Michael Y. Chan                        4.00 Analyze disclosures re creditors-entities (3.5);
                                                     organize and review disclosures re same (.5).
06/08/21 Tiffani Chanroo                        1.60 Revise retention application (.4); revise
                                                     billing memorandum (.3); draft conflicts
                                                     tracker (.7); correspond with K&E team re
                                                     same (.2).
06/08/21 Nir Levin                              8.00 Draft budget and staffing plan (2.5); research
                                                     precedents re same (1.0); correspond with M.
                                                     Peguero Medrano, K&E team re K&E
                                                     retention application (.8); analyze conflicts
                                                     reports, diligence re same (2.5); correspond
                                                     with K. Gonzalez re same (.3); correspond
                                                     with T. Chanroo re post-petition billing
                                                     procedures (.4); review, revise conflicts
                                                     review tracker (.5).
06/08/21 Eric Nyberg                            5.50 Analyze disclosures re creditors-entities.
06/08/21 Miriam A. Peguero Medrano              0.30 Correspond with N. Levin, conflicts re K&E
                                                     retention.
06/09/21 Michael Y. Chan                        5.50 Organize and review disclosures re creditors-
                                                     entities.
06/09/21 Tiffani Chanroo                        1.80 Revise K&E retention application (.8); revise
                                                     billing memorandum (.3); draft
                                                     correspondence re billing procedure (.4);
                                                     correspond with K&E team re same (.1);
                                                     review conflicts reports (.2).




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Legal Services for the Period Ending June 30, 2021             Invoice Number:           1050048192
Katerra Inc.                                                    Matter Number:             49067-31
K&E Retention and Fee Matters

Date     Name                                  Hours Description
06/09/21 Nir Levin                              8.50 Draft budget and staffing memorandum (5.2);
                                                     analyze precedents re same (.8); correspond
                                                     with D. Latona re same (.2); correspond with
                                                     T. Chanroo, K&E team re K&E retention
                                                     application, conflicts analysis (1.3); revise
                                                     conflicts review tracker (.5); review, revise
                                                     internal billing memorandum re compliance
                                                     with U.S. Trustee guidelines (.5).
06/09/21 Eric Nyberg                            4.00 Research parent company re creditor-entities.
06/09/21 Miriam A. Peguero Medrano              0.30 Correspond with N. Levin, conflicts and
                                                     billing re K&E retention.
06/09/21 Mason N. Zurek                         0.20 Review and analyze conflicts reports (.1);
                                                     review correspondence re time entry
                                                     guidelines (.1).
06/10/21 Rachel S. Briones                      1.10 Analyze K&E conflicts reports.
06/10/21 Michael Y. Chan                        3.00 Organize and review disclosures re creditors-
                                                     entities.
06/10/21 Tiffani Chanroo                        0.60 Revise K&E retention application (.5);
                                                     correspond with K&E team re same (.1).
06/10/21 Emily C. Eggmann                       2.50 Analyze conflicts reports (1.5); correspond
                                                     with A. Hevia and K&E team re same (1.0).
06/10/21 Nir Levin                              6.50 Review, revise K&E retention application
                                                     (4.3); analyze diligence materials, conflicts
                                                     reports re same (1.5); correspond with K&E
                                                     team, A&M re conflicts review, parties in
                                                     interest list (.7).
06/10/21 Maddison Levine                        1.80 Analyze conflicts reports (.8); draft summary
                                                     chart re same (.5); telephone conference with
                                                     A. Hevia, K&E team re same (.5).
06/10/21 Rebecca J. Marston                     2.50 Analyze conflicts report (1.9); update tracker
                                                     draft conflicts summary chart (.6).
06/10/21 Mason N. Zurek                         2.60 Analyze conflicts reports.
06/11/21 Michael Y. Chan                        7.00 Organize and prepare parties for conflicts
                                                     searching for creditors-entities (1.5); analyze
                                                     disclosures re creditors-entities (3.0); draft
                                                     schedules 1 & 2 for declaration (2.5).
06/11/21 Tiffani Chanroo                        1.30 Review conflicts reports (.9); compile conflict
                                                     review tracker (.4).
06/11/21 Nir Levin                              6.00 Review, revise K&E retention application
                                                     (4.0); analyze diligence materials, precedents
                                                     re same (1.2); correspond with K&E team re
                                                     same (.8).


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Legal Services for the Period Ending June 30, 2021             Invoice Number:            1050048192
Katerra Inc.                                                    Matter Number:              49067-31
K&E Retention and Fee Matters

Date     Name                                  Hours Description
06/11/21 Eric Nyberg                            4.00 Draft schedules 1 & 2 re declaration.
06/11/21 Miriam A. Peguero Medrano              2.60 Analyze interested parties list (1.3); revise
                                                     same (.5); correspond with N. Levin, K&E
                                                     team re same (.6); correspond with K&E team
                                                     re motion to seal (.2).
06/13/21 Nir Levin                              4.00 Review, revise K&E retention application
                                                     (2.0); analyze diligence, conflicts reports and
                                                     precedents re same (2.0).
06/14/21 Rachel S. Briones                      2.30 Analyze K&E conflicts reports (2.1);
                                                     correspond with T. Chanroo and N. Levin re
                                                     same (.2).
06/14/21 Tiffani Chanroo                        1.60 Review K&E conflicts reports (.6); compile
                                                     K&E conflict tracker (.7); correspond with
                                                     K&E team re same (.3).
06/14/21 Julia R. Foster                        0.50 Draft motion to seal re K&E retention.
06/14/21 Nir Levin                              1.70 Revise K&E retention application (1.0);
                                                     correspond with M. Peguero re same (.1);
                                                     review, revise budget and staffing
                                                     memorandum (.5); correspond with D. Latona
                                                     re same (.1).
06/14/21 Mason N. Zurek                         1.00 Review and analyze conflicts reports.
06/15/21 Michael Y. Chan                        0.50 Analyze disclosure of creditors-entities (.3);
                                                     revise schedules 1 & 2 for declaration (.2).
06/15/21 Tiffani Chanroo                        0.70 Revise K&E retention application.
06/15/21 Emily C. Eggmann                       1.50 Analyze conflicts reports (.7); draft tracker re
                                                     same (.8).
06/15/21 Nir Levin                              4.70 Revise K&E retention application (1.0);
                                                     analyze conflicts reports, diligence re same
                                                     (.4); correspond with K&E team, JW re same
                                                     (1.5); revise seal motion (.8); research
                                                     precedents re same (.3); revise budget and
                                                     staffing memorandum (.5); correspond with
                                                     D. Latona re same (.2).
06/15/21 Maddison Levine                        1.40 Analyze conflicts reports (.9); revise conflict
                                                     tracker re same (.4); correspond with T.
                                                     Chanroo, N. Levin re same (.1).
06/15/21 Rebecca J. Marston                     1.10 Analyze conflicts report (.7); draft summary
                                                     re same (.4).
06/15/21 Michael Scian                          2.10 Analyze conflicts reports (1.1); draft
                                                     summary re same (1.0).
06/15/21 Mason N. Zurek                         1.20 Analyze conflicts reports.
06/16/21 Michael Y. Chan                        0.50 Revise schedule 1 re declaration.

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Legal Services for the Period Ending June 30, 2021             Invoice Number:           1050048192
Katerra Inc.                                                    Matter Number:             49067-31
K&E Retention and Fee Matters

Date     Name                                  Hours Description
06/16/21 Tiffani Chanroo                        2.50 Compile conflicts report (2.3); correspond
                                                     with K&E team re same (.2).
06/16/21 Dan Latona                             1.70 Comment on K&E retention application.
06/16/21 Nir Levin                              7.40 Revise conflicts review tracker (2.2); analyze
                                                     conflicts reports, diligence (1.2); review,
                                                     revise K&E retention application (2.5);
                                                     correspond with M. Peguero, D. Latona, K&E
                                                     team re same (1.5).
06/16/21 Michael Scian                          0.90 Analyze conflicts reports (.5); draft summary
                                                     re same (.4).
06/17/21 Tiffani Chanroo                        1.30 Compile conflicts reports tracker (1.1);
                                                     correspond with K&E team re same (.2).
06/17/21 Dan Latona                             1.20 Comment on K&E retention application.
06/17/21 Nir Levin                              4.40 Revise budget and staffing memorandum (.5);
                                                     correspond with A&M, K&E team re K&E
                                                     retention application (1.3); review, revise
                                                     same (.5); analyze conflicts reports, diligence
                                                     re same (.8); review, revise motion to seal
                                                     (.4); correspond with M. Peguero re same
                                                     (.2); correspond with E. Jones, K&E team re
                                                     schedules to K&E retention application (.5);
                                                     telephone conference with E. Jones, K&E
                                                     team re same (.2).
06/17/21 Josh Sussberg, P.C.                    0.50 Review and revise K&E retention application.
06/18/21 Dan Latona                             0.50 Comment on K&E retention application.
06/18/21 Nir Levin                              3.00 Review, revise K&E retention application
                                                     (1.5); analyze conflicts reports, diligence re
                                                     same (1.0); correspond with J. Sussberg, K&E
                                                     team re same (.5).
06/18/21 Josh Sussberg, P.C.                    0.20 Correspond with K&E team re retention
                                                     application and review same.
06/19/21 Nir Levin                              1.30 Review, revise K&E retention application
                                                     (.8); analyze diligence materials re same (.4);
                                                     correspond with K&E team re same (.1).
06/19/21 Christine A. Okike, P.C.               1.20 Revise K&E retention application, declaration
                                                     and order.
06/21/21 Tiffani Chanroo                        4.80 Analyze conflicts reports (3.7); compile
                                                     tracker re same (1.1).
06/21/21 Nir Levin                              2.70 Review, revise K&E retention application
                                                     (1.2); analyze diligence materials re same
                                                     (.5); correspond with J. Sussberg, K&E team
                                                     re same (1.0).


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Legal Services for the Period Ending June 30, 2021                  Invoice Number:           1050048192
Katerra Inc.                                                         Matter Number:             49067-31
K&E Retention and Fee Matters

Date       Name                                Hours        Description
06/21/21   Christine A. Okike, P.C.             0.80        Revise K&E retention application.
06/21/21   Miriam A. Peguero Medrano            0.20        Correspond with N. Levin re K&E retention.
06/21/21   Josh Sussberg, P.C.                  0.70        Review and revise K&E retention application
                                                            (.5); correspond with K&E team re same (.2).
06/22/21 Susan D. Golden                         1.00       Review and revise K&E retention application.
06/22/21 Nir Levin                               3.30       Review, revise K&E retention application
                                                            (1.5); analyze diligence re same (.5);
                                                            correspond with J. Sussberg and K&E team re
                                                            same (1.3).
06/22/21 Christine A. Okike, P.C.                0.30       Review K&E retention declaration.
06/22/21 Josh Sussberg, P.C.                     0.20       Analyze revised retention application and
                                                            correspond re same.
06/23/21 Nir Levin                               3.50       Review, revise K&E retention application
                                                            (2.5); correspond with D. Latona, K&E team
                                                            re same (1.0).
06/23/21 Josh Sussberg, P.C.                     0.60       Revise retention application (.3); correspond
                                                            with K&E team re same (.3).
06/24/21 Tiffani Chanroo                         0.30       Compile K&E retention application for filing
                                                            (.2); correspond with K&E team re same (.1).
06/24/21 Nir Levin                               3.10       Revise K&E retention application and
                                                            schedules (1.3); research precedents re same
                                                            (.3); correspond with J. Sussberg, K&E team
                                                            re same (1.5).
06/24/21 Christine A. Okike, P.C.                0.30       Revise K&E retention application.
06/24/21 Josh Sussberg, P.C.                     0.30       Correspond with K&E team re K&E retention
                                                            application.
06/25/21 Tiffani Chanroo                         1.00       Revise K&E retention application (.9);
                                                            correspond with K&E team re same (.1).
06/25/21 Nir Levin                               1.20       Review K&E retention application for filing
                                                            (.8); correspond with D. Latona, T. Chanroo,
                                                            K&E team re same (.4).

Total                                          164.30




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                                                        601 Lexington Avenue
                                                         New York, NY 10022

                                                           FEIN XX-XXXXXXX




August 9, 2021

Katerra Inc.
9305 East Via de Ventura
Scottsdale, AZ 85258

Attn: Christopher Wells

                                                                             Invoice Number: 1050048193
                                                                               Client Matter: 49067-32

In the Matter of Non-K&E Retention and Fee Matters




For legal services rendered through June 30, 2021
(see attached Description of Legal Services for detail)                                                        $ 74,636.50
Total legal services rendered                                                                                  $ 74,636.50




  Austin Bay Area Beijing Boston Brussels Chicago Dallas Hong Kong Houston London Los Angeles Munich Paris Shanghai Washington, D.C.
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Legal Services for the Period Ending June 30, 2021          Invoice Number:   1050048193
Katerra Inc.                                                 Matter Number:     49067-32
Non-K&E Retention and Fee Matters




                                         Summary of Hours Billed

Name                                                     Hours         Rate     Amount
Lisa Aasa                                                  0.80      285.00       228.00
Joshua M. Altman                                           0.70    1,155.00       808.50
Rachel S. Briones                                          9.10      625.00     5,687.50
Emily Flynn                                                7.10      875.00     6,212.50
Julia R. Foster                                            0.30      390.00       117.00
Haroula Gkotsi                                             0.40      765.00       306.00
Elizabeth Helen Jones                                     11.70      765.00     8,950.50
Dan Latona                                                 5.10    1,070.00     5,457.00
Nir Levin                                                  0.40      765.00       306.00
Maddison Levine                                           17.20      625.00    10,750.00
Christine A. Okike, P.C.                                   8.40    1,495.00    12,558.00
Miriam A. Peguero Medrano                                 15.30      875.00    13,387.50
Tommy Scheffer                                             4.60      875.00     4,025.00
Michael Scian                                              7.40      625.00     4,625.00
Josh Sussberg, P.C.                                        0.50    1,695.00       847.50
Lydia Yale                                                 1.30      285.00       370.50

TOTALS                                                    90.30               $ 74,636.50




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Legal Services for the Period Ending June 30, 2021            Invoice Number:           1050048193
Katerra Inc.                                                   Matter Number:             49067-32
Non-K&E Retention and Fee Matters


                                       Description of Legal Services

Date     Name                                  Hours Description
06/08/21 Lisa Aasa                              0.80 Review, revise interim compensation motion
                                                     and correspond with D. Latona and L.
                                                     Rosenberg re same.
06/08/21 Rachel S. Briones                      0.90 Correspond with D. Latona re interim
                                                     compensation order.
06/08/21 Elizabeth Helen Jones                  0.50 Correspond with K&E team, KPMG re
                                                     KPMG retention application.
06/08/21 Maddison Levine                        0.90 Analyze A&M retention application (.8);
                                                     correspond with A&M re same (.1).
06/08/21 Miriam A. Peguero Medrano              0.50 Correspond with A&M, K&E team re A&M
                                                     retention, OCP motion.
06/08/21 Josh Sussberg, P.C.                    0.40 Telephone conference with Weil re A&M
                                                     engagement letter (.2); telephone conference
                                                     with M. Leibman re same (.2).
06/09/21 Rachel S. Briones                      2.20 Draft interim compensation motion (1.9);
                                                     research precedent re same (.2); correspond
                                                     with D. Latona re same (.1).
06/09/21 Elizabeth Helen Jones                  0.40 Correspond with M. Scian re KPMG retention
                                                     application.
06/09/21 Miriam A. Peguero Medrano              1.20 Revise ordinary course professionals motion
                                                     (1.0); correspond with A&M re same (.2).
06/09/21 Josh Sussberg, P.C.                    0.10 Correspond re DIP and Houlihan, A&M
                                                     engagement letters.
06/09/21 Lydia Yale                             1.30 Draft KPMG retention application.
06/10/21 Rachel S. Briones                      2.40 Revise interim compensation motion (1.6);
                                                     correspond with D. Latona, S. Golden and A.
                                                     Yenamandra re same (.3); analyze precedent
                                                     re same (.3); correspond with JW re same (.2).
06/10/21 Elizabeth Helen Jones                  0.30 Correspond with N. Levin, KPMG re KPMG
                                                     retention application.
06/10/21 Dan Latona                             0.50 Comment on interim compensation motion.
06/10/21 Maddison Levine                        2.50 Review, revise A&M retention application
                                                     (1.8); analyze precedent re same (.5); analyze
                                                     A&M engagement letter (.2).
06/10/21 Christine A. Okike, P.C.               0.30 Telephone conference with D. Latona, J.
                                                     Robinson, J. Altman re second day motions
                                                     and retention applications.




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Katerra Inc.                                                   Matter Number:            49067-32
Non-K&E Retention and Fee Matters

Date     Name                                  Hours Description
06/10/21 Miriam A. Peguero Medrano              0.50 Correspond with A&M re OCP motion (.3);
                                                     telephone conference with M. Levine re
                                                     A&M application (.2).
06/10/21 Tommy Scheffer                         0.80 Correspond with A&M, K&E team re OCP
                                                     motion, interim compensation procedures
                                                     motion (.5); analyze same (.3).
06/11/21 Rachel S. Briones                      1.10 Revise interim compensation motion (.9);
                                                     correspond with K&E team, Weil re same
                                                     (.2).
06/11/21 Elizabeth Helen Jones                  0.60 Compile interested parties list re KPMG
                                                     retention application (.4); correspond with
                                                     KPMG re same (.2).
06/11/21 Maddison Levine                        2.40 Revise A&M retention application (1.8);
                                                     analyze precedent re same (.4); correspond
                                                     with A&M re same (.2).
06/11/21 Christine A. Okike, P.C.               0.70 Review, revise interim compensation motion.
06/11/21 Miriam A. Peguero Medrano              2.00 Revise A&M retention application (1.8);
                                                     correspond with M. Levine re same (.2).
06/11/21 Tommy Scheffer                         0.30 Correspond with Weil, K&E team re interim
                                                     compensation motion (.2); analyze same (.1).
06/11/21 Michael Scian                          3.40 Draft retention application for KPMG (3.1);
                                                     correspond with E. Jones re same (.3).
06/12/21 Emily Flynn                            0.70 Revise Houlihan retention application (.5);
                                                     correspond with Houlihan re same (.2).
06/12/21 Maddison Levine                        1.20 Revise A&M retention application (1.1);
                                                     correspond with M. Pegureo re same (.1).
06/14/21 Rachel S. Briones                      0.90 Revise interim compensation motion (.6);
                                                     correspond with C. Okike and K&E team re
                                                     same (.2); correspond with JW re same (.1).
06/14/21 Tommy Scheffer                         1.60 Correspond with Weil, JW, K&E team re
                                                     interim compensation motion (.5); review and
                                                     revise same (1.1).
06/15/21 Elizabeth Helen Jones                  0.80 Analyze KPMG retention application (.6);
                                                     correspond with M. Scian re same (.2).
06/15/21 Michael Scian                          0.60 Review and revise ordinary course
                                                     professionals motion.
06/16/21 Elizabeth Helen Jones                  2.10 Revise KPMG retention application (1.8);
                                                     correspond with D. Latona, M. Scian re same
                                                     (.3).




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Non-K&E Retention and Fee Matters

Date     Name                                  Hours Description
06/16/21 Maddison Levine                        3.20 Revise A&M retention application (1.8);
                                                     analyze engagement letter re same (.3);
                                                     analyze precedent re same (.8); correspond
                                                     with M. Peguero, A&M re same (.3).
06/16/21 Michael Scian                          1.30 Draft KPMG retention application.
06/17/21 Rachel S. Briones                      0.90 Correspond with S. Golden, A. Yenamandra
                                                     and D. Latona re interim compensation order
                                                     (.4); analyze precedent re same (.5).
06/17/21 Emily Flynn                            0.90 Revise Houlihan retention application (.6);
                                                     correspond with Houlihan re same (.3).
06/17/21 Julia R. Foster                        0.30 Research precedent re A&M retention order.
06/17/21 Elizabeth Helen Jones                  2.60 Correspond with M. Scian re revised KPMG
                                                     retention application (.1); review interested
                                                     parties list (1.9); correspond with N. Levin,
                                                     KPMG re same (.6).
06/17/21 Dan Latona                             0.80 Revise KPMG retention application (.3);
                                                     revise ordinary course professionals motion
                                                     (.5).
06/17/21 Maddison Levine                        0.60 Review, revise A&M retention application
                                                     (.3); analyze precedent re same (.2);
                                                     correspond with M. Peguero re same (.1).
06/17/21 Michael Scian                          1.40 Review, revise KPMG retention letter.
06/18/21 Emily Flynn                            1.30 Revise Houlihan retention application (.8);
                                                     correspond with D. Latona, Houlihan re same
                                                     (.4); telephone conference with J. Ebb re same
                                                     (.1).
06/18/21 Dan Latona                             2.00 Revise Houlihan retention application.
06/19/21 Christine A. Okike, P.C.               0.60 Review and revise OCP motion.
06/21/21 Emily Flynn                            1.50 Revise Houlihan retention application (1.3);
                                                     correspond with C. Okike, D. Latona re same
                                                     (.2).
06/21/21 Elizabeth Helen Jones                  2.00 Analyze KPMG retention application, order
                                                     and declaration (.3); revise same (1.6);
                                                     correspond with KPMG re same (.1).
06/21/21 Dan Latona                             1.00 Revise A&M retention application (.5); revise
                                                     KPMG retention application (.5).
06/21/21 Nir Levin                              0.40 Analyze party in interests lists (.3);
                                                     correspond with M. Scian re same (.1).
06/21/21 Maddison Levine                        2.80 Revise A&M retention application (2.1);
                                                     correspond with A&M, M. Peguero re same
                                                     (.3); analyze precedent re same (.4).


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Katerra Inc.                                                    Matter Number:              49067-32
Non-K&E Retention and Fee Matters

Date     Name                                  Hours Description
06/21/21 Christine A. Okike, P.C.               3.40 Revise Houlihan retention application (3.2);
                                                     revise ordinary course professionals motion
                                                     (.2).
06/21/21 Miriam A. Peguero Medrano              2.90 Revise ordinary course professionals motion
                                                     (.5); correspond with C. Okike, D. Latona,
                                                     Weil re same (.4); further revise same (.4);
                                                     correspond with K&E team re same (.2);
                                                     prepare filing version (.2); correspond with
                                                     JW (.1); correspond with M. Levine, D.
                                                     Latona and A&M re A&M retention
                                                     application (.8); review same (.3).
06/21/21 Michael Scian                          0.70 Revise KPMG retention letter (.5);
                                                     correspond with N. Levin and E. Jones re
                                                     revised parties in interest list (.2).
06/22/21 Joshua M. Altman                       0.70 Telephone conference with D. Latona, A&M
                                                     re retention matters (.5); follow up with D.
                                                     Latona, A&M re same (.2).
06/22/21 Emily Flynn                            1.60 Revise Houlihan application (1.3); correspond
                                                     with K&E team, Houlihan re same (.3).
06/22/21 Haroula Gkotsi                         0.40 Correspond with M. Peguero re A&M
                                                     engagement letter (.2); review and analyze
                                                     same (.2).
06/22/21 Elizabeth Helen Jones                  0.10 Correspond with KPMG re retention
                                                     application.
06/22/21 Dan Latona                             0.60 Telephone conference with J. Robinson,
                                                     A&M re retention matters.
06/22/21 Maddison Levine                        1.40 Revise A&M retention application (.8);
                                                     telephone conference with A&M, D. Latona,
                                                     J. Altman, M. Peguero re same (.6).
06/22/21 Christine A. Okike, P.C.               1.40 Review and revise A&M retention
                                                     application, declaration and order.
06/22/21 Miriam A. Peguero Medrano              2.50 Revise A&M retention application (1.5);
                                                     correspond with A&M, D. Latona re same
                                                     (.2); telephone conference with A&M, J.
                                                     Altman, D. Latona, M. Levine re A&M
                                                     conflicts (.5); further revise application (.3).
06/22/21 Tommy Scheffer                         1.90 Correspond with A&M, K&E team re
                                                     retention agreement (.7); research re same
                                                     (1.2).
06/23/21 Emily Flynn                            0.50 Correspond with Houlihan re retention
                                                     application (.2); revise same (.3).




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Non-K&E Retention and Fee Matters

Date     Name                                  Hours Description
06/23/21 Elizabeth Helen Jones                  1.90 Revise KPMG retention application (.9);
                                                     correspond with KPMG, D. Latona re same
                                                     (.3); review JW retention application (.6);
                                                     correspond with JW re same (.1).
06/23/21 Maddison Levine                        0.40 Revise A&M retention application (.3);
                                                     correspond with A&M, D. Latona, M.
                                                     Peguero re same (.1).
06/23/21 Christine A. Okike, P.C.               0.50 Review and revise A&M retention
                                                     application.
06/23/21 Miriam A. Peguero Medrano              1.20 Revise A&M retention application (.2);
                                                     correspond with C. Okike, D. Latona re same
                                                     (.1); correspond with M. Levine re same (.2);
                                                     correspond with A&M re ordinary course
                                                     professionals procedures (.5); further review
                                                     A&M application (.2).
06/24/21 Emily Flynn                            0.60 Analyze Houlihan retention application (.4);
                                                     prepare same for filing (.2).
06/24/21 Miriam A. Peguero Medrano              0.30 Revise A&M retention application (.1);
                                                     correspond with C. Okike, D. Latona re same
                                                     (.2).
06/25/21 Elizabeth Helen Jones                  0.40 Prepare KPMG application for filing (.3);
                                                     correspond with D. Latona, K&E team re
                                                     same (.1).
06/25/21 Maddison Levine                        1.80 Revise A&M retention application (.7);
                                                     correspond with M. Peguero, D. Latona, C.
                                                     Okike re same (.3); prepare A&M retention
                                                     application for filing (.6); correspond with
                                                     JW, D. Latona, M. Peguero, C. Okike re same
                                                     (.2).
06/25/21 Christine A. Okike, P.C.               1.50 Analyze retention applications for Houlihan,
                                                     A&M and KPMG.
06/25/21 Miriam A. Peguero Medrano              0.50 Correspond with A&M, K&E team re
                                                     retention applications (.3); review filing
                                                     version of same (.2).
06/28/21 Miriam A. Peguero Medrano              0.50 Correspond with K&E team re ordinary
                                                     course professionals order (.1); correspond
                                                     with A&M re same (.3); correspond with JW
                                                     re same (.1).
06/29/21 Dan Latona                             0.20 Telephone conference with A&M re ordinary
                                                     course professionals.




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Katerra Inc.                                                   Matter Number:             49067-32
Non-K&E Retention and Fee Matters

Date     Name                                  Hours Description
06/29/21 Miriam A. Peguero Medrano              1.20 Correspond with A&M re ordinary course
                                                     professionals motion (.2); telephone
                                                     conference with A&M, K&E team re same
                                                     (.5); correspond with JW re U.S. Trustee
                                                     comments to ordinary course professionals
                                                     (.2); revise same (.3).
06/30/21 Rachel S. Briones                      0.70 Revise interim compensation order (.4);
                                                     correspond with D. Latona re same (.3).
06/30/21 Miriam A. Peguero Medrano              2.00 Correspond with JW re ordinary course
                                                     professionals motion (.1); correspond with D.
                                                     Latona, A. Terteryan re same (.1); telephone
                                                     conference with V. Anaya re ordinary course
                                                     professionals order (.2); correspond with D.
                                                     Latona, A. Terteyan re same (.2); correspond
                                                     and telephone conference with A&M re same
                                                     (.2); revise order (.2); correspond with D.
                                                     Latona, C. Okike re same (.2); further revise
                                                     proposed order and correspond with C. Okike
                                                     re same (.4); correspond with U.S. Trustee re
                                                     revised proposed ordinary course
                                                     professionals order (.1); correspond with
                                                     DLA Piper, A&M re ordinary course
                                                     professionals list (.3).

Total                                           90.30




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                                                        601 Lexington Avenue
                                                         New York, NY 10022

                                                           FEIN XX-XXXXXXX




August 9, 2021

Katerra Inc.
9305 East Via de Ventura
Scottsdale, AZ 85258

Attn: Christopher Wells

                                                                             Invoice Number: 1050048194
                                                                               Client Matter: 49067-33

In the Matter of Schedules and Statements




For legal services rendered through June 30, 2021
(see attached Description of Legal Services for detail)                                                        $ 60,468.50
Total legal services rendered                                                                                  $ 60,468.50




  Austin Bay Area Beijing Boston Brussels Chicago Dallas Hong Kong Houston London Los Angeles Munich Paris Shanghai Washington, D.C.
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Katerra Inc.                                                 Matter Number:     49067-33
Schedules and Statements




                                         Summary of Hours Billed

Name                                                     Hours         Rate     Amount
Lindsey Blum                                               6.70      765.00     5,125.50
Alex Hevia                                                18.10      875.00    15,837.50
Dan Latona                                                 2.50    1,070.00     2,675.00
Nir Levin                                                  0.60      765.00       459.00
Christine A. Okike, P.C.                                   0.50    1,495.00       747.50
Miriam A. Peguero Medrano                                  0.40      875.00       350.00
Joshua Robinson                                            1.60      995.00     1,592.00
Tommy Scheffer                                             1.30      875.00     1,137.50
Michael Scian                                             51.80      625.00    32,375.00
Josh Sussberg, P.C.                                        0.10    1,695.00       169.50

TOTALS                                                    83.60               $ 60,468.50




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Katerra Inc.                                                    Matter Number:              49067-33
Schedules and Statements


                                       Description of Legal Services

Date     Name                                  Hours Description
06/08/21 Lindsey Blum                           1.50 Conference with A&M, K&E team, M. Scian
                                                     re schedules (.5); review precedent re same
                                                     (.3); correspond with K&E team, M. Scian re
                                                     global notes (.7).
06/08/21 Michael Scian                          2.60 Correspond with K&E team, L. Blum and
                                                     A&M re statements of financial activities (.2);
                                                     telephone conference with A. Hevia re same
                                                     (.6); research, analyze precedent re Schedule
                                                     G language in Southern District of Texas
                                                     (1.8).
06/09/21 Alex Hevia                             1.00 Telephone conference with K&E team, D.
                                                     Latona and A&M re statement of financial
                                                     activities process (.7); correspond with L.
                                                     Blum and M. Scian re same (.2); review and
                                                     analyze global note precedent (.1).
06/09/21 Dan Latona                             0.50 Telephone conference with A. Hevia, K&E
                                                     team, A&M re schedules.
06/09/21 Michael Scian                          2.70 Prepare for and telephone conference re
                                                     statements of financial activities with K&E
                                                     team, A. Hevia and A&M (.6); research,
                                                     analyze notice requirements for potential
                                                     Company creditors (.9); research, analyze
                                                     former officer and director disclosure
                                                     requirements (.8); correspond with A. Hevia
                                                     re same (.4).
06/10/21 Alex Hevia                             0.80 Correspond with L. Blum, M. Scian and JW
                                                     re statements of financial activity and
                                                     schedules of assets and liabilities (.5); review
                                                     and analyze precedent global notes (.3).
06/10/21 Michael Scian                          6.10 Research, analyze lookback period re former
                                                     directors and officers as pertains to disclosure
                                                     of insiders (3.7); draft email memorandum re
                                                     same (2.2); telephone conference with A.
                                                     Hevia re same (.2).
06/11/21 Alex Hevia                             0.20 Correspond with M. Scian re statement of
                                                     financial activities and schedules of assets and
                                                     liabilities diligence.
06/11/21 Christine A. Okike, P.C.               0.50 Telephone conference with T. Behnke
                                                     (A&M) re schedules and statements.




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Schedules and Statements

Date     Name                                  Hours Description
06/11/21 Michael Scian                          4.10 Research, analyze notice requirements re
                                                     possible Company creditors (2.8); revise
                                                     email memorandum draft re same (1.3).
06/12/21 Tommy Scheffer                         0.80 Correspond with Company, A&M, K&E
                                                     team, A. Hevia re schedules and statements
                                                     reporting.
06/13/21 Alex Hevia                             1.10 Analyze research re notice and statements of
                                                     financial activities and schedules of assets and
                                                     liabilities (.8); correspond with M. Scian re
                                                     same (.2); correspond with A&M, JW and D.
                                                     Latona re initial debtor interview (.1).
06/14/21 Alex Hevia                             0.80 Correspond with A&M, K&E team and L.
                                                     Blum re statements of financial activities and
                                                     schedules of assets and liabilities and related
                                                     noticing issues (.3); correspond with T.
                                                     Behnke (A&M) re insider analysis (.5).
06/14/21 Tommy Scheffer                         0.50 Correspond with Company, A&M, K&E
                                                     team, A. Hevia re schedules and statements.
06/15/21 Lindsey Blum                           1.50 Conference with K&E team, A. Hevia and
                                                     A&M re schedules planning (.5); review issue
                                                     re data retention (.5); conference with K&E
                                                     team, A. Hevia re same (.5).
06/15/21 Alex Hevia                             2.30 Telephone conferences with A&M, L. Blum
                                                     and M. Scian re statements of financial
                                                     activities, schedules of assets and liabilities
                                                     and global notes (.5); telephone conference
                                                     with J. Wertz (JW) re data recovery (.3);
                                                     review and analyze global note precedent
                                                     (1.5).
06/15/21 Michael Scian                          4.00 Draft global notes, schedules and statements
                                                     (3.2); prepare for and telephone conference
                                                     with A. Hevia, L. Blum and A&M re same
                                                     (.6); telephone conference with A. Hevia re
                                                     same (.2).
06/16/21 Lindsey Blum                           0.60 Telephone conference with A&M, Fenwick re
                                                     data retention.
06/16/21 Alex Hevia                             0.90 Analyze global notes (.4); correspond with
                                                     A&M and M. Scian re same (.5).
06/16/21 Joshua Robinson                        1.40 Telephone conference with K&E team, A&M
                                                     re statements of financial activities data (.2);
                                                     review analysis re schedules and statements
                                                     (.9); correspond with K&E team, D. Latona re
                                                     same (.3).


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Schedules and Statements

Date     Name                                  Hours Description
06/16/21 Michael Scian                          0.20 Prepare for and telephone conference with A.
                                                     Hevia, L. Blum and A&M re global note,
                                                     schedules and statements.
06/17/21 Lindsey Blum                           1.60 Revise global notes.
06/17/21 Alex Hevia                             0.50 Revise global notes.
06/17/21 Michael Scian                          3.70 Revise global notes, schedules and
                                                     statements.
06/18/21 Alex Hevia                             1.20 Revise global notes (1.1); correspond with M.
                                                     Scian re same (.1).
06/18/21 Michael Scian                          1.90 Revise global notes, schedules and statements
                                                     (1.7); correspond with A. Hevia re same (.2).
06/19/21 Michael Scian                          1.40 Research, analysis re insider payments and
                                                     global notes and scheduling.
06/21/21 Alex Hevia                             0.20 Review and analyze global notes.
06/21/21 Dan Latona                             1.00 Comment on global notes.
06/21/21 Michael Scian                          3.90 Revise global notes (2.1); research, analyze
                                                     statements of financial activities precedent re
                                                     refinancing transactions (1.8).
06/21/21 Josh Sussberg, P.C.                    0.10 Telephone conference with P. Klibsgaard re
                                                     schedules.
06/22/21 Alex Hevia                             0.90 Review global notes (.4); correspond with
                                                     A&M and M. Scian re same (.5).
06/22/21 Nir Levin                              0.60 Analyze diligence re Company's payments
                                                     (.3); correspond with A&M, J. Robinson,
                                                     K&E team re same (.3).
06/22/21 Miriam A. Peguero Medrano              0.40 Correspond with N. Levin, A. Hevia re
                                                     schedules and statements (.2); telephone
                                                     conference with A. Hevia re same (.2).
06/22/21 Joshua Robinson                        0.20 Correspond with A&M re schedules and
                                                     statements.
06/22/21 Michael Scian                          4.30 Research, analyze case law re SOFA
                                                     disclosures re employees (3.1); draft email
                                                     memorandum re same (1.2).
06/23/21 Alex Hevia                             0.70 Review and analyze global notes (.1);
                                                     correspond and conference with L. Blum,
                                                     A&M re schedules and statements (.6).
06/23/21 Dan Latona                             0.50 Telephone conference with A. Hevia, A&M
                                                     re schedules and statements.




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Date     Name                                  Hours Description
06/23/21 Michael Scian                          2.10 Prepare for and telephone conference with
                                                     K&E team, A. Hevia re SOFAs (.4); research,
                                                     analyze case law re employee salary
                                                     reimbursement scenario as it pertains to
                                                     listing on disclosure documents (.9); prepare
                                                     for and telephone conference with A. Hevia,
                                                     K&E team, A&M re SOFAS, schedules and
                                                     global notes (.2); prepare for and telephone
                                                     conference with K&E team re global notes
                                                     and refinancing research (.6).
06/24/21 Alex Hevia                             0.50 Correspond with A&M, L. Blum re schedules
                                                     and statements (.4); review and analyze
                                                     precedent re same (.1).
06/24/21 Michael Scian                          0.60 Correspond with K&E team re schedules and
                                                     statements draft revisions.
06/25/21 Alex Hevia                             0.10 Correspond with L. Blum, A&M re schedules
                                                     and statements.
06/27/21 Alex Hevia                             2.10 Review and revise global notes.
06/28/21 Alex Hevia                             3.50 Review and revise global notes (2.1);
                                                     telephone conferences and correspond with
                                                     A&M and T. Behnke re schedules, statements
                                                     and global notes (.8); review and research
                                                     precedent re same (.6).
06/28/21 Michael Scian                          7.50 Analyze employee issues re schedules and
                                                     statements (3.7); draft email memorandum re
                                                     same (3.6); correspond with A. Hevia and L.
                                                     Blum re same (.2).
06/29/21 Lindsey Blum                           1.50 Conference with A&M and Company re
                                                     schedules review.
06/29/21 Alex Hevia                             0.40 Review and revise global notes (.1);
                                                     correspond and conference with A&M, K&E
                                                     team, L. Blum and T. Behnke re same (.3).
06/29/21 Michael Scian                          2.60 Prepare for and telephone conference with
                                                     K&E team, A. Hevia, A&M and Company re
                                                     schedules and statements review.
06/30/21 Alex Hevia                             0.90 Correspond and conference with A&M and T.
                                                     Behnke re schedules, statements and global
                                                     notes (.3); review and revise global notes (.6).
06/30/21 Dan Latona                             0.50 Telephone conference with A. Hevia, A&M
                                                     re schedules.




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Legal Services for the Period Ending June 30, 2021            Invoice Number:          1050048194
Katerra Inc.                                                   Matter Number:            49067-33
Schedules and Statements

Date     Name                                  Hours Description
06/30/21 Michael Scian                          4.10 Analyze first day declarations re Company's
                                                     past refinancing arrangements and draft
                                                     appropriate language for global notes, SOFAs
                                                     (3.6); correspond with A. Hevia and L. Blum
                                                     re same (.2); prepare for and telephone
                                                     conference with K&E team, A. Hevia, A&M
                                                     re schedules and statements (.3).

Total                                           83.60




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                                                        601 Lexington Avenue
                                                         New York, NY 10022

                                                           FEIN XX-XXXXXXX




August 9, 2021

Katerra Inc.
9305 East Via de Ventura
Scottsdale, AZ 85258

Attn: Christopher Wells

                                                                             Invoice Number: 1050048195
                                                                               Client Matter: 49067-34

In the Matter of Tax Matters




For legal services rendered through June 30, 2021
(see attached Description of Legal Services for detail)                                                        $ 18,835.50
Total legal services rendered                                                                                  $ 18,835.50




  Austin Bay Area Beijing Boston Brussels Chicago Dallas Hong Kong Houston London Los Angeles Munich Paris Shanghai Washington, D.C.
            Case 21-31861 Document 834 Filed in TXSB on 08/09/21 Page 169 of 221
Legal Services for the Period Ending June 30, 2021          Invoice Number:   1050048195
Katerra Inc.                                                 Matter Number:     49067-34
Tax Matters




                                         Summary of Hours Billed

Name                                                     Hours         Rate     Amount
Emily C. Eggmann                                          0.50       625.00       312.50
Dan Latona                                                0.70     1,070.00       749.00
Nir Levin                                                 5.50       765.00     4,207.50
Anthony Vincenzo Sexton                                   4.80     1,325.00     6,360.00
Christopher J. Worek                                      7.10     1,015.00     7,206.50

TOTALS                                                    18.60               $ 18,835.50




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Legal Services for the Period Ending June 30, 2021            Invoice Number:           1050048195
Katerra Inc.                                                   Matter Number:             49067-34
Tax Matters


                                       Description of Legal Services

Date     Name                                  Hours Description
06/06/21 Anthony Vincenzo Sexton                0.80 Analyze tax diligence issues and related
                                                     materials.
06/07/21 Nir Levin                              2.70 Revise NOL order (1.2); correspond with U.S.
                                                     Trustee, JW, K&E team, D. Latona re same
                                                     (.8); revise taxes order (.5); correspond with
                                                     K&E team, D. Latona re same (.2).
06/07/21 Anthony Vincenzo Sexton                0.60 Analyze DIP documentation issues (.5);
                                                     correspond with K&E team, D. Latona re
                                                     payroll withholding issues (.1).
06/08/21 Nir Levin                              1.60 Revise NOL order (.8); correspond with K&E
                                                     team, D. Latona, JW re same (.4); correspond
                                                     with S. Golden, D. Latona re publication of
                                                     notice of entry of NOL order (.4).
06/08/21 Christopher J. Worek                   0.20 Analyze asset purchase agreement term sheet.
06/09/21 Nir Levin                              0.90 Correspond with S. Golden, K&E team,
                                                     Prime Clerk re notice of entry of NOL order
                                                     (.8); review, revise same (.1).
06/09/21 Anthony Vincenzo Sexton                0.20 Revise asset purchase agreement.
06/09/21 Christopher J. Worek                   1.20 Analyze asset purchase agreement for tax
                                                     comments and incorporate same (1.1);
                                                     correspond re same and transfer tax (.1).
06/11/21 Anthony Vincenzo Sexton                0.10 Analyze materials re pledge issues.
06/14/21 Anthony Vincenzo Sexton                0.40 Analyze tax diligence materials.
06/15/21 Dan Latona                             0.70 Telephone conference with A&M, KPMG re
                                                     tax diligence.
06/15/21 Anthony Vincenzo Sexton                0.60 Telephone conference with Weil and
                                                     SoftBank re equity trading motion (.3);
                                                     correspond with Weil and SoftBank re same
                                                     (.1); analyze tax diligence issues (.2).
06/18/21 Anthony Vincenzo Sexton                0.20 Correspond with K&E team, D. Latona re
                                                     structuring issues.
06/19/21 Anthony Vincenzo Sexton                0.20 Correspond with KPMG re tax diligence
                                                     issues.
06/21/21 Anthony Vincenzo Sexton                0.40 Analyze deal-related materials (.2); review
                                                     sales tax materials (.2).
06/22/21 Anthony Vincenzo Sexton                0.20 Analyze sales tax issues.




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Legal Services for the Period Ending June 30, 2021             Invoice Number:            1050048195
Katerra Inc.                                                    Matter Number:              49067-34
Tax Matters

Date     Name                                  Hours Description
06/22/21 Christopher J. Worek                   1.50 Correspond re sales tax, sales tax notes and
                                                     telephone conference with A&M re same
                                                     (1.1); review asset mapping re sales and
                                                     structure re same (.4).
06/23/21 Christopher J. Worek                   0.60 Telephone conference with KPMG, A&M re
                                                     sales tax and review A&M spreadsheet re
                                                     same.
06/24/21 Christopher J. Worek                   0.60 Analyze, revise asset purchase agreement re
                                                     tax comments.
06/25/21 Anthony Vincenzo Sexton                0.20 Analyze deal analysis materials.
06/25/21 Christopher J. Worek                   1.30 Research sales tax, penalties and interest,
                                                     application to responsible persons and
                                                     correspond re same.
06/27/21 Anthony Vincenzo Sexton                0.20 Review deal analysis materials.
06/28/21 Emily C. Eggmann                       0.50 Correspond with A&M re taxes schedule.
06/28/21 Nir Levin                              0.30 Correspond with E. Eggmann re tax
                                                     schedules.
06/28/21 Christopher J. Worek                   0.90 Research and correspond re sales tax and
                                                     responsible person liability (.8); correspond
                                                     with K&E team re asset and equity sales (.1).
06/29/21 Anthony Vincenzo Sexton                0.70 Telephone conference with KPMG re status
                                                     of tax analysis (.5); review deal materials and
                                                     analysis (.2).
06/29/21 Christopher J. Worek                   0.80 Prepare for and telephone conference with
                                                     KPMG re sales tax (.5); analyze responsible
                                                     person analysis (.3).

Total                                           18.60




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                                                        601 Lexington Avenue
                                                         New York, NY 10022

                                                           FEIN XX-XXXXXXX




August 9, 2021

Katerra Inc.
9305 East Via de Ventura
Scottsdale, AZ 85258

Attn: Christopher Wells

                                                                             Invoice Number: 1050048196
                                                                               Client Matter: 49067-36

In the Matter of Use, Sale, and Lease of Property




For legal services rendered through June 30, 2021
(see attached Description of Legal Services for detail)                                                      $ 557,082.50
Total legal services rendered                                                                                $ 557,082.50




  Austin Bay Area Beijing Boston Brussels Chicago Dallas Hong Kong Houston London Los Angeles Munich Paris Shanghai Washington, D.C.
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Legal Services for the Period Ending June 30, 2021          Invoice Number:   1050048196
Katerra Inc.                                                 Matter Number:     49067-36
Use, Sale, and Lease of Property




                                         Summary of Hours Billed

Name                                                     Hours         Rate    Amount
Joshua M. Altman                                          54.10    1,155.00   62,485.50
Jack N. Bernstein                                          4.00    1,445.00    5,780.00
Katya Boyko                                               12.60    1,070.00   13,482.00
Rachel S. Briones                                         46.80      625.00   29,250.00
Jack Chadderdon                                           13.00      875.00   11,375.00
Tiffani Chanroo                                           50.70      625.00   31,687.50
Evan Chavez                                               10.30      625.00    6,437.50
Daniel Cho                                                 2.70      995.00    2,686.50
Bernadette Coppola                                         2.70    1,070.00    2,889.00
Neil Datar                                                 9.70      625.00    6,062.50
Danielle Dulitzky                                         45.10      875.00   39,462.50
Emily C. Eggmann                                           0.70      625.00      437.50
John D. Furlow                                            43.30    1,195.00   51,743.50
Rodin M. Hai-Jew, P.C.                                     6.30    1,295.00    8,158.50
Sara Handibode                                             0.80      460.00      368.00
Tony Johnston                                             39.10    1,185.00   46,333.50
Elizabeth Helen Jones                                      1.60      765.00    1,224.00
R.D. Kohut                                                 0.50    1,245.00      622.50
Dan Latona                                                 8.80    1,070.00    9,416.00
Nir Levin                                                 24.90      765.00   19,048.50
Roberto S. Miceli                                          1.00    1,475.00    1,475.00
Jeffrey Norgle                                            17.60      390.00    6,864.00
Jeffery S. Norman, P.C.                                    5.40    1,645.00    8,883.00
Christine A. Okike, P.C.                                  19.80    1,495.00   29,601.00
Carrie Therese Oppenheim                                   0.50      460.00      230.00
Miriam A. Peguero Medrano                                 18.80      875.00   16,450.00
Joshua Robinson                                            4.60      995.00    4,577.00
Leo Rosenberg                                              0.70      285.00      199.50
Yusuf Salloum                                             80.50      995.00   80,097.50
Tommy Scheffer                                             2.90      875.00    2,537.50
Josh Sussberg, P.C.                                        1.90    1,695.00    3,220.50
Anna Terteryan                                             1.00    1,080.00    1,080.00


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Legal Services for the Period Ending June 30, 2021         Invoice Number:    1050048196
Katerra Inc.                                                Matter Number:      49067-36
Use, Sale, and Lease of Property

Name                                                     Hours        Rate      Amount
Rami Totari                                               45.60   1,125.00     51,300.00
Seth Traxler, P.C.                                         1.00   1,555.00      1,555.00
Mason N. Zurek                                             0.10     625.00         62.50

TOTALS                                                   579.10              $ 557,082.50




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Legal Services for the Period Ending June 30, 2021            Invoice Number:           1050048196
Katerra Inc.                                                   Matter Number:             49067-36
Use, Sale, and Lease of Property


                                       Description of Legal Services

Date     Name                                  Hours Description
06/06/21 Joshua M. Altman                       4.00 Telephone conferences and correspond with
                                                     parties re sale matters (1.9); comment on term
                                                     sheets, sale documents re same (2.1).
06/06/21 Bernadette Coppola                     1.50 Analyze comments to intellectual property
                                                     schedules (.3); draft revisions to same (1.1);
                                                     correspond with K&E team re same (.1).
06/06/21 Danielle Dulitzky                      3.30 Review, revise bidding procedures and related
                                                     materials.
06/06/21 Tony Johnston                          0.50 Correspond re Fortune-Johnson transaction
                                                     post-closing logistics.
06/06/21 Jeffrey Norgle                         3.00 Review and analyze intellectual property
                                                     disclosure schedules (2.6); correspond with
                                                     requesting attorney re comments and
                                                     revisions (.4).
06/07/21 Joshua M. Altman                       2.60 Telephone conferences with Canadian
                                                     counsel, MGA re sale process (.4); develop
                                                     strategy re same (.4); revise sale motion and
                                                     correspond with Y. Salloum re same (1.8).
06/07/21 Joshua M. Altman                       2.10 Telephone conferences and correspond with
                                                     parties re sale matters (1.9); comment on term
                                                     sheets, sale documents re same (.2).
06/07/21 Rachel S. Briones                      7.00 Draft sale motion (3.2); revise same (3.2);
                                                     correspond with Y. Salloum and J. Altman re
                                                     same (.6).
06/07/21 Jack Chadderdon                        3.70 Draft initial asset purchase agreement (2.9);
                                                     review and analyze term sheet re same (.8).
06/07/21 Tiffani Chanroo                        1.90 Revise sale motion (1.7); correspond with Y.
                                                     Salloum re same (.2).
06/07/21 Bernadette Coppola                     0.20 Correspond with K&E team re intellectual
                                                     property schedules.
06/07/21 Rodin M. Hai-Jew, P.C.                 0.50 Correspond with K&E team re term sheet
                                                     (.2); coordinate drafting of asset purchase
                                                     agreement (.3).
06/07/21 Tony Johnston                          4.10 Correspond with opposing counsel re
                                                     Fortune-Johnson redemption post-closing
                                                     logistics (.6); review and analyze term sheets
                                                     for sale of Tracy Assets, remodel business
                                                     and architecture business (1.8); review and
                                                     analyze APA precedent re same (1.2);
                                                     correspond with K&E team re same (.5).

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Legal Services for the Period Ending June 30, 2021            Invoice Number:           1050048196
Katerra Inc.                                                   Matter Number:             49067-36
Use, Sale, and Lease of Property

Date     Name                                  Hours Description
06/07/21 Jeffrey Norgle                         4.20 Review and analyze intellectual property
                                                     security agreements (3.9); correspond with
                                                     requesting attorney re comments and
                                                     revisions (.3).
06/07/21 Yusuf Salloum                          8.10 Draft LAS sale motion (.9); revise same (.3);
                                                     draft renovation business sale motion (2.1);
                                                     revise same (.3); analyze surety issues with
                                                     respect to sale transaction (2.1); correspond
                                                     with K&E team re asset purchase agreements
                                                     (.5); correspond with parties re sale
                                                     transactions (1.9).
06/08/21 Joshua M. Altman                       3.40 Correspond with Y. Salloum re escrow and
                                                     sale matters (.5); comment on same (.3);
                                                     revise LAS motion (1.8); telephone
                                                     conference with K&E team re asset purchase
                                                     agreements (.6); follow up re same (.2).
06/08/21 Katya Boyko                            1.20 Telephone conference with K&E team re
                                                     asset sales (.5); telephone conference with R.
                                                     Hai-Jew and N. Datar re asset sales (.7).
06/08/21 Rachel S. Briones                      3.70 Revise sale motion (2.7); correspond with Y.
                                                     Salloum and J. Altman re same (.6); telephone
                                                     conference with J. Kubinak (Houlihan) re
                                                     same (.4).
06/08/21 Tiffani Chanroo                        3.80 Revise sale motion (3.2); correspond with
                                                     K&E team re same (.6).
06/08/21 Neil Datar                             1.00 Telephone conference with K&E team re
                                                     asset purchase agreements (.4); review and
                                                     analyze status updates (.3); telephone
                                                     conference with K&E team re asset sales (.3).
06/08/21 Danielle Dulitzky                      1.00 Correspond with K&E team, Houlihan re
                                                     NDAs (.4); analyze same (.6).
06/08/21 Emily C. Eggmann                       0.70 Correspond with K&E team re asset purchase
                                                     agreement dates and deadlines.
06/08/21 John D. Furlow                         8.20 Prepare asset purchase agreement (4.8);
                                                     telephone conferences and correspond with
                                                     K&E team re corporate, sale process and
                                                     restructuring matters (3.4).
06/08/21 Rodin M. Hai-Jew, P.C.                 1.00 Telephone conferences with K&E team re
                                                     asset sale matters.
06/08/21 Tony Johnston                          2.40 Prepare for and telephone conference with
                                                     K&E team re asset sales (.8); review and
                                                     analyze APA (1.0); correspond with K&E
                                                     team re diligence re same (.6).


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Legal Services for the Period Ending June 30, 2021             Invoice Number:           1050048196
Katerra Inc.                                                    Matter Number:             49067-36
Use, Sale, and Lease of Property

Date     Name                                  Hours Description
06/08/21 Dan Latona                             1.30 Revise APA (1.0); telephone conference with
                                                     J. Sussberg, Houlihan re potential sale (.3).
06/08/21 Christine A. Okike, P.C.               0.30 Telephone conference with M. Niemann, J.
                                                     Weinberger, J. Kubinak (Houlihan), J.
                                                     Sussberg, D. Latona re bid on Tracy facility.
06/08/21 Yusuf Salloum                          3.70 Review, revise sale motions (2.0); review,
                                                     revise escrow agreements (1.0); correspond
                                                     with parties re sale transactions (.7).
06/08/21 Josh Sussberg, P.C.                    0.40 Telephone conference with Houlihan re term
                                                     sheet and next steps (.2); correspond re same
                                                     (.2).
06/08/21 Rami Totari                            5.00 Draft remodel business APA (2.3); analyze
                                                     APA for Tracy business (1.2); analyze
                                                     background information re same (.7);
                                                     telephone conference with K&E team re same
                                                     (.8).
06/08/21 Seth Traxler, P.C.                     0.50 Correspond with K&E team re intellectual
                                                     property matters.
06/09/21 Joshua M. Altman                       3.30 Telephone conferences and correspond with
                                                     Houlihan, A&M, purchasers re sale matters
                                                     (1.7); telephone conferences with Houlihan re
                                                     sale matters (.5); comment on sale documents,
                                                     motion, declarations (.9); correspond with Y.
                                                     Salloum re same (.2).
06/09/21 Rachel S. Briones                      5.40 Draft sale motion (.9); revise same (1.3);
                                                     correspond with Y. Salloum and T. Chanroo
                                                     re same (.4); draft sale declaration (1.4);
                                                     revise same (.9); telephone conference with
                                                     Y. Salloum re same (.2); correspond with Y.
                                                     Salloum and T. Chanroo re same (.3).
06/09/21 Jack Chadderdon                        2.20 Review and revise APA.
06/09/21 Tiffani Chanroo                        5.50 Revise sale motion (4.9); correspond with
                                                     K&E team re same (.6).
06/09/21 Danielle Dulitzky                      6.30 Review and analyze revised NDAs (1.3);
                                                     review and revise same (4.3); correspond and
                                                     telephone conference with K&E team re same
                                                     (.7).
06/09/21 John D. Furlow                         6.20 Draft form asset purchase agreement for sales
                                                     processes (4.0); telephone conferences and
                                                     correspond with Houlihan, K&E team re draft
                                                     form asset purchase agreement and corporate,
                                                     sale processes and restructuring matters (2.2).



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Legal Services for the Period Ending June 30, 2021            Invoice Number:           1050048196
Katerra Inc.                                                   Matter Number:             49067-36
Use, Sale, and Lease of Property

Date     Name                                  Hours Description
06/09/21 Tony Johnston                          1.80 Correspond with K&E team re remodel
                                                     business term sheet and APA (.7); review and
                                                     revise APA re same (1.1).
06/09/21 Christine A. Okike, P.C.               2.60 Review and comment on LAS and
                                                     Renovation sale motions.
06/09/21 Joshua Robinson                        0.80 Telephone conference with prospective asset
                                                     purchaser (.4); correspond with Houlihan re
                                                     same (.4).
06/09/21 Yusuf Salloum                          8.90 Review, revise sale motions (3.1); review,
                                                     revise sale declarations (3.3); review, revise
                                                     escrow agreements (1.6); correspond with
                                                     parties re sale processes (.9).
06/09/21 Josh Sussberg, P.C.                    0.10 Correspond re potentially interested party re
                                                     acquiring assets.
06/09/21 Josh Sussberg, P.C.                    0.30 Analyze potential purchaser status (.1);
                                                     correspond re same (.1); telephone conference
                                                     with M. Niemann re same (.1).
06/09/21 Rami Totari                            4.80 Draft remodel business APA (3.9); continue
                                                     same (.9).
06/10/21 Joshua M. Altman                       4.00 Telephone conference with purchaser, Y.
                                                     Salloum re escrow matters (.5); telephone
                                                     conference with counsel re immigration
                                                     matter re sale and follow up re same (.8);
                                                     telephone conference with purchaser counsel
                                                     re NDA (.6); comment on sale documents
                                                     (.7); telephone conferences with A&M,
                                                     Houlihan re sale process and related matters
                                                     (.6); telephone conferences with purchaser
                                                     counsel re timeline, Canadian matters (.4);
                                                     review and revise NDAs (.3); correspond with
                                                     K&E team re same (.1).
06/10/21 Rachel S. Briones                      2.70 Revise sale motion (1.3); correspond with Y.
                                                     Salloum and JW re same (.3); revise Outlier
                                                     sale declaration (1.1).
06/10/21 Evan Chavez                            0.50 Prepare APA table of contents and index.
06/10/21 Neil Datar                             0.50 Analyze asset purchase agreement (.4);
                                                     correspond with K&E team re same (.1).
06/10/21 Danielle Dulitzky                      5.10 Analyze NDAs (1.2); revise same (3.2);
                                                     correspond with K&E team and Houlihan re
                                                     same (.7).




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Legal Services for the Period Ending June 30, 2021            Invoice Number:           1050048196
Katerra Inc.                                                   Matter Number:             49067-36
Use, Sale, and Lease of Property

Date     Name                                  Hours Description
06/10/21 John D. Furlow                         6.30 Draft form asset purchase agreement for sales
                                                     processes (3.9); telephone conferences and
                                                     correspond with Houlihan and K&E team re
                                                     draft form asset purchase agreement and
                                                     corporate, sale processes and restructuring
                                                     matters (2.4).
06/10/21 Rodin M. Hai-Jew, P.C.                 1.00 Review and revise asset purchase agreement.
06/10/21 Tony Johnston                          3.20 Review and revise remodel business APA
                                                     (2.4); correspond with K&E team re same
                                                     (.8).
06/10/21 Dan Latona                             0.50 Review and analyze sale motions.
06/10/21 Christine A. Okike, P.C.               0.20 Review correspondence re asset sale.
06/10/21 Miriam A. Peguero Medrano              2.40 Draft de minimis sale procedure motion (1.8);
                                                     correspond with A&M re same (.3); telephone
                                                     conference with A&M re same (.2);
                                                     correspond with D. Latona re same (.1).
06/10/21 Leo Rosenberg                          0.70 Correspond with M. Peguero re de minimis
                                                     asset sale motion and procedures (.2); prepare
                                                     draft of same (.5).
06/10/21 Yusuf Salloum                          3.40 Review, revise sale motions (1.4); review,
                                                     revise escrow agreements (.7); telephone
                                                     conference with parties re sale process (.6);
                                                     correspond with parties re same (.7).
06/10/21 Rami Totari                            4.80 Draft remodel business APA (3.9); continue
                                                     same (.5); analyze staffing matters (.4).
06/11/21 Joshua M. Altman                       3.10 Telephone conference with Houlihan, A&M
                                                     re sale matters, claims (.5); telephone
                                                     conferences and correspond with bidders re
                                                     same (.7); review and revise motion
                                                     modifications (.7); telephone conference with
                                                     DIP lender re same (.6); review and revise
                                                     NDAs (.3); correspond with K&E team re
                                                     same (.1); correspond with Canadian counsel
                                                     re sale matter (.2).
06/11/21 Katya Boyko                            5.20 Draft asset purchase agreement for LAS (4.9);
                                                     correspond with K&E team re same (.3).
06/11/21 Rachel S. Briones                      3.90 Revise Outlier sale motion (2.4); correspond
                                                     with Y. Salloum and J. Altman re same (.3);
                                                     telephone conferences with Y. Salloum re
                                                     same (.4); telephone conference with K&E
                                                     team, A&M and Houlihan re same (.5);
                                                     correspond with T. Chanroo re same (.3).



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Legal Services for the Period Ending June 30, 2021             Invoice Number:           1050048196
Katerra Inc.                                                    Matter Number:             49067-36
Use, Sale, and Lease of Property

Date     Name                                  Hours Description
06/11/21 Tiffani Chanroo                        2.00 Revise Lord Aeck & Sargent sale motion (.9);
                                                     correspond with K&E team re same (.2);
                                                     revise sale declaration (.6); correspond with
                                                     K&E team re same (.3).
06/11/21 Bernadette Coppola                     0.20 Correspond with K&E team re post-closing
                                                     deliverables.
06/11/21 Neil Datar                             0.70 Review and analyze asset purchase agreement
                                                     (.4); draft notes re same (.3).
06/11/21 Danielle Dulitzky                      4.80 Analyze NDAs (1.2); revise same (3.1);
                                                     correspond with K&E team and Houlihan re
                                                     same (.5).
06/11/21 John D. Furlow                         3.60 Draft form asset purchase agreement for sales
                                                     processes (2.2); telephone conferences and
                                                     correspond with Houlihan, K&E team re draft
                                                     form asset purchase agreement and corporate,
                                                     sale processes and restructuring matters (1.4).
06/11/21 Rodin M. Hai-Jew, P.C.                 0.50 Review revised asset purchase agreement.
06/11/21 Tony Johnston                          4.40 Review and revise remodel business APA
                                                     (3.2); correspond with K&E team, Company
                                                     re same (.7); correspond with specialists re
                                                     same (.5).
06/11/21 Dan Latona                             1.50 Comment on asset sale motion (.5); telephone
                                                     conference with J. Altman, A&M, Houlihan,
                                                     Weil re sales (.5); telephone conference with
                                                     A&M, Houlihan, Weil, SoftBank re same (.5).
06/11/21 Jeffrey Norgle                         4.70 Review and analyze intellectual property
                                                     disclosure schedules (3.9); correspond with
                                                     requesting attorney re same (.8).
06/11/21 Christine A. Okike, P.C.               1.30 Telephone conference with M. Niemann, J.
                                                     Weinberger (Houlihan), J. Altman re asset
                                                     sales (.4); telephone conference with S.
                                                     Bowling (Weil), M. Liebman, C. Wells
                                                     (A&M), J. Altman, D. Latona re same (.6);
                                                     telephone conferences with J. Altman re asset
                                                     sales (.3).
06/11/21 Miriam A. Peguero Medrano              0.70 Revise de minimis sale procedures motion
                                                     (.6); correspond with A&M re same (.1).
06/11/21 Yusuf Salloum                          6.50 Review, revise sale motions (3.7); review,
                                                     revise escrow agreements (1.4); telephone
                                                     conference with parties re sale process (1.1);
                                                     correspond with parties re same (.3).
06/11/21 Josh Sussberg, P.C.                    0.10 Correspond re creditor, purchaser inquiries.



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Use, Sale, and Lease of Property

Date     Name                                  Hours Description
06/11/21 Rami Totari                            3.80 Draft remodel business APA (3.4); analyze
                                                     checklist re same (.4).
06/12/21 Rachel S. Briones                      1.80 Revise sale motion (1.6); correspond with Y.
                                                     Salloum and T. Chanroo re same (.2).
06/12/21 Tiffani Chanroo                        2.90 Revise sale motion (2.6); correspond with
                                                     K&E team re same (.3).
06/12/21 Rodin M. Hai-Jew, P.C.                 0.50 Correspond re asset purchase agreement.
06/12/21 Tony Johnston                          1.20 Review and analyze remodel business APA
                                                     (.7); review and revise updated APA (.5).
06/12/21 R.D. Kohut                             0.50 Review employment issues re sale agreement.
06/12/21 Rami Totari                            3.90 Analyze labor, employee matters re remodel
                                                     business (2.4); correspond with Houlihan re
                                                     terms of remodel business APA (1.5).
06/13/21 Rachel S. Briones                      0.50 Revise sale motion (.3); correspond with Y.
                                                     Salloum re same (.2).
06/13/21 Rodin M. Hai-Jew, P.C.                 1.00 Review and revise LAS asset purchase
                                                     agreement.
06/13/21 Tony Johnston                          0.60 Correspond with K&E team re remodel
                                                     business APA covenant.
06/13/21 Elizabeth Helen Jones                  1.20 Draft Niemann declaration in support of
                                                     bidding procedures (1.1); correspond with D.
                                                     Latona re same (.1).
06/13/21 Christine A. Okike, P.C.               1.30 Review and comment on LAS and
                                                     Renovation sale motions (1.0); correspond
                                                     with J. Altman re same (.3).
06/13/21 Rami Totari                            1.60 Analyze labor, employee matters re remodel
                                                     business.
06/14/21 Joshua M. Altman                       3.70 Review, comment on motions, sale
                                                     documents (1.4); telephone conferences and
                                                     correspond with parties re same (.7);
                                                     telephone conferences with Canadian counsel
                                                     re sale matters (.5); telephone conference with
                                                     K&E team, A&M re Artemis sale (.5);
                                                     analyze cure matters (.4); correspond with
                                                     A&M, Houlihan re same (.2).
06/14/21 Katya Boyko                            2.20 Draft asset purchase agreement re LAS sale.




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Date     Name                                  Hours Description
06/14/21 Rachel S. Briones                      5.90 Revise sale motion (2.8); correspond with J.
                                                     Altman re same (.3); correspond with
                                                     purchaser's counsel re same (.3); correspond
                                                     with Y. Salloum re same (.6); revise cure
                                                     notice (.8); analyze assumption assignment
                                                     procedures and bidding procedures (.4);
                                                     correspond with Y. Salloum re same (.2);
                                                     telephone conference with C. Okike and K&E
                                                     team re Artemis sale (.5).
06/14/21 Tiffani Chanroo                        0.40 Revise sale motion.
06/14/21 Neil Datar                             2.80 Revise asset purchase agreement (2.2);
                                                     correspond and telephone conferences with
                                                     K&E team re same (.6).
06/14/21 Danielle Dulitzky                      4.30 Analyze NDAs (.9); revise same (1.7); review
                                                     and analyze materials re same (1.0);
                                                     correspond with K&E team, Houlihan re same
                                                     (.5); telephone conference with related parties
                                                     re same (.2).
06/14/21 John D. Furlow                         1.80 Draft asset purchase agreements re sales
                                                     processes (1.2); draft and review
                                                     correspondence re corporate, sale processes
                                                     and restructuring matters (.6).
06/14/21 Rodin M. Hai-Jew, P.C.                 1.00 Telephone conference with K&E team re
                                                     asset purchase agreement (.7); correspond
                                                     with K&E team re related matters (.3).
06/14/21 Tony Johnston                          1.90 Correspond with K&E team re remodel
                                                     business APA and related covenants (.4);
                                                     review and revise same (.6); review and
                                                     analyze comments to LAS APA (.9).
06/14/21 Jeffrey Norgle                         1.50 Review and analyze intellectual property
                                                     listed in disclosure schedules (1.0);
                                                     correspond with K&E team re comments and
                                                     revisions (.5).
06/14/21 Yusuf Salloum                          4.80 Review, revise sale motions (2.3); review,
                                                     revise escrow agreements (.8); correspond
                                                     with buyers' counsel, Company re sale
                                                     transactions (1.7).
06/14/21 Rami Totari                            5.50 Draft asset purchase agreement for remodel
                                                     business (2.0); review and analyze asset
                                                     purchase agreement (3.0); review and analyze
                                                     correspondence re same (.5)
06/14/21 Seth Traxler, P.C.                     0.50 Analyze IP matters.



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Date     Name                                  Hours Description
06/15/21 Joshua M. Altman                       4.40 Correspond and telephone conference with
                                                     A&M, Fortune Johnson re assignment matters
                                                     (.8); analyze same (.3); telephone conferences
                                                     with Houlihan, A&M re sale and business
                                                     matters (.6); analyze, comment on cure
                                                     notices (.4); comment on motion and
                                                     correspond with K&E team, A&M, Houlihan
                                                     re same (1.8); telephone conference with
                                                     Canadian counsel re strategy (.5).
06/15/21 Rachel S. Briones                      6.30 Revise sale motion (2.9); correspond with J.
                                                     Altman and Y. Salloum re same (.8); revise
                                                     term sheet re same (.3); coordinate with JW re
                                                     filing same (.3); revise private sale cure notice
                                                     (1.3); correspond with J. Altman and Y.
                                                     Salloum re same (.7).
06/15/21 Tiffani Chanroo                        1.30 Revise Lord Aeck & Sargent motion (1.1);
                                                     correspond with Y. Salloum re same (.2).
06/15/21 Evan Chavez                            3.80 Draft transaction checklist and disclosure
                                                     schedules shell.
06/15/21 Danielle Dulitzky                      4.10 Analyze NDAs (.8); revise same (2.1); review
                                                     and analyze materials re same (.5);
                                                     correspond and telephone conference with
                                                     K&E team, Houlihan re same (.7).
06/15/21 John D. Furlow                         0.80 Prepare asset purchase agreements re sales
                                                     processes (.4); prepare and review
                                                     correspondence re corporate, sale processes
                                                     and restructuring matters (.4).
06/15/21 Sara Handibode                         0.30 Coordinate ordering of title commitment (.2);
                                                     correspond re related issues (.1).
06/15/21 Tony Johnston                          0.80 Correspond with sections experts re remodel
                                                     business APA (.4); review and analyze
                                                     documentation re remodel business
                                                     employees (.4).
06/15/21 Yusuf Salloum                          4.00 Coordinate execution of escrow agreements
                                                     (.7); review, revise cure notice (.8); review,
                                                     revise sale pleadings (1.8); correspond with
                                                     parties re sale process (.7).
06/15/21 Rami Totari                            2.70 Draft exhibit and schedule to remodel
                                                     business asset purchase agreement (2.2);
                                                     review and analyze correspondence with
                                                     K&E team re same (.5).




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Date     Name                                  Hours Description
06/16/21 Joshua M. Altman                       2.90 Comment on sale motion (.6); correspond
                                                     with K&E team re same (.2); correspond with
                                                     purchaser, A&M, Houlihan re sale matters,
                                                     schedules (.5); correspond with Houlihan,
                                                     K&E team re tax asset sale and analyze
                                                     matters re same (.7); telephone conference
                                                     with J. Weinberger re same, sale matters (.3);
                                                     follow up re sale matters (IP, sale timeline)
                                                     (.6).
06/16/21 Rachel S. Briones                      1.40 Correspond with Purchaser's counsel and Y.
                                                     Salloum re sale motion (.3); revise declaration
                                                     in support of same (1.1).
06/16/21 Tiffani Chanroo                        3.60 Revise sale motion (2.4); revise cure notice
                                                     (.9); correspond with K&E team re same (.3).
06/16/21 Daniel Cho                             0.50 Analyze issues re owned real property with
                                                     title company (.3); research information re
                                                     properties (.2).
06/16/21 Danielle Dulitzky                      4.00 Review, revise NDAs (3.2); telephone
                                                     conference with interested parties re same
                                                     (.5); correspond and telephone conference
                                                     with A&M re same (.3).
06/16/21 John D. Furlow                         2.20 Prepare asset purchase agreements for sales
                                                     processes (1.3); prepare and review
                                                     correspondence re corporate, sale processes
                                                     and restructuring matters (.9).
06/16/21 Sara Handibode                         0.20 Correspond with K&E team re title
                                                     commitment related issues.
06/16/21 Jeffery S. Norman, P.C.                0.40 Correspond with K&E team re IP protection
                                                     (copyrights and patents) in Apollo software
                                                     program.
06/16/21 Christine A. Okike, P.C.               2.20 Review and comment on de minimis asset
                                                     sale motion (1.2); review and analyze buyer
                                                     interest summary (.3); telephone conference
                                                     with J. Altman re same (.2); review and
                                                     analyze illustrative waterfall (.5).
06/16/21 Carrie Therese Oppenheim               0.20 Revise sale motion and cure notice.
06/16/21 Joshua Robinson                        2.90 Review and analyze bidding procedures (.8);
                                                     correspond with prospective buyer re same
                                                     (.3); review case law re insurance (1.2);
                                                     correspond with A&M re same (.6).
06/16/21 Yusuf Salloum                          5.60 Revise sale motion (3.1); review, revise
                                                     exhibits to same (1.0); respond to buyer
                                                     inquiries, comments to motion (1.5).


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Date     Name                                  Hours Description
06/16/21 Josh Sussberg, P.C.                    0.30 Correspond re sales and status.
06/17/21 Joshua M. Altman                       2.90 Telephone conference with J. Norman re IP
                                                     assets and case (.3); telephone conference
                                                     with J. Norman, Houlihan, A&M re IP assets
                                                     (.5); telephones conferences and correspond
                                                     with K&E team, bidders, Houlihan, A&M re
                                                     sale matters (.9); correspond with Texas
                                                     taxing authorities re sale inquiry (.2);
                                                     comment on NDAs (.4); correspond with
                                                     K&E team re same (.2); comment on asset
                                                     purchase agreement (.4).
06/17/21 Rachel S. Briones                      0.40 Revise declaration in support of sale motion.
06/17/21 Tiffani Chanroo                        0.30 Compile agreement signatures (.2);
                                                     correspond with Y. Salloum re same (.1).
06/17/21 Danielle Dulitzky                      6.10 Analyze NDAs (1.1); revise same (2.8);
                                                     review and analyze materials re same (1.8);
                                                     correspond with K&E team, Houlihan re same
                                                     (.4).
06/17/21 John D. Furlow                         1.30 Prepare asset purchase agreements for sales
                                                     processes (.7); prepare and review
                                                     correspondence re corporate, sale processes
                                                     and restructuring matters (.6).
06/17/21 Rodin M. Hai-Jew, P.C.                 0.30 Correspond re asset purchase agreements.
06/17/21 Tony Johnston                          0.90 Correspond with K&E team re APAs and
                                                     remodel business SEC investigation.
06/17/21 Jeffery S. Norman, P.C.                1.10 Prepare for and telephone conference with
                                                     Houlihan re Apollo software program (.8);
                                                     review and analyze Houlihan follow-up
                                                     questions and Company patent information
                                                     (.3).
06/17/21 Rami Totari                            0.70 Analyze correspondence and updates re LAS
                                                     asset purchase agreement.
06/18/21 Joshua M. Altman                       2.00 Correspond with purchaser, A&M re sale,
                                                     employee matters (.5); follow up re same (.1);
                                                     correspond with K&E team re NDA matters
                                                     (.2); correspond with A&M, K&E team re
                                                     sale process and strategy (.6); follow up with
                                                     Houlihan re same (.2); correspond with K&E
                                                     team, Houlihan re NOL asset sales (.4).
06/18/21 Tiffani Chanroo                        1.70 Compile escrow signatures (1.3); correspond
                                                     with K&E team, Company re same (.4).




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Date     Name                                  Hours Description
06/18/21 Tiffani Chanroo                        8.00 Review and analyze NDA counterparty
                                                     comments (3.1); revise NDAs (3.2); telephone
                                                     conference with D. Dulitzky, counterparty re
                                                     NDA language (.5); correspond with K&E
                                                     team re same (1.2).
06/18/21 Neil Datar                             0.50 Revise asset purchase agreement (.3);
                                                     correspond re same (.2).
06/18/21 Danielle Dulitzky                      3.40 Analyze NDAs (.7); revise same (2.4);
                                                     telephone conference with related parties (.3).
06/18/21 John D. Furlow                         1.20 Prepare asset purchase agreements for sales
                                                     processes (.7); prepare and review
                                                     correspondence re corporate, sale processes
                                                     and restructuring matters (.5).
06/18/21 Jeffery S. Norman, P.C.                2.80 Prepare for and telephone conference with
                                                     Houlihan and Company re Apollo software
                                                     program (1.4); review and analyze transfer
                                                     and assignment deed and sample Apollo
                                                     employment contracts (1.2); review and
                                                     analyze Board meeting minutes (.2).
06/18/21 Yusuf Salloum                          1.00 Review correspondence, updates re sale
                                                     process.
06/19/21 Danielle Dulitzky                      1.50 Review, revise NDAs (1.2); correspond with
                                                     K&E team, Houlihan re same (.3).
06/20/21 Danielle Dulitzky                      0.30 Correspond with K&E team, Houlihan re
                                                     NDAs.
06/21/21 Joshua M. Altman                       1.60 Correspond with Y. Salloum, parties re cure
                                                     notice and related matters (.8); correspond
                                                     with K&E team re renovations asset purchase
                                                     agreement (.4); analyze issues re same (.2);
                                                     correspond with Houlihan re cure matters (.2).
06/21/21 Katya Boyko                            2.00 Prepare draft asset purchase agreement for
                                                     LAS sale (1.0); prepare omnibus consent re
                                                     uncertificated stock (1.0).
06/21/21 Tiffani Chanroo                        6.60 Review and analyze NDAs (2.1); revise same
                                                     (3.8); correspond with K&E team, Houlihan
                                                     re same (.7).
06/21/21 John D. Furlow                         1.40 Prepare asset purchase agreements for sales
                                                     processes (1.1); prepare and review
                                                     correspondence re corporate, sale processes
                                                     and restructuring matters (.3).




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Date     Name                                  Hours Description
06/21/21 Tony Johnston                          3.30 Correspond with opposing counsel, K&E
                                                     team and related section experts re remodel
                                                     business APA (.9); review and revise remodel
                                                     APA re SEC investigation and related issues
                                                     (2.4).
06/21/21 Dan Latona                             1.00 Telephone conference with C. Okike, A&M,
                                                     Zurich re sale motion.
06/21/21 Nir Levin                              6.10 Analyze NDAs re sale process (.6); revise
                                                     same (1.9); analyze precedent re same (1.0);
                                                     correspond with Houlihan, K&E team, M.
                                                     Indick re same (1.4); prepare for and
                                                     telephone conferences with M. Indick, J. Ebb,
                                                     T. Chanroo re same (1.2).
06/21/21 Jeffery S. Norman, P.C.                1.10 Review and analyze Company patent
                                                     application (.6); correspond and telephone
                                                     conference with J. Ebb (Houlihan) re patent
                                                     application expiration and patent value (.5).
06/21/21 Christine A. Okike, P.C.               0.50 Review and comment on de minimis asset
                                                     sale motion.
06/21/21 Miriam A. Peguero Medrano              1.60 Correspond with D. Latona, C. Okike, A&M
                                                     re de minimis asset sales procedures motion
                                                     (.4); review, revise same (.5); correspond with
                                                     Weil, K&E team re same (.2); further review,
                                                     revise same (.5).
06/21/21 Yusuf Salloum                          2.80 Coordinate with A&M, Prime Clerk re cure
                                                     schedules, service.
06/21/21 Josh Sussberg, P.C.                    0.30 Correspond with purchasers.
06/22/21 Joshua M. Altman                       1.60 Correspond with A&M, purchasers re
                                                     diligence matters (.4); analyze SEC comments
                                                     (.1); correspond with Y. Salloum re same (.1):
                                                     correspond with K&E team re asset purchase
                                                     agreements (.6); analyze employee issues re
                                                     sale matters (.4).
06/22/21 Jack N. Bernstein                      4.00 Analyze employee and employee benefit
                                                     issues (2.0); review and prepare comments re
                                                     draft transaction documents (2.0).
06/22/21 Rachel S. Briones                      1.90 Revise sale declaration (.7); correspond with
                                                     Y. Salloum re same (.2); revise sale order (.5);
                                                     correspond with Y. Salloum re same (.2);
                                                     revise cure notice (.3).
06/22/21 Tiffani Chanroo                        1.80 Revise sale order (1.6); correspond with K&E
                                                     team re same (.2).



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Date     Name                                  Hours Description
06/22/21 Tiffani Chanroo                        3.30 Analyze NDA (2.8); correspond with K&E
                                                     team, Houlihan re same (.5).
06/22/21 John D. Furlow                         2.50 Prepare asset purchase agreements re sales
                                                     processes (1.7); prepare and review
                                                     correspondence re corporate, sale processes
                                                     and restructuring matters (.8).
06/22/21 Tony Johnston                          3.70 Review and analyze opposing counsel's
                                                     markup of remodel business APA (3.1);
                                                     correspond with K&E team re same (.6).
06/22/21 Nir Levin                              7.00 Draft and analyze NDA agreements (2.4);
                                                     revise same (1.1); analyze precedents re same
                                                     (1.5); correspond with Houlihan, T. Chanroo,
                                                     K&E team, sale process participants re same
                                                     (1.5); telephone conferences with Houlihan re
                                                     same (.5).
06/22/21 Christine A. Okike, P.C.               0.70 Review and revise de minimis asset sale
                                                     motion.
06/22/21 Carrie Therese Oppenheim               0.30 Revise sale cure notice.
06/22/21 Miriam A. Peguero Medrano              1.50 Correspond with D. Latona, Weil re de
                                                     minimis asset sale procedures motion (.1);
                                                     prepare filing version of same (.4);
                                                     correspond with C. Okike, D. Latona re same
                                                     (.3); revise same (.5); correspond with JW re
                                                     same (.2).
06/22/21 Joshua Robinson                        0.90 Correspond with Houlihan re prospective
                                                     purchasers.
06/22/21 Yusuf Salloum                          5.60 Review, revise cure schedule (1.5); coordinate
                                                     with A&M re same (2.4); prepare same for
                                                     service (1.3); review, revise sale orders re
                                                     SEC language (.4).
06/22/21 Tommy Scheffer                         0.80 Correspond with K&E team re asset sale
                                                     processes (.3); analyze same (.5).
06/22/21 Anna Terteryan                         1.00 Review and analyze draft asset purchase
                                                     agreement for Renovations business (.5);
                                                     correspond with K&E team re same (.5).
06/23/21 Joshua M. Altman                       2.30 Correspond with K&E team re asset purchase
                                                     agreement matters (.2); comment on same
                                                     (.6); correspond with K&E team, Company,
                                                     A&M re settlement agreement matters (.4);
                                                     analyze same (.5); correspond with purchaser,
                                                     A&M re sale diligence matters (.4);
                                                     correspond with K&E team re asset purchase
                                                     agreements (.2).


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Date     Name                                  Hours Description
06/23/21 Rachel S. Briones                      0.30 Revise sale declaration (.2); correspond with
                                                     Y. Salloum re same (.1).
06/23/21 Tiffani Chanroo                        1.10 Review and analyze NDA (.9); correspond
                                                     K&E team, Houlihan re same (.2).
06/23/21 Tiffani Chanroo                        0.40 Revise sale motion (.3); correspond with Y.
                                                     Salloum re same (.1).
06/23/21 Bernadette Coppola                     0.30 Analyze employee assignment agreements
                                                     (.2); correspond with Company and K&E
                                                     team re same (.1).
06/23/21 Neil Datar                             0.20 Review and analyze status of asset purchase
                                                     agreements (.1); correspond re same (.1).
06/23/21 John D. Furlow                         2.20 Prepare asset purchase agreements for sales
                                                     processes (1.1); prepare and review
                                                     correspondence re corporate, sale processes
                                                     and restructuring matters (1.1).
06/23/21 Tony Johnston                          2.40 Correspond with K&E team re assets sales
                                                     and status of related APAs (.6); review and
                                                     analyze K&E team and Houlihan comments
                                                     to remodel business APA (.8); review and
                                                     revise same (1.0).
06/23/21 Elizabeth Helen Jones                  0.20 Correspond with Houlihan re Niemann
                                                     declaration in support of bidding procedures.
06/23/21 Nir Levin                              2.70 Review and analyze NDAs for sale process
                                                     (.8); revise same (.7); correspond with NDA
                                                     counterparties, Houlihan, T. Chanroo re same
                                                     (1.0); telephone conference with J. Ebb re
                                                     same (.2).
06/23/21 Jeffrey Norgle                         4.20 Review and analyze intellectual property
                                                     disclosure schedules and assignments (3.0);
                                                     correspond with K&E team re same (1.2).
06/23/21 Yusuf Salloum                          6.00 Prepare for service of LAS cure schedules
                                                     (2.3); review, revise same (1.9); telephone
                                                     conferences with A&M, buyer's counsel re
                                                     same (.5); review, revise asset purchase
                                                     agreement (1.3).
06/24/21 Joshua M. Altman                       0.90 Follow up re same (.2); correspond with
                                                     A&M, Houlihan, K&E team re sale
                                                     agreements (.6); follow up re same (.1).
06/24/21 Rachel S. Briones                      0.90 Revise sale declaration (.5); correspond with
                                                     Y. Salloum and J. Altman re same (.2);
                                                     correspond with Houlihan re same (.2).
06/24/21 Tiffani Chanroo                        0.60 Review and analyze NDA (.4); correspond
                                                     with N. Levin re same (.2).

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06/24/21 Tiffani Chanroo                        1.10 Revise sale motion (.7); correspond with
                                                     K&E team re same (.4).
06/24/21 Bernadette Coppola                     0.20 Correspond with Company and K&E team re
                                                     patents.
06/24/21 John D. Furlow                         1.40 Prepare asset purchase agreements for sales
                                                     processes (.9); prepare and review
                                                     correspondence re corporate, sale processes
                                                     and restructuring matters (.5).
06/24/21 Tony Johnston                          0.60 Correspond with K&E team re opposing
                                                     counsel markup to remodel business APA.
06/24/21 Dan Latona                             0.50 Telephone conference with Houlihan,
                                                     counterparty re NDA matter.
06/24/21 Nir Levin                              3.60 Analyze NDAs for sale process (.6); revise
                                                     same (1.1); review and analyze precedents re
                                                     same (.4); correspond with J. Ebb, T.
                                                     Chanroo, K&E team re same (.8); telephone
                                                     conferences with M. Indick, Houlihan, D.
                                                     Latona re NDA (.7).
06/24/21 Christine A. Okike, P.C.               0.90 Telephone conference with J. Weinberger, D.
                                                     McGeary (Houlihan), C. Wells, M. Liebman
                                                     (A&M), P. Corrie, H. Tepner, M. Dhar
                                                     (Board), J. Altman, D. Latona re sale process.
06/24/21 Yusuf Salloum                          4.20 Review, revise sale declarations (3.6);
                                                     coordinate with A&M re cure (.6).
06/24/21 Rami Totari                            2.70 Analyze remodel business asset purchase
                                                     agreement.
06/25/21 Joshua M. Altman                       1.00 Correspond with Y. Salloum re declarations
                                                     (.3); correspond and conference with A&M,
                                                     Houlihan re sale matters (.7).
06/25/21 Rachel S. Briones                      0.30 Correspond with JW and K&E team re sale
                                                     declarations.
06/25/21 Tiffani Chanroo                        2.20 Review and analyze NDAs (1.9); correspond
                                                     with N. Levin, Houlihan re same (.3).
06/25/21 Bernadette Coppola                     0.30 Correspond with Company and K&E team re
                                                     intellectual property matters.
06/25/21 John D. Furlow                         0.70 Prepare asset purchase agreements for sales
                                                     processes (.4); prepare and review
                                                     correspondence re corporate, sale processes
                                                     and restructuring matters (.3).
06/25/21 Tony Johnston                          0.80 Review and analyze revisions to remodel
                                                     business APA (.5); correspond with K&E
                                                     team re same (.3).


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Legal Services for the Period Ending June 30, 2021             Invoice Number:           1050048196
Katerra Inc.                                                    Matter Number:             49067-36
Use, Sale, and Lease of Property

Date     Name                                  Hours Description
06/25/21 Nir Levin                              2.80 Analyze NDAs re sale process (.8); revise
                                                     same (1.0); correspond with T. Chanroo, J.
                                                     Ebb re same (1.0).
06/25/21 Miriam A. Peguero Medrano              1.80 Research re objection to de minimis asset sale
                                                     procedures motion (1.4); correspond with
                                                     K&E team re same (.4).
06/25/21 Yusuf Salloum                          1.10 Prepare presentation re sale transactions (.9);
                                                     correspond with local counsel re evidentiary
                                                     burden for sale transactions (.2).
06/25/21 Tommy Scheffer                         0.80 Correspond with C. Pereyda and K&E team
                                                     re asset sales.
06/25/21 Josh Sussberg, P.C.                    0.20 Correspond re status and asset sales.
06/25/21 Rami Totari                            3.00 Analyze remodel business asset purchase
                                                     agreement.
06/26/21 Tiffani Chanroo                        1.10 Analyze NDA (.9); correspond with N. Levin,
                                                     Houlihan re same (.2).
06/26/21 Tony Johnston                          0.80 Review and revise remodel business APA.
06/26/21 Nir Levin                              1.20 Analyze NDA agreements re sale process (.8);
                                                     correspond with T. Chanroo, J. Ebb re same
                                                     (.4).
06/26/21 Christine A. Okike, P.C.               0.90 Telephone conference with J. Weinberger
                                                     (Houlihan), M. Bui, C. Carroll (FTI) re asset
                                                     sales.
06/26/21 Rami Totari                            0.20 Review and analyze asset purchase
                                                     agreement.
06/27/21 Joshua M. Altman                       1.40 Draft correspondence to board re sale matters
                                                     (1.2); follow up re same (.2).
06/27/21 Daniel Cho                             0.30 Correspond with K&E team and title
                                                     company re title commitments.
06/27/21 Tony Johnston                          1.40 Review and revise remodel business APA.
06/27/21 Rami Totari                            1.70 Analyze remodel business asset purchase
                                                     agreement and disclosure schedules.
06/28/21 Joshua M. Altman                       2.70 Comment on asset purchase agreements (2.1);
                                                     correspond and conference with K&E team re
                                                     same (.6).
06/28/21 Joshua M. Altman                       0.60 Conferences with purchasers’ counsel re sale
                                                     matters.
06/28/21 Katya Boyko                            2.00 Prepare draft asset purchase agreement re
                                                     Spokane asset (1.5); correspond with K&E
                                                     team re same (.5).



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Legal Services for the Period Ending June 30, 2021            Invoice Number:           1050048196
Katerra Inc.                                                   Matter Number:             49067-36
Use, Sale, and Lease of Property

Date     Name                                  Hours Description
06/28/21 Rachel S. Briones                      0.90 Telephone conference with unsecured
                                                     creditors' committee re asset sales.
06/28/21 Jack Chadderdon                        3.40 Review and revise asset purchase agreement
                                                     re Tracy facility.
06/28/21 Evan Chavez                            3.00 Revise disclosure schedules (1.5); compile
                                                     draft notes (1.5).
06/28/21 Daniel Cho                             1.90 Review and analyze title commitments and
                                                     exception documents (1.1); correspond with
                                                     title company re same (.8).
06/28/21 Neil Datar                             2.00 Draft and revise Spokane asset purchase
                                                     agreement (.9); review and analyze changes re
                                                     other asset purchase agreements (.3); review
                                                     and analyze deal information (.5); correspond
                                                     with K&E team re same (.3).
06/28/21 John D. Furlow                         1.10 Review and revise asset purchase agreement
                                                     (.6); correspond and telephone conferences re
                                                     asset sale processes (.5).
06/28/21 Rodin M. Hai-Jew, P.C.                 0.50 Correspond with K&E team re LAS asset
                                                     purchase agreement.
06/28/21 Tony Johnston                          1.40 Review and revise remodel business APA
                                                     (.8); correspond with K&E team re Spokane
                                                     assets APA (.6).
06/28/21 Nir Levin                              0.70 Review, revise NDA (.3); research precedent
                                                     re same (.3); telephone conference with J. Ebb
                                                     re same (.1).
06/28/21 Roberto S. Miceli                      1.00 Review and analyze form of Spokane, WA
                                                     asset purchase agreement (.5); provide real
                                                     estate comments to same (.5).
06/28/21 Christine A. Okike, P.C.               1.30 Review and analyze sale summary for UCC
                                                     (.4); telephone conference with G. Gouveia,
                                                     M. Sweet, T. Monsour (Fox Rothschild), J.
                                                     Altman, D. Latona re asset sales and
                                                     stipulated orders (.9).
06/28/21 Miriam A. Peguero Medrano              1.80 Correspond with D. Latona re de minimis
                                                     asset sale procedures motion (.2); research re
                                                     same (.7); revise same (.4); correspond with
                                                     C. Okike, D. Latona re same (.1); further
                                                     revise same (.4).
06/28/21 Yusuf Salloum                          4.70 Review and analyze sale presentation (.4);
                                                     review, revise asset purchase agreements
                                                     (3.0); research precedent re same (1.3).
06/28/21 Josh Sussberg, P.C.                    0.10 Correspond re asset sale status and asset
                                                     purchase agreements.

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Legal Services for the Period Ending June 30, 2021            Invoice Number:          1050048196
Katerra Inc.                                                   Matter Number:            49067-36
Use, Sale, and Lease of Property

Date     Name                                  Hours Description
06/28/21 Rami Totari                            2.70 Analyze asset purchase agreement (2.4);
                                                     attention to disclosure schedules (.3).
06/28/21 Mason N. Zurek                         0.10 Review and analyze correspondence re de
                                                     minimis sales.
06/29/21 Joshua M. Altman                       0.90 Correspond with Y. Salloum, bidders re
                                                     proposed modifications to sale orders (.3);
                                                     correspond with Houlihan, K&E team re asset
                                                     purchase agreement matters (.6).
06/29/21 Rachel S. Briones                      1.20 Revise sale order (.6); correspond with Y.
                                                     Salloum and D. Latona re same (.3);
                                                     correspond with T. Chanroo re sale motion
                                                     and order (.3).
06/29/21 Jack Chadderdon                        1.30 Review and revise asset purchase agreement
                                                     re Tracy facility.
06/29/21 Tiffani Chanroo                        1.10 Revise sale declaration (.8); correspond with
                                                     K&E team re same (.3).
06/29/21 Evan Chavez                            0.50 Revise and prepare disclosure schedules.
06/29/21 Neil Datar                             0.50 Revise asset purchase agreement (.4);
                                                     correspond with K&E team re same (.1).
06/29/21 Danielle Dulitzky                      0.40 Correspond with Houlihan, K&E team re
                                                     NDA (.2); review and analyze same (.2).
06/29/21 John D. Furlow                         1.30 Review and revise asset purchase agreement
                                                     re Tracy facility.
06/29/21 Sara Handibode                         0.30 Compile title commitment (.2); correspond
                                                     with K&E team re same (.1).
06/29/21 Tony Johnston                          1.00 Correspond with K&E team and Houlihan re
                                                     schedules to remodel business APA (.5);
                                                     review and analyze Spokane assets APA (.5).
06/29/21 Nir Levin                              0.30 Review and analyze correspondence re sale
                                                     process (.2); correspond with D. Dulitzky re
                                                     same (.1).
06/29/21 Christine A. Okike, P.C.               1.00 Telephone conference with J. Weinberger
                                                     (Houlihan) re indications of interest (.1);
                                                     review and analyze summary of indications of
                                                     interest (.5); review and revise de minimis
                                                     asset sale motion (.4).




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Katerra Inc.                                                    Matter Number:             49067-36
Use, Sale, and Lease of Property

Date     Name                                  Hours Description
06/29/21 Miriam A. Peguero Medrano              4.20 Revise de minimis asset procedures motion re
                                                     U.S. Trustee comments (.2); correspond with
                                                     D. Latona re same (.1); research re same
                                                     (1.2); correspond with D. Latona re research
                                                     re same (.3); revise same (.4); analyze
                                                     objections to same (.3); revise to resolve
                                                     objections (.2); correspond with D. Latona re
                                                     UCC comments to de minimis asset sale
                                                     procedures motion (.2); revise same (.5);
                                                     correspond to D. Latona, C. Okike re same
                                                     (.1); further revise to incorporate C. Okike
                                                     comments (.2); correspond with taxing
                                                     authorities, D. Latona re revised proposed
                                                     order (.5).
06/29/21 Yusuf Salloum                          4.50 Review, revise sale orders (1.1); analyze cure
                                                     matters (3.4).
06/29/21 Josh Sussberg, P.C.                    0.10 Telephone conference with C. Okike re sale
                                                     hearing and bids.
06/29/21 Rami Totari                            2.50 Analyze asset purchase agreement.
06/30/21 Joshua M. Altman                       2.70 Telephone conferences re sale process with
                                                     DIP lender, Houlihan (1.7); correspond with
                                                     parties re bid procedures (.3); correspond with
                                                     K&E team re asset purchase agreements (.4);
                                                     comment on same (.3).
06/30/21 Rachel S. Briones                      2.30 Revise Outlier sale cure notice and schedules
                                                     (.7); revise LAS sale cure notice and
                                                     schedules (.6); correspond with Y. Salloum re
                                                     sale cure notices (.5); telephone conference
                                                     with Y. Salloum re same (.1); correspond with
                                                     J. Altman re same (.2); correspond with JW re
                                                     same (.2).
06/30/21 Jack Chadderdon                        2.40 Review and revise asset purchase agreement
                                                     re Tracy facility (1.8); review and analyze
                                                     asset purchase agreement re CLT facility (.6).
06/30/21 Evan Chavez                            2.50 Telephone conference with T. Johnston and
                                                     R. Totari re disclosure schedules (1.3);
                                                     prepare tracker for Houlihan and A&M
                                                     comments to disclosure schedules (1.2).
06/30/21 Neil Datar                             1.50 Revise Spokane asset purchase agreement
                                                     (.4); review and analyze Tracy asset purchase
                                                     agreement (.6); telephone conference and
                                                     correspond with K&E team re same (.5).
06/30/21 Danielle Dulitzky                      0.50 Correspond with K&E team, Houlihan re
                                                     NDA (.2); analyze materials re same (.3).

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Katerra Inc.                                                   Matter Number:             49067-36
Use, Sale, and Lease of Property

Date     Name                                  Hours Description
06/30/21 John D. Furlow                         1.10 Review and revise asset purchase agreement
                                                     re Tracy facility (.3); analyze asset purchase
                                                     agreement re CLT facility (.3); telephone
                                                     conferences with K&E team re sale processes
                                                     (.5).
06/30/21 Tony Johnston                          1.90 Conference with K&E team re remodel
                                                     business APA schedules (.8); correspond with
                                                     Houlihan and A&M re remodel business
                                                     APA, Tracy assets APA and Spokane assets
                                                     APA (1.1).
06/30/21 Elizabeth Helen Jones                  0.20 Correspond with A&M re bidding procedures.
06/30/21 Dan Latona                             1.00 Telephone conference with C. Okike, A&M,
                                                     Houlihan, board re indications of interest.
06/30/21 Dan Latona                             3.00 Analyze pleadings, related diligence re asset
                                                     sale hearing preparation (2.0); correspond
                                                     with K&E team, Weil, objecting parties re
                                                     asset sale order (1.0).
06/30/21 Nir Levin                              0.50 Analyze NDA re sale process (.3); correspond
                                                     with Houlihan, D. Dulitzky re same (.2).
06/30/21 Christine A. Okike, P.C.               5.10 Telephone conference with P. Corrie, H.
                                                     Tepner, M. Dhar (Board), M. Liebman, C.
                                                     Wells (A&M), J. Weinberger, D. McGeary
                                                     (Houlihan), J. Altman, D. Latona re asset
                                                     sales (1.0); telephone conference with F.
                                                     Rehman, T. Daula, K. Makhlouf (Softbank),
                                                     J. Liou, S. Bowling (Weil), M. Liebman, C.
                                                     Wells (A&M), J. Weinberger, D. McGeary
                                                     (Houlihan), J. Altman, D. Latona re same (.7);
                                                     review and comment on drafts of de minimis
                                                     asset sale order (.7); correspond with Weil re
                                                     sale process questions (.4); review and
                                                     analyze objections to de minimis asset sale
                                                     motion (.5); correspond with D. Latona re
                                                     same (.3); review and analyze CLT and Tracy
                                                     asset purchase agreements (1.5).
06/30/21 Christine A. Okike, P.C.               1.50 Prepare for de minimis asset sale procedures
                                                     hearing.




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Legal Services for the Period Ending June 30, 2021             Invoice Number:           1050048196
Katerra Inc.                                                    Matter Number:             49067-36
Use, Sale, and Lease of Property

Date     Name                                  Hours Description
06/30/21 Miriam A. Peguero Medrano              4.80 Revise de minimis asset sale procedures
                                                     motion with further comments from UCC
                                                     (.2); correspond with D. Latona re same (.1);
                                                     follow up with taxing authorities re same (.2);
                                                     correspond with parties re resolution to
                                                     objections (1.0); correspond with parties re
                                                     same (.4); revise proposed final order (.2);
                                                     correspond with C. Okike re status of
                                                     objection (.2); telephone conference with
                                                     counsel from Sherwin Williams company re
                                                     objection (.2); correspond with same re
                                                     objection (.2); correspond with D. Latona re
                                                     precedent (.2); correspond with Weil re
                                                     proposed final order (.1); revise same (.3);
                                                     correspond with taxing authorities, JW re
                                                     further revised proposed final order (.2);
                                                     telephone conference and correspond with
                                                     K&E team, taxing authorities, Weil re sign-
                                                     off on proposed final order (1.3).
06/30/21 Yusuf Salloum                          5.60 Review, revise cure schedules (1.3);
                                                     telephone conference with A&M re same (.5);
                                                     research re cure amounts (3.1); review and
                                                     analyze asset purchase agreements (.7).
06/30/21 Tommy Scheffer                         1.20 Correspond with Fox Rothschild, A&M,
                                                     Houlihan, K&E team re asset sales (.5);
                                                     analyze same (.7).
06/30/21 Tommy Scheffer                         0.10 Correspond with JW, K&E team re agenda
                                                     for de minimis asset sale procedures motion
                                                     hearing.

Total                                          579.10




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                                                        601 Lexington Avenue
                                                         New York, NY 10022

                                                           FEIN XX-XXXXXXX




August 9, 2021

Katerra Inc.
9305 East Via de Ventura
Scottsdale, AZ 85258

Attn: Christopher Wells

                                                                             Invoice Number: 1050048197
                                                                               Client Matter: 49067-37

In the Matter of Utilities




For legal services rendered through June 30, 2021
(see attached Description of Legal Services for detail)                                                         $ 6,961.50
Total legal services rendered                                                                                   $ 6,961.50




  Austin Bay Area Beijing Boston Brussels Chicago Dallas Hong Kong Houston London Los Angeles Munich Paris Shanghai Washington, D.C.
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Legal Services for the Period Ending June 30, 2021          Invoice Number:   1050048197
Katerra Inc.                                                 Matter Number:     49067-37
Utilities




                                         Summary of Hours Billed

Name                                                     Hours        Rate     Amount
Haroula Gkotsi                                            9.10      765.00     6,961.50

TOTALS                                                     9.10               $ 6,961.50




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Legal Services for the Period Ending June 30, 2021            Invoice Number:           1050048197
Katerra Inc.                                                   Matter Number:             49067-37
Utilities


                                       Description of Legal Services

Date     Name                                  Hours Description
06/10/21 Haroula Gkotsi                         0.30 Correspond with A&M re utility service list.
06/11/21 Haroula Gkotsi                         2.20 Correspond with A&M re utility providers
                                                     (.1); telephone conference with A&M re same
                                                     (.2); review and analyze agreements re same
                                                     (1.4); correspond with K. Gonzales re same
                                                     (.3); correspond with D. Latona re same (.2).
06/14/21 Haroula Gkotsi                         0.40 Correspond with D. Latona re utility
                                                     providers (.2); telephone conference and
                                                     correspond with A&M re same (.2).
06/28/21 Haroula Gkotsi                         3.10 Correspond with D. Latona, J. Robinson,
                                                     A&M, Company re utility provider's services
                                                     interruption (2.9); correspond with Prime
                                                     Clerk re notice of utility provider (.2).
06/29/21 Haroula Gkotsi                         1.40 Telephone conference with utility provider re
                                                     resumption of services (.6); correspond with
                                                     D. Latona, J. Robinson, A&M, Company re
                                                     same (.8).
06/30/21 Haroula Gkotsi                         1.70 Correspond with utility provider, A&M, D.
                                                     Latona re services interruption (1.3);
                                                     correspond with Prime Clerk re notice of
                                                     utility provider (.1); correspond with D.
                                                     Latona, J. Robinson, E. Flynn re amended
                                                     utility service list (.3).

Total                                            9.10




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                                                        601 Lexington Avenue
                                                         New York, NY 10022

                                                           FEIN XX-XXXXXXX




August 9, 2021

Katerra Inc.
9305 East Via de Ventura
Scottsdale, AZ 85258

Attn: Christopher Wells

                                                                             Invoice Number: 1050048198
                                                                               Client Matter: 49067-38

In the Matter of Vendor Matters




For legal services rendered through June 30, 2021
(see attached Description of Legal Services for detail)                                                        $ 36,541.50
Total legal services rendered                                                                                  $ 36,541.50




  Austin Bay Area Beijing Boston Brussels Chicago Dallas Hong Kong Houston London Los Angeles Munich Paris Shanghai Washington, D.C.
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Legal Services for the Period Ending June 30, 2021          Invoice Number:   1050048198
Katerra Inc.                                                 Matter Number:     49067-38
Vendor Matters




                                         Summary of Hours Billed

Name                                                     Hours         Rate     Amount
Joshua M. Altman                                           1.30    1,155.00     1,501.50
Emily Flynn                                                3.40      875.00     2,975.00
Katrina Gonzales                                          11.40      625.00     7,125.00
Alex Hevia                                                 0.30      875.00       262.50
Elizabeth Helen Jones                                      8.70      765.00     6,655.50
Dan Latona                                                 1.00    1,070.00     1,070.00
Joshua Robinson                                            7.10      995.00     7,064.50
Tommy Scheffer                                            11.30      875.00     9,887.50

TOTALS                                                    44.50               $ 36,541.50




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Legal Services for the Period Ending June 30, 2021             Invoice Number:            1050048198
Katerra Inc.                                                    Matter Number:              49067-38
Vendor Matters


                                       Description of Legal Services

Date     Name                                  Hours Description
06/11/21 Katrina Gonzales                       0.90 Correspond with H. Gkotsi re certain vendor
                                                     claim for payments (.2); review and analyze
                                                     related documents in virtual data room (.7).
06/13/21 Tommy Scheffer                         0.30 Correspond with K&E team re vendor letter.
06/14/21 Alex Hevia                             0.30 Telephone conferences with E. Flynn and
                                                     A&M re critical vendor payment.
06/14/21 Tommy Scheffer                         1.90 Correspond with A&M, K&E team re vendor
                                                     letter (.5); review and revise same (1.4).
06/16/21 Katrina Gonzales                       5.70 Review and analyze vendor agreement re lien
                                                     (.5); research related provisions of UCC and
                                                     Bankruptcy Code and related case law re
                                                     same (4.8); correspond and telephone
                                                     conference with A. Hevia re same (.4).
06/17/21 Katrina Gonzales                       2.00 Analyze vendor agreement re lien (1.7);
                                                     correspond and telephone conference with A.
                                                     Hevia re same (.3).
06/18/21 Joshua M. Altman                       0.20 Correspond with Company, D. Latona re
                                                     vendor issues and analyze same.
06/18/21 Emily Flynn                            3.40 Telephone conference with vendor counsel re
                                                     vendor issues (.3); research re same (2.7);
                                                     correspond with D. Latona, A&M re same
                                                     (.4).
06/21/21 Katrina Gonzales                       2.80 Telephone conference with A. Hevia re
                                                     Expeditors, Inc. vendor matter (.3);
                                                     correspond with D. Latona and A. Hevia re
                                                     same (.5); review and analyze related
                                                     agreements and documents re same (2.0).
06/21/21 Tommy Scheffer                         2.50 Correspond with K&E team re mechanic's
                                                     lien (.3); analyze letter re same (.2); research
                                                     re same (2.0).
06/23/21 Dan Latona                             0.50 Telephone conference with C. Okike, K&E
                                                     team re vendor matter.
06/23/21 Joshua Robinson                        1.90 Review research re reclamation demands (.9);
                                                     correspond with K&E team, J. Altman re
                                                     same (.3); telephone conference re contract
                                                     counterparty (.5); correspond with K&E team
                                                     re same (.2).
06/24/21 Joshua M. Altman                       0.70 Analyze reclamation matters and correspond
                                                     with K&E team, J. Robinson re same.



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Legal Services for the Period Ending June 30, 2021            Invoice Number:           1050048198
Katerra Inc.                                                   Matter Number:             49067-38
Vendor Matters

Date     Name                                  Hours Description
06/24/21 Elizabeth Helen Jones                  2.80 Research reclamation demand rights (1.8);
                                                     draft summary re same (.3); correspond with
                                                     J. Altman, D. Latona, J. Robinson re same
                                                     (.3); prepare draft response (.4).
06/24/21 Joshua Robinson                        1.90 Analyze reclamation demand letters (.3); draft
                                                     memorandum re same (.7); correspond with
                                                     K&E team, E. Jones re same (.9).
06/24/21 Tommy Scheffer                         1.40 Correspond with A&M, K&E team re owner
                                                     letters of credit (.3); analyze same (1.1).
06/25/21 Joshua M. Altman                       0.40 Correspond with K&E team re vendor
                                                     matters.
06/25/21 Elizabeth Helen Jones                  2.20 Review response to reclamation letter (.3);
                                                     draft comments re same (.9); correspond with
                                                     J. Robinson, K&E team re same (.7); revise
                                                     response (.3).
06/25/21 Joshua Robinson                        1.80 Correspond with K&E team, E. Jones re 546
                                                     demand (.5); review case law re same (1.3).
06/25/21 Tommy Scheffer                         4.80 Correspond and telephone conferences with
                                                     K&E team re owner letters of credit and
                                                     contractor agreements (.8); analyze same
                                                     (1.3); research re same (2.7).
06/28/21 Elizabeth Helen Jones                  1.70 Revise reclamation response (.2); correspond
                                                     with K&E team, J. Altman re same (.3);
                                                     revise reclamation demand tracker (.4); draft
                                                     additional reclamation demands for mailing
                                                     (.8).
06/28/21 Joshua Robinson                        1.50 Analyze reclamations demands (.6);
                                                     correspond with K&E team, E. Jones re same
                                                     (.5); analyze precedent re same (.4).
06/29/21 Elizabeth Helen Jones                  0.30 Correspond with K&E team, J. Robinson re
                                                     reclamation demands (.2); correspond with
                                                     A&M re same (.1).
06/29/21 Dan Latona                             0.50 Telephone conference with A. Hevia, A&M,
                                                     Company re lien matter.
06/30/21 Elizabeth Helen Jones                  1.70 Correspond with vendors re reclamation
                                                     demands (.2); correspond and telephone
                                                     conference with A&M re inventory (.8);
                                                     correspond with K&E team, J. Altman, J.
                                                     Robinson re same (.7).
06/30/21 Tommy Scheffer                         0.40 Correspond with A&M, K&E team re vendor
                                                     invoices (.2); analyze same (.2).

Total                                           44.50

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                                                        601 Lexington Avenue
                                                         New York, NY 10022

                                                           FEIN XX-XXXXXXX




August 9, 2021

Katerra Inc.
9305 East Via de Ventura
Scottsdale, AZ 85258

Attn: Christopher Wells

                                                                             Invoice Number: 1050048199
                                                                               Client Matter: 49067-39

In the Matter of Expenses


For expenses incurred through June 30, 2021
(see attached Description of Expenses for detail)                                                              $ 29,048.00
Total expenses incurred                                                                                        $ 29,048.00




  Austin Bay Area Beijing Boston Brussels Chicago Dallas Hong Kong Houston London Los Angeles Munich Paris Shanghai Washington, D.C.
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Legal Services for the Period Ending June 30, 2021               Invoice Number:   1050048199
Katerra Inc.                                                      Matter Number:     49067-39
Expenses




                                          Description of Expenses

Description                                                                          Amount
Third Party Telephone Charges                                                          486.17
Standard Copies or Prints                                                              476.80
Binding                                                                                  2.10
Tabs/Indexes/Dividers                                                                    9.62
Color Copies or Prints                                                               1,436.60
Scanned Images                                                                          17.28
Local Transportation                                                                    73.04
Other Travel Expenses                                                                   49.00
Filing Fees                                                                            453.20
Calendar/Court Services                                                                 50.00
Other Court Costs and Fees                                                           8,162.54
Outside Retrieval Service                                                           16,424.60
Overtime Transportation                                                                213.98
Overtime Meals - Attorney                                                              567.42
Document Services Overtime                                                             625.65

                                                         Total                     $ 29,048.00




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Katerra Inc.                                                     Matter Number:       49067-39
Expenses




                                          Description of Expenses

Third Party Telephone Charges

Date          Description                                                            Amount
06/30/21      Intrado Enterprise Collaboration Inc - Teleconference services            3.13
06/30/21      Intrado Enterprise Collaboration Inc - Teleconference services            4.50
06/30/21      Intrado Enterprise Collaboration Inc - Teleconference services            0.23
06/30/21      Intrado Enterprise Collaboration Inc - Teleconference                     1.15
06/30/21      Intrado Enterprise Collaboration Inc - June conference call charges     103.27
              for account 1966350.
06/30/21      Intrado Enterprise Collaboration Inc - Teleconference services             0.24
06/30/21      Intrado Enterprise Collaboration Inc - Teleconference services             3.18
06/30/21      Intrado Enterprise Collaboration Inc - Teleconference services             0.07
06/30/21      Intrado Enterprise Collaboration Inc - Teleconference services             4.45
06/30/21      Intrado Enterprise Collaboration Inc - Teleconference services             6.65
06/30/21      Intrado Enterprise Collaboration Inc - Teleconference services             1.35
06/30/21      Intrado Enterprise Collaboration Inc - Teleconference services             2.70
06/30/21      Intrado Enterprise Collaboration Inc - Teleconference                      4.02
06/30/21      Intrado Enterprise Collaboration Inc - Conference calls.                   2.75
06/30/21      Intrado Enterprise Collaboration Inc - Teleconference                      3.46
06/30/21      Intrado Enterprise Collaboration Inc - Teleconference services            25.25
06/30/21      Intrado Enterprise Collaboration Inc - Teleconference                      3.10
06/30/21      Intrado Enterprise Collaboration Inc - Teleconference                     72.09
06/30/21      Intrado Enterprise Collaboration Inc - June 2021 Teleconference -         23.59
              L. Blum
06/30/21      Intrado Enterprise Collaboration Inc - Teleconference services             2.38
06/30/21      Intrado Enterprise Collaboration Inc - Teleconference services             1.52
06/30/21      Intrado Enterprise Collaboration Inc - SVJ June Invoice                    0.93
06/30/21      Intrado Enterprise Collaboration Inc - Telephone conferences              21.61
06/30/21      Intrado Enterprise Collaboration Inc - Telephone conference               40.42
              charges incurred through June 30, 2021.
06/30/21      Intrado Enterprise Collaboration Inc - Teleconference(s)                   8.71
06/30/21      Intrado Enterprise Collaboration Inc - Teleconference services             4.25
06/30/21      Intrado Enterprise Collaboration Inc - Teleconference services             2.39
06/30/21      Intrado Enterprise Collaboration Inc - June 2021                           6.02
              telecommunications

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Katerra Inc.                                                    Matter Number:      49067-39
Expenses

06/30/21      Intrado Enterprise Collaboration Inc - Teleconferencing services        11.33
              for the period ending 6/30/2021
06/30/21      Intrado Enterprise Collaboration Inc - Teleconference services          80.18
06/30/21      Intrado Enterprise Collaboration Inc - Wes Benter                        3.77
06/30/21      Intrado Enterprise Collaboration Inc - June 2021                         4.34
              telecommunications
06/30/21      Intrado Enterprise Collaboration Inc - June 2021                         3.43
              telecommunications
06/30/21      Intrado Enterprise Collaboration Inc - Teleconference                    1.28
06/30/21      Intrado Enterprise Collaboration Inc - Teleconference services           8.96
06/30/21      Intrado Enterprise Collaboration Inc - Telephone conferences             3.19
06/30/21      Intrado Enterprise Collaboration Inc - Teleconference                   11.45
06/30/21      Intrado Enterprise Collaboration Inc - Telephone conference calls        3.05
06/30/21      Intrado Enterprise Collaboration Inc - Telephone conferencing            1.78
              service
              Total                                                                  486.17




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Katerra Inc.                                              Matter Number:     49067-39
Expenses


Standard Copies or Prints

Date          Description                                                   Amount
06/06/21      Standard Copies or Prints                                       21.76
06/06/21      Standard Copies or Prints                                        1.28
06/06/21      Standard Copies or Prints                                       14.88
06/06/21      Standard Copies or Prints                                      135.04
06/07/21      Standard Copies or Prints                                        9.28
06/07/21      Standard Copies or Prints                                      170.56
06/07/21      Standard Copies or Prints                                        2.72
06/07/21      Standard Copies or Prints                                       63.04
06/07/21      Standard Copies or Prints                                        6.88
06/07/21      Standard Copies or Prints                                       33.12
06/10/21      Standard Copies or Prints                                        3.68
06/10/21      Standard Copies or Prints                                        7.84
06/11/21      Standard Copies or Prints                                        2.40
06/22/21      Standard Copies or Prints                                        1.92
06/28/21      Standard Copies or Prints                                        0.16
06/28/21      Standard Copies or Prints                                        1.28
06/29/21      Standard Copies or Prints                                        0.96
              Total                                                          476.80




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Katerra Inc.                                              Matter Number:     49067-39
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Binding

Date          Description                                                   Amount
06/07/21      Binding                                                         0.70
06/07/21      Binding                                                         1.40
              Total                                                           2.10




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Legal Services for the Period Ending June 30, 2021       Invoice Number:   1050048199
Katerra Inc.                                              Matter Number:     49067-39
Expenses


Tabs/Indexes/Dividers

Date          Description                                                   Amount
06/07/21      Tabs/Indexes/Dividers                                           2.73
06/07/21      Tabs/Indexes/Dividers                                           3.25
06/07/21      Tabs/Indexes/Dividers                                           3.64
              Total                                                           9.62




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Katerra Inc.                                              Matter Number:     49067-39
Expenses


Color Copies or Prints

Date          Description                                                   Amount
06/06/21      Color Copies or Prints                                          121.55
06/07/21      Color Copies or Prints                                          111.10
06/07/21      Color Copies or Prints                                           31.35
06/07/21      Color Copies or Prints                                            0.55
06/07/21      Color Copies or Prints                                          586.30
06/07/21      Color Copies or Prints                                           39.05
06/07/21      Color Copies or Prints                                            0.55
06/07/21      Color Copies or Prints                                           64.90
06/07/21      Color Copies or Prints                                          395.45
06/11/21      Color Copies or Prints                                           43.45
06/17/21      Color Copies or Prints                                           26.40
06/28/21      Color Copies or Prints                                           13.75
06/28/21      Color Copies or Prints                                            2.20
              Total                                                         1,436.60




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Expenses


Scanned Images

Date          Description                                                   Amount
06/06/21      Scanned Images                                                  10.88
06/06/21      Scanned Images                                                   5.44
06/28/21      Scanned Images                                                   0.96
              Total                                                           17.28




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Katerra Inc.                                                     Matter Number:       49067-39
Expenses


Local Transportation

Date          Description                                                            Amount
06/07/21      Josh Sussberg, P.C. - Josh Sussberg, Taxi, Transportation to office      63.85
              for a court hearing 06/07/2021
06/08/21      Josh Sussberg, P.C. - Josh Sussberg, Taxi, Transportation to office        9.19
              for court hearing on 6/7 (added tip on 6/8) 06/08/2021
              Total                                                                     73.04




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Expenses


Other Travel Expenses

Date          Description                                                      Amount
06/07/21      Ravi Subramanian Shankar - Ravi Subramanian Shankar, Parking,      49.00
              Chicago, IL Parking for Katerra Hearing 06/07/2021
              Total                                                               49.00




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Expenses


Filing Fees

Date           Description                                                     Amount
06/11/21       ONE LEGAL LLC - One Legal e-filing & e-service fees and           18.20
               disbursements for L A Superior Court
06/11/21       ONE LEGAL LLC - First Appearance fee for L A Superior Court       435.00
               advanced by One Legal
               Total                                                             453.20




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Katerra Inc.                                                  Matter Number:     49067-39
Expenses


Calendar/Court Services

Date          Description                                                       Amount
06/07/21      Contact clerk re emergency motion filed and if scheduled for        25.00
              hearing. Bristol Winterfield Partners LLC et al. vs. Katerra
              Construction LLC Fairfax County Circuit Court, Virginia CL21-
              080
06/14/21      Courtesy copies delivered to L A Superior via Nationwide.            25.00
              Total                                                                50.00




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Expenses


Other Court Costs and Fees

Date          Description                                                    Amount
06/11/21      MILLER ADVERTISING AGENCY INC - Miller Advertising -           8,057.94
              New York Times
06/11/21      ONE LEGAL LLC - One Legal e-filing & e-service fees &             18.20
              disbursements for L A Superior Court
06/15/21      NATIONWIDE LEGAL LLC - 6/11/2021KIRKLAND & ELLIS                  86.40
              LLP; 1LOS ANGELES COUNTY SUPERIOR COURT;111 N.
              HILL STREET;LOS ANGELES;CA;90012-3117
              Total                                                          8,162.54




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Outside Retrieval Service

Date          Description                                                      Amount
06/07/21      CT LIEN SOLUTIONS - State Lien Searches; Litigation Searches;    1,952.00
              Federal Litigation Searches; Bankruptcy Searches
06/07/21      Cogency Global Inc - Certified Copy of All Charter Documents;      252.00
              Good Standing Certificate Short Forms
06/07/21      CT LIEN SOLUTIONS - State Lien Searches; Litigation Searches;    4,950.05
              Federal Litigation Searches; Bankruptcy Searches
06/07/21      CT LIEN SOLUTIONS - State Lien Searches; Litigation Searches;    4,951.80
              Federal Litigation Searches; Bankruptcy Searches
06/09/21      Cogency Global Inc - Bringdown Searches.                         1,162.75
06/09/21      CT LIEN SOLUTIONS - Fixture Filings; Litigation Searches;        2,180.00
              Federal Litigation Searches; Bankruptcy Searches
06/10/21      CT LIEN SOLUTIONS - State Lien Searches; Litigation Searches;      976.00
              Federal Litigation Searches; Bankruptcy Searches
              Total                                                           16,424.60




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Overtime Transportation

Date          Description                                                      Amount
06/06/21      Alex Hevia - Alex Hevia, Taxi, Overtime transportation             54.30
              06/06/2021
06/06/21      Christine A. Okike, P.C. - Christine A. Okike, Taxi, OT             61.68
              Transportation. Attorney worked past 12 AM on 6/5/2021
              06/06/2021
06/07/21      Ravi Subramanian Shankar - Ravi Subramanian Shankar, Parking,       49.00
              Chicago, IL OT Parking 06/07/2021
06/07/21      Lindsey Blum - Lindsey Blum, Parking, Chicago, IL Parking           49.00
              expense for OT on 6/6/21 06/07/2021
              Total                                                              213.98




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Katerra Inc.                                                Matter Number:      49067-39
Expenses


Overtime Meals - Attorney

Date          Description                                                      Amount
06/06/21      Mason N. Zurek - Mason N. Zurek, Overtime Meals - Attorney,       527.42
              Chicago Document Review Mason N. Zurek, Dan Latona, Emily
              C. Eggmann, Rebecca J. Marston, Alex Hevia, Lindsey Blum,
              Joshua Robinson, Emily Flynn, Rachel S. Briones 06/06/2021
06/07/21      Ravi Subramanian Shankar - Ravi Subramanian Shankar, Overtime       40.00
              Meals - Attorney, Chicago, IL Meal reimbursement. Ravi
              Subramanian Shankar 06/07/2021
              Total                                                              567.42




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Expenses


Document Services Overtime

Date          Description                                                          Amount
06/06/21      Format and revise : Presentation(s)                                    10.75
06/06/21      Format and revise : Signature Page(s)                                   5.16
06/06/21      Print : Binder(s)                                                     122.55
06/06/21      PDF creation of/revisions to form fields in : Document(s)               5.59
06/06/21      PDF creation of/revisions to form fields in : Document(s)               2.15
06/09/21      Revisions to : Spreadsheet(s)                                         343.14
06/10/21      Table of Contents creation/update/format of : Agreement(s)              6.45
06/10/21      Format and revise : Document(s)                                       110.51
06/13/21      Comparison of : Document(s)                                            11.61
06/13/21      Comparison of : Document(s)                                             1.29
06/29/21      Format and revise : Brief/Pleading(s)                                   6.45
              Total                                                                 625.65

TOTAL EXPENSES                                                                   $ 29,048.00




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